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                                 EXHIBIT 1

                              Hoberman Answer
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                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

  In Re:                                             §
                                                     §   CASE NO. 21-10355-tmd
  CCS ASSET MANAGEMENT, INC.,                        §
  Debtor                                             §    CHAPTER II
                                                     §
                                                     §
  CCS ASSET MANAGEMENT, INC.,                        §    ADV. PROC. NO. 21-10130-tmd
  Plaintiff                                          §
                                                     §
  v.                                                 §
                                                     §
  JOHN HOBERMAN AND                                  §
  SUSAN HOBERMAN, ET AL.,                            §
  Defendants                                         §


              DEFENDANTS, JOHN HOBERMAN AND SUSAN HOBERMAN'S
           ANSWER TO DEBTOR'S ORIGINAL COMPLAINT AND COUNTERCLAIM


  TO THE HONORABLE JUDGE OF SAID COURT:

           NOW COME JOHN HOBERMAN AND SUSAN HOBERMAN, Defendants in the

  above-entitled and numbered cause, and, without waiving their right to seek remand or abstention,

  file this, their Original Answer replying to Debtor's Original Complaint, and for same would show

  unto the Court the following:

            I. Defendants admit the allegations of paragraph I of the Debtor's Original Complaint to

               the extent it alleges that this court has original, non-exclusive jurisdiction over this

               matter, but asserts that this court should deny the exercise of jurisdiction.

            2. Defendants admit the allegations of paragraph 2 of the Debtor's Original Complaint.

            3. Defendants admit the allegations of paragraph 3 of the Debtor's Original Complaint.
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         4. Paragraph 4 contains a statement of Debtor's requested relief and need not be admitted

            or denied. To the extent of any factual allegations, Defendants deny the allegations of

            paragraph 4 of the Debtor's Original Complaint and deny that Debtor is entitled to the

            relief requested.

         5. Defendants admit the allegations of paragraph 5 of the Debtor's Original Complaint.

         6. Defendants admit the allegations of paragraph 6 of the Debtor's Original Complaint.

         7. Defendants admit the allegations in paragraph 7 of the Debtor's Original Complaint.

         8. Defendants are without sufficient information to admit or deny the allegations of

             paragraph 8 of the Debtor's Original Complaint.

         9. Defendants admit the allegations of paragraph 9 of the Debtor's Original Complaint.

         10, Defendants admit the allegations in paragraph 10 of the Complaint.

         11. Defendants are without sufficient information to admit or deny the allegations of

             paragraph 11 of the Debtor's Original Complaint.

         12. Defendants deny that the deed was executed on January 9, 2019. Defendants are

             without sufficient information to admit or deny the remaining allegations of paragraph

             12 of the Debtor's Original Complaint.

          13. Defendants admit the allegations of paragraph 13 of the Debtor's Original Complaint.

          14. Defendants admit that Debtor's deed was expressly subject to deed of trust of record

             and for Defendants' benefit. Defendants deny Debtor did not assume the underlying

             payment obligations secured by the lien documents. In fact, the Debtor's deed on its

             face is expressly subject to Debtors assumption of the obligations and provides:

                 "But it is expressly agreed that the VENDOR'S LIEN, as well as the Superior Title
                 in and to the above described premises, is retained against the above described
                 property, premises and improvements until the above described note and all




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                 interests thereon is fully paid according to the face, tenor, effect and reading
                 thereof, when this deed shall become absolute."

         15. Defendants admit the allegations of paragraph 15 of the Debtor's Original Complaint.

          16. Defendants admit the allegations of paragraph 16 of the Debtor's Original Complaint.

          17. Defendants admit the allegations of paragraph 17 of the Debtor's Original Complaint.

         18. Defendants admit the allegations of paragraph 18 of the Debtor's Original Complaint.

         19. Defendants admit the allegations of paragraph 19 of the Debtor's Original Complaint.

         20. Defendants admit the allegations of paragraph 20 of the Debtor's Original Complaint.

         21. Defendants deny the allegations contained in paragraph 21 of the Debtor's Original

             Complaint.

         22. Defendants deny the allegations contained in paragraph 22 of the Debtor's Original

             Complaint.

         23. Defendants admit the allegations contained in paragraph 23 of the Debtor's Original

             Complaint.

         24. Defendants deny the allegations contained in paragraph 24 of the Debtor's Original

             Complaint that no suit was brought, but admit that no sale was conducted.

         25. Defendants admit the allegations contained in paragraph 25 of the Debtor's Original

             Complaint.

         26. Defendants admit the allegations contained in paragraph 26 of the Debtor's Original

             Complaint.

         27. Defendants admit the allegations contained in paragraph 27 of the Debtor's Original

             Complaint.

         28. Defendants deny the allegations contained in paragraph 28 of the Debtor's Original

             Complaint.



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         29. Defendants deny the allegations contained in paragraph 29 of the Debtor's Original

            Complaint.
                  '
         30. Defendants admit the allegations contained in paragraph 30 of the Debtor's Original

            Complaint.

         31. Defendants deny the allegations contained in paragraph 31 of the Debtor's Original

            Complaint.

         32. Defendants admit that they have an enforceable lien as documented in the September

            5, 2013 note, but otherwise deny the allegations contained in paragraph 32 of the

            Debtor's Original Complaint.

         33. Defendants deny the allegations contained in paragraph 33 of the Debtor's Original

             Complaint.

         34. Defendants admit that they are the party in interest with respect to the September 2013

             note, but deny that the Hoberman IRA or the Strata Trust maintained any interest in the

             note after May 8, 2015, and therefore deny the allegations in Paragraph 34 of Debtors

             Original Complaint.

         35. Defendants admit the allegations contained in paragraph 35 of the Debtor's Original

             Complaint.

         36. Defendants admit the allegations contained in paragraph 36 of the Debtor's Original

             Complaint.

          37. Defendants deny the allegations contained in paragraph 37 of the Debtor's Original

             Complaint.

          38. Defenaants deny the allegations contained in paragraph 38 of the Debtor's Original

             Complaint.




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         39. Defendants admit the allegations contained in paragraph 39 of the Debtor's Original

            Complaint.

         40. Defendants deny the allegations contained in paragraph 40 of the Debtor's Original

            Complaint. Defendants specifically requested, and were granted leave to foreclose

            against the real estate by the Probate Court in a case where Plaintiff was a party and

            the issue of the validity of the liens held by Defendants was an issue. See Cause No. C-

            1-PB-19-002179 in Probate Court No. 1 of Travis County, Texas.

         41. Defendants admit the allegations contained in paragraph 41 of the Debtor's Original

            Complaint related to the filing of the bankrnptcy case by 4 709 Inc., but is without

            sufficient information to admit or deny when the referenced Deed was actually given

            to the Debtor.

         42. Defendants admit the allegations contained in paragraph 42 of the Debtor's Original

            Complaint.

         43. Defendants admits that John Hoberman participated in the bankruptcy by filing a proof

            of claim but otherwise denies the allegations contained in paragraph 43 of the Debtor's

            Original Complaint.

         44. Defendants admit the allegations contained in paragraph 44 of the Debtor's Original

            Complaint.

         45. Defendants admits the allegations contained in paragraph 45 of the Debtor's Original

            Complaint.

         46. Defendants admit the allegations contained in paragraph 46 of the Debtor's Original

            Complaint.




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         47. Defendants admit the allegations contained in paragraph 47 of the Debtor's Original

            Complaint to the extent that a deed would transfer the real estate to Defendants.

            However, the Plan does not specify that a deed would be delivered to effectuate such

            transfer.

         48. Paragi·~ph 48 is a statement of law which Defendants need not admit or deny. To the

            extent of any factual allegations, Defendants deny the allegations contained in

            paragraph 48 of the Debtor's Original Complaint in that there are no provisions in the

            Plan that provide for enforcement upon default by Class 5.

         49. Defendants deny the allegations contained in paragraph 49 of the Debtor's Original

             Complaint.

         50. Defendants deny the allegations contained in paragraph 50 of the Debtor's Original

             Complaint.

         51. Defendants admit the allegations contained in paragraph 51 of the Debtor's Original

             Complaint.

         52. Paragraph 52 contains statements oflaw which Defendants need not admit or deny. To

             the extent of any factual allegations, Defendants deny the allegations contained in

             paragraph 52 of the Debtor's Original Complaint since the Plan required the

             conveyance of the real estate in satisfaction of the liens, which did not occur.

         53. Defendants admit the allegations contained in paragraph 53 of the Debtor's Original

             Complaint to the extent that the Plan does not specifically state that liens would be

             retained, but contemplates that the Cameron Road Property would be conveyed in

             satisfaction ofliens, which did not occur.




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         54. Defendants admit the allegations contained in paragraph 54 of the Debtor's Original

            Complaint.

         55. Defendants are without sufficient infmmation to admit or deny the allegations in

            paragraph 55.

         56. Defendants admit and deny the allegations contained in paragraph 56 of the Debtor's

            Original Complaint in conformity with their prior answers.

         57. Defendants deny the allegations contained in paragraph 57 of the Debtor's Original

            Complaint.

         58. Without admitting the Deed was effective or authorized, Defendants are without

            sufficient information to admit or deny the allegations in paragraph 58 of the

            Complaint.

         59. Defendants admit that they have an enforceable lien on the subject property but

             otherwise deny the allegations contained in paragraph 59 of the Debtor's Original

             Complaint.

         60. Paragraph 60 contains statements of legal conclusion that need not be admitted or

             denied. To the extent of any factual allegations, Defendants admit that they have

             facially valid liens on the subject property but otherwise deny the allegations contained

             in paragraph 60 of the Debtor's Original Complaint.

         61. Paragraph 61 contains statements of legal contentions that need not be admitted or

             denied. To the extent of any factual allegations, Defendants deny the allegations

             contained in paragraph 61 of the Debtor's Original Complaint and deny that Plaintiff

             is entitled to the relief stated,




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         62. Paragraph 62 contains statements of legal contentions that need not be admitted or

            denied. To the extent of any factual allegations, Defendants admit that both they and

            Pride of Austin filed proofs of claim and participated in the 2014 4709 bankruptcy case,

            but otherwise deny the allegations contained in paragraph 62 of the Debtor's Original

            Complaint or that Plaintiff is entitled to the relief requested.

         63. Paragraph 63 contains legal conclusions that need not be admitted or denied. To the

            extent of any factual allegations, Defendants deny the allegations contained in

            paragraph 63 of the Debtor's Original Complaint and deny that Plaintiff is entitled to

            the relief stated.

         64. Paragraph 64 contains a request for relief that need not be admitted or denied. To the

            extent of any factual allegations, Defendants deny the allegations contained in

            paragraph 64 of the Debtor's Original Complaint and deny that Plaintiff is entitled to

            the relief requested.

         65. Defendants admit and deny the allegations contained in paragraph 65 of the Debtor's

            Original Complaint consistent with their prior answers to the paragraphs incorporated.

         66. Defendants admit that the POA note was executed by 4709. Defendants deny the

            allegations contained in paragraph 66 of the Debtor's Original Complaint.

         67. Defendants deny the allegations contained in paragraph 67 of the Debtor's Original

            Complaint.

         68. Defendants deny the allegations contained in paragraph 68 of the Debtor's Original

            Complaint.

         69. Defendants deny the allegations contained in paragraph 69 of the Debtor's Original

            Complaint.




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        70. Defendants deny the allegations contained in paragraph 70 of the Debtor's Original

            Complaint.

        71. Defendants deny the allegations contained in paragraph 71 of the Debtor's Original

            Complaint.

         72. Defendants deny the allegations contained in paragraph 72 of the Debtor's Original

            Complaint.

         73. Defendants deny the allegations contained in paragraph 73 of the Debtor's Original

            Complaint.

         74. Defendants deny the allegations contained in paragraph 74 of the Debtor's Original

            Complaint.

                                       Affirmative Defenses

         75. By way of affirmative defense, Defendants would show that there exist currently

            pending, in Travis County Probate Comi, and recently removed to this court, an action

            relating to the enforceability of Defendants' liens and ability of Defendants to foreclose

             on said property.

         76. Suit was filed and Defendant was joined and made an appearance on March 6, 2020.

         77. The Travis County Probate Court, over Debtor's objection, has adjudicated

             Defendant( s)' right to foreclose and issued an order in that respect. In fact, Debtor's

             bankruptcy was filed with the intent to avoid the permitted foreclosure.

         78. Under Texas law, any claim, defense or challenge by debtor to the ability to enforce

             the lien were necessary and compulsory cross claims. TRCP 97.

         79. Thus, Debtor's claims is barred by failing to asse1i a compulsory cross claim or counter

             claim, based estoppel, res judicata and collateral estoppel.




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       80. On two prior occasions, this Court has considered the dispute between Debtor, Debtor's

           principal, Anthony Sheridan and creditors relating to the right to title and claims arising

           out of the asset in question. On each occasion, this court has elected to abstain from

           considering the matter under the abstention doctrine. Thus, this court should abstain

           from considering this dispute and order that any rights and titles made subject of this

           suit be remanded for consideration before the Travis County Probate Court.

                                              Counter-claim

        81. This counter-claim is filed within thirty days of the claims being asserted by Debtor

           herein, and specifically relates to the occurrences, transactions and subject matter of

           the claims asse1ted by Debtor in Debtors' Complaint, thus, pursuant to 16.004, 16.035,

           and 16.069 and every other applicable provision of the Texas Civil Practice and

           Remedies Code, is filed within the applicable statute of limitations.

        82. On June 12, 2012 and September 13, 2013, Defendant(s) entered into loan agreements

            secured through deeds of trust on the Cameron Road Prope1ty.

        83. On February 13, 2015, Defendant was assigned the note and deed of trust from a loan

            obtained from Pride of Austin.

        84. Anthony Sheridan, who is an officer of Debtor and also served as an officer of 4709,

            Inc. Debtor's alleged predecessor interest participated in the events leading to the

            February 13, 2015 assignment of the Pride of Austin note and deed of trust.

        85. On December 3, 2017, Anthony Sheridan who then served as both a fiduciary of 4709,

            Inc. and as an officer of Debtor entered into a written and signed Management and

            Financial Agreement which, among other things, agreed that to prevent foreclosure or

            to force transfer of deed in lieu foreclosure, that Anthony Sheridan would manage 4 709,




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           Inc., restore 4709, Inc.'s financial integrity, maintain clear and transparent financial

           records for the benefit of 4709, Inc.'s principal and John Hoberman, to a moratorium

           period on the debt to Defendants and that any delayed or forestalled payments would

           be added to the original principal balances of John Hoberman's note.

        86. While the December 3, 2017 agreement referenced Mamalama, Defendants were the

           true party in interest.

        87. On January 9, 2018, Anthony Sheridan who at that time was an officer and vice

           principal of both 4709, Inc., and Debtor, transferred 4709, Inc.'s interest to Debtor,

           subject to Defendants interest.

        88. The transfer deed provided:

            "But it is expressly agreed that the VENDOR"S LIEN, as well as the Superior Title in

           and to the above described premises, is retained against the above described property,

           premises and improvements until the above described note and all interests thereon is

           fully paid according to the face, tenor, effect and reading thereof, when this deed shall

           become absolute."

        89. In consideration of the transfer, Debtor's predecessor in interest, and then Debtor

           agreed that Debtor would assume the obligations owed to Defendants. Debtor made

           payments on obligations secured by the Cameron Property, based on the notes and

           deeds of trust through December 1, 2019, after which Debtor, and its predecessor in

           interest, both of which have common management have breached the obligation to

           continue to make payments and are now in default.

        90. The deed of trust in question, in favor of Defendants provides:

                   This conveyance is made in ttust also to secure payment of all other present and
                   future debts that Grantor may owe to Lender, regardless of how any other such



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                   debt is incmTed or evidenced. This conveyance is also made to secure payment
                   of any renewal or extension of any present of future debt that Grantor owes
                   lender, including any loan and advancements from lender to Grantor under the
                   provisions of this deed of trust. When Grantor repays all debts owed to lender,
                   this deed-of-ttust lien will terminate only iflender releases this deed oftrust at
                   the request of Grantor. Until lender releases it, this deed of trust will remain
                   fully in effect to secure present and future advances and debts regardless of any
                   additional security given for any debt and regardless of any modifications.
                   Grantor is not entitled to any partial releases of this deed-of-trust without the
                   express, written consent of Lender.


        91. The amount due and cmTently outstanding on the loans is no less than $2,268.241.64.

        92. While Hoberman contends that the dismissal of the 4709, Inc. bankruptcy referenced

           in the Debtor's complaint returned the parties to their pre-petition status, to the extent

           Debtor seeks to avail itself of the confirmation of the 2nd Amended Reorganization

           Plan, that same plan divested 4709 Incmporated of interest in the land, with the

           exception of a potential leasehold. The plan specifically provided:

           6.05.01 Ownership of the Property shall be transferred and the leases in the
           Property (as described below in Article VIII) shall be assumed by the Debtor
           and assigned to Hoberman and/or his designated assignee(s) on the Effective
           Date, but effective as of February 2, 2015, by a deed-in-lieu of foreclosure.

                                                   Causes of action

        93. Should this comt choose to exercise jurisdiction in this matter, than Defendant

            respectfully assert the following cause of action:

        94. Declaratory judgment:           A declaration that the defendants debt is valid, enforceable,

            fully secured and due.

        95. Breach of contract and enforcement of deed of trust( s) in favor of Defendants, subject

            to this Court's lift of stay.

        96. In the unlikely event that this court views that the 2nd Amended Reorganization Plan of

            4709, Inc. constitutes and enforceable contract or agreement, than an order compelling



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           conveyance to Defendants effective February 2, 2015, or alternatively judgment that

           title vested in favor of Defendants exclusive to the rights of Debtor or its predecessor

           in interest effective February 2, 2015.



       FOR THE ABOVE REASONS, Defendant respectfully prays that:

               A.     The case be dismissed

               B.     Debtor take nothing from them by way of this action;

               C.     Judgment declaratory the validity and enforceability of their debt, deed of

                       trust and security interests, or that title is vested in Defendants in the

                       property effective February 2, 2015.

               D.      Judgment for their outstanding debt, attorney fees and costs; and

               D.      Such other and further relief to which this Defendant may be entitled.




                                               Respectfully submitted,

                                               BURNS ANDERSON JURY & BRENNER, L.L.P.
                                               P.O. Box 26300
                                               Austin, Texas 78755-0300
                                               512-338-5322
                                               512-338-5363 telecopier



                                               By:        n~
                                                          David Brenner
                                                          State Bar No. 02958020
                                                          dbrenner@bajb.com

                                                          Attorneys for John and Susan Haberman




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                                  CERTIFICATE OF SERVICE

        This is to certify that a true and con-ect copy ofHoberman's Answer to Debtor's Original

 Complaint has been filed with the Clerk of Court using the CM/ECF system, which will send

 notification of such filing to all counsel of record


                                                                           :::::,.,
                                                         David Brenner




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                                  EXHIBIT 2

              Highlighted Complaint Showing Admissions and Denials
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                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

                                                         )
    In re:                                               )
                                                         )       Case No. 21-10355
    CCS ASSET MANAGEMENT, INC.                           )
                                                         )       Chapter 11
                                    Debtors.             )
                                                         )
    CCS ASSET MANAGEMENT, INC.,                          )
                                                         )
                                    Plaintiff,           )     Adv. Pro. No. 21-________________
                                                         )
    v.                                                   )
                                                         )
    JOHN HOBERMAN, SUSAN HOBERMAN,
                                                         )
    and STRATA TRUST COMPANY
                                                         )
                                    Defendants.          )
                                                         )
                                DEBTOR’S ORIGINAL COMPLAINT

             CCS Asset Management, Inc., the debtor and debtor-in-possession in the above captioned

   bankruptcy case (the “Debtor”), and alleges, on information and belief, as follows:

                                    JURISDICTION AND VENUE

             1.     This Court (the “Bankruptcy Court”) has jurisdiction over this adversary

   proceeding pursuant to 28 U.S.C. § 1334(b) and 28 U.S.C. § 157(a), which is a civil proceeding
                                                                                                      Note: Asserts
   arising in or related to a case under title 11 of the United States Code (the “Bankruptcy Code”). that the Court
                                                                                                      should decline
             2.     This is a core proceeding as defined by 28 U.S.C. § 157(b)(2)(A), (K), and (O).   jurisdiction.


             3.     Venue of the Debtor’s bankruptcy case and this adversary proceeding is properly

   in this district pursuant to 28 U.S.C. § 1409(a).

                                         NATURE OF ACTION

             4.     The Debtor seeks (a) judgment quieting title and decreeing that John Hoberman,

   Susan Hoberman (collectively, “Hoberman” or the “Hobermans”) and/or Strata Trust Company
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   (“Strata Trust”) have no enforceable liens or other interest in the Debtor’s real property located at

   7400 Cameron Road, Austin, Texas (the “Cameron Road Property”) pursuant to operation of

   Bankruptcy Code § 544(a), Bankruptcy Code § 1141(c), and/or Tex. Civ. Prac. & Rem. Code §§

   16.035 and 16.037 and (b) declaratory judgment that the Debtor has no obligation under (i) the

   notes issued by 4709 Incorporated to the Hobermans or related entities for the benefit of the
                 Note: Dispute that need to respond. Denied to the extent this contains factual
   Hobermans. allegations and that Debtor is entitled to relief requested

                                               PARTIES

          5.      The Debtor is the debtor-in-possession in the above-captioned bankruptcy case.

          6.      Defendant John Hoberman is an individual residing in the State of Texas. John

   Hoberman may be served pursuant to Bankruptcy Rule 7004(b) by mailing a copy of this

   Complaint and summons issued to him at 7801 Chimney Corners, Austin, TX, 78731, which is

   John Hoberman’s usual place of abode and/or the place where John Hoberman regularly conducts

   a business.

          7.      Defendant Susan Hoberman is an individual residing in the State of Texas. Susan

   Hoberman may be served pursuant to Bankruptcy Rule 7004(b) by mailing a copy of this

   Complaint and summons issued to her at 7801 Chimney Corners, Austin, TX, 78731, which is

   Susan Hoberman’s usual place of abode and/or the place where Susan Hoberman regularly

   conducts a business.

          8.      Defendant Strata Trust Company is a state trust company chartered by the Texas

   Department of Banking and is the surviving entity after a merger with Self Directed IRA Services,

   Inc. Strata Trust may be served pursuant to Bankruptcy Rule 7004(b) by mailing a copy of this

   Complaint and summons issued to its CEO, Kelli Click, at 600 Congress Avenue, Suite 600,

   Austin, Texas 78701.



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                                    FACTUAL BACKGROUND

      A. Bankruptcy and Procedural Background

          9.      On May 3, 2021, (the “Petition Date”), the Debtor filed a voluntary petition for

   relief under chapter 11 of the Bankruptcy Code.

          10.     The Debtor is managing the assets of the bankruptcy estate as a debtor-in-

   possession pursuant to 11 U.S.C. §§ 1107 and 1108. The Court has not appointed any trustee,

   examiner, or any official committee in this case.

          11.     The Debtor’s business comprises buying and selling real estate and renting units of

   the Cameron Road Property to commercial tenants.

      B. The Cameron Road Property

          12.     On January 9, 2019, 4709 Incorporated executed a deed (the “Deed”) to the

   Cameron Road Property, more specifically described as follows:

                  Lot 2, Re-subdivision of Lot 11, Reagan Hill, a subdivision in Travis County,

                  Texas, according to the map or plat thereof recorded in Volume 92, Page 65, of the

                  Plat Records of Travis County, Texas

          13.     The Deed was recorded on January 11, 2018, as Document #2018005497 of the

   Official Public Records of Travis County. A true and correct copy of the Deed, as recorded, is

   attached as Exhibit A hereto.

          14.     The Deed of the Cameron Road Property was expressly subject to those certain

   deed of trust, extensions of maturity date, and transfer recorded as Document #2011137642,

   #2012004604, #2013019734, and #2015025866 of the Official Public Records of Travis County

   (collectively, the “POA Lien Documents”). As set out in the Deed, however, the Debtor did not

   assume the underlying payment obligations secured by the POA Lien Documents.



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      C. Liens Asserted by Hoberman Against the Cameron Road Property

          i.) Lien Securing Pride of Austin Note

          15.     The Hobermans assert that they have an enforceable lien securing the obligations

   under the note made by 4709 Incorporated and delivered to Pride of Austin High Yield Fund I,

   LLC (“Pride of Austin”) dated September 9, 2011, in the original amount of $1,100,000 (the “POA

   Note”) under to the POA Lien Documents.

          16.     A true and correct copy of the POA Note is attached hereto as Exhibit B hereto.

          17.     Document #2011137642 referenced in the Deed is the Deed of Trust, Security

   Agreement, and Assignment of Rents granted by 4709 Incorporated to or for the benefit of Pride

   of Austin for the Cameron Road Property and purporting to secure the obligations under the POA

   Note (the “POA Deed of Trust”). A true and correct copy of the POA Deed of Trust, as recorded,

   is attached as Exhibit C hereto.

          18.     Document #2012004604 referenced in the Deed is the Renewal and Extension Deed

   of Trust, Security Agreement, and Assignment of Rents, dated January 10, 2012, between Pride of

   Austin and 4709 Incorporated, extending the maturity date of the POA Note from October 1, 2012,

   to February 1, 2013 (the “January 2012 POA Extension Agreement”). A true and correct copy of

   the January 2012 POA Extension Agreement, as recorded, is attached as Exhibit D hereto.

          19.     Document #2013019734 referenced in the Deed is the Modification and Extension

   Agreement dated January 31, 2013, between Pride of Austin and 4709 Incorporated, extending the

   maturity date of the POA Note from February 1, 2013, to January 1, 2014 (the “January 2013 POA

   Extension Agreement”). A true and correct copy of the January 2013 POA Extension Agreement,

   as recorded, is attached as Exhibit E hereto.

          20.     Document #2015025866 referenced in the Deed is the Transfer of Note and Lien

   (and Other Rights) dated February 13, 2015, transferring the POA Note and POA Deed of Trust

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   from Pride of Austin to John Hoberman (the “POA Transfer”). A true and correct copy of the

   recorded transfer document, as recorded, is attached hereto as Exhibit F hereto (the “POA

   Transfer”).

             21.    No written agreement extending the maturity date of the POA Note was signed and

   acknowledged by 4709 Incorporated at any time after the January 2013 POA Extension

   Agreement.

             22.    No written agreement extending the maturity date of the POA Note was filed for

   record in the Travis County Clerk’s office at any time after the January 2013 POA Extension

   Agreement.

             23.    The maturity date of the POA Note, as extended, was January 1, 2014.

             24.    As of the Petition Date, the Hobermans had not (a) brought a suit for the recovery

   under or foreclosure of their asserted liens securing the POA Note or (b) held a sale of the collateral

   under the POA Deed of Trust.

             ii.) Note Dated June 5, 2012

             25.    The Hobermans also assert that they have an enforceable lien securing the

   obligations under the Real Estate Lien Note made by 4709 Incorporated and delivered to John and

   Susan Hoberman dated June 5, 2012, in the original amount of $150,000.00 (the “June 2012

   Note”).

             26.    A true and correct copy of the June 2012 Note is attached hereto as Exhibit G.

             27.    A true and correct copy of the Deed of Trust granted by 4709 Incorporated to or for

   the benefit of John and Susan Hoberman for the Cameron Road Property and purporting to secure

   the obligations under the June 2012 Note (the “June 2012 Note Deed of Trust”), as recorded as

   Document #2012173363 of the Official Public Records of Travis County, is attached as Exhibit

   H hereto.

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          28.     No written agreement extending the maturity date of the June 2012 Note was signed

   and acknowledged by 4709 Incorporated.

          29.     No written agreement extending the maturity date of the June 2012 Note was ever

   filed for record in the Travis County Clerk’s office.

          30.     The maturity date of the June 2012 Note was June 5, 2014.

          31.     As of the Petition Date, the Hobermans had not (a) brought a suit for the recovery

   under or foreclosure of their asserted liens securing the POA Note or (b) held a sale of the collateral

   under the June 2012 Note Deed of Trust.

          iii.) Note Dated September 5, 2013

          32.     The Hobermans further assert that they have an enforceable lien securing the

   obligations under the Loan Agreement entered into by 4709 Incorporated and Self Directed IRA

   Services Inc. Custodian FBO John Hoberman IRA 201314763 (the “Hoberman IRA”) dated

   September 5, 2013, memorializing the obligations of 4709 Incorporated to the Hoberman IRA for

   the loan extended by the Hoberman IRA to 4709 Incorporated in the amount of $100,000.00 (the

   “September 2013 Note”).

          33.     The Hoberman IRA merged with Strata Trust on or about September 1, 2017. A

   true and correct copy of the Certificate of Merger field in the Office of the Secretary of State of

   Texas is attached as Exhibit I hereto.

          34.     Although the Hoberman IRA is the party indicated on the September 2013 Note,

   and Strata Trust is the successor to the Hoberman IRA, the Hobermans are the real parties in

   interest with respect to the September 2013 Note and any liens securing the obligations of 4709

   Incorporated thereunder.

          35.     A true and correct copy of the September 2013 Note is attached as Exhibit J hereto.



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          36.     A true and correct copy of the Deed of Trust granted by 4709 Incorporated to or for

   the benefit of the Hoberman IRA to the Cameron Road Property and purporting to secure the

   obligations under the September 2013 Note (the “September 2013 Note Deed of Trust”), as

   recorded as Document #2013166967 of the Official Public Records of Travis County, is attached

   as Exhibit K hereto.

          37.     No written agreement extending the maturity date of the September 2013 Note was

   ever signed and acknowledged by 4709 Incorporated.

          38.     No written agreement extending the maturity date of the September 2013 Note was

   ever filed for record in the Travis County Clerk’s office.

          39.     The maturity date of the September 2013 Note was September 5, 2016.

          40.     As of the Petition Date, the Hobermans had not (a) brought a suit for the recovery

   under or foreclosure of their asserted liens securing the September 2013 Note or (b) held a sale of

   the collateral under the September 2013 Note Deed of Trust.

      D. 4709 Incorporated’s 2014 Chapter 11 Bankruptcy Case

          41.     On March 3, 2014, after 4709 Incorproated made and delivered the POA Note, June

   2012 Note, and September 2013 Note, but before 4709 Incorporated grade the Deed to the Debtor,

   4709 Incorporated filed a petition for chapter 11 bankruptcy protection, commencing case 14-

   10340-tmd before the United States Bankruptcy Court for the Western District of Texas (the “2014

   Bankruptcy Case”).

          42.     Both Pride of Austin and John Hoberman filed proofs of claim in the 2014

   Bankruptcy Case asserting secured claims therein.




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           43.      John Hoberman further participated in the 2014 Bankruptcy Case, including

   acquiring Pride of Austin’s claim and taking an active role in the formulation of a plan of

   reorganization in that case.

           44.      The U.S. Bankruptcy Court for the Western District of Texas confirmed a plan of

   reorganization in the 2014 Bankruptcy Case on November 9, 2015 (the “4709 Incorporated Plan”).

           45.      The 4709 Incorporated Plan became effective on December 8, 2015, according to

   the its terms.

           46.      A true and correct copy of the Court’s order confirming the 4709 Incorporated Plan

   is attached as Exhibit L hereto.

           47.      Under the 4709 Incorporated Plan, 4709 Incorporated was obligated to deliver a
                                                                                                      Note: Further answer that no
   deed transferring ownership of the Cameron Road Property to John Hoberman. need for deed.

           48.      In the event of a default, claimants, including the Hobermans, could enforce the
                                                   Note: Further answer that "no provisions in the Plan that provide for enforcement
   4709 Incorporated Plan as a contract. upon default by Class 5."

           49.      The Hobermans have taken no action to enforce the 4709 Incorporated Plan against

   4709 Incorporated, or any other party, as of the Petition Date.

           50.      More than four years elapsed from the effective date of the 4709 Incorporated Plan

   became effective and the Petition Date.

           51.      More than four years have elapsed since the 2014 Bankruptcy Case was dismissed

   and the Petition Date.

           52.      The 4709 Incorporated Plan did not provide that the liens asserted by the

   Hobermans against the Cameron Road Property would be retained.

           53.      The 4709 Incorporated Plan provided that the Cameron Road Property would be

   free and clear of all liens except for the liens of tax authorities.
   Note: Admitted "to the extent that the Plan does not specifically state that the liens would be retained, but contemplates that
   the Cameron Road Property would be conveyed in satisfaction of liens, which did not occur."

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           54.     The 4709 Incorporated Plan did not provide for the liquidation of all or substantially

   all of the property of the 4709 Incorporated’s bankruptcy estate.

           55.     4709 Incorporated continued to engage in business after consummation of the 4709

   Incorporated Plan.

                                              COUNT ONE
                       Quiet Title and Judgement Decreeing that the Hobermans
                      Have no Enforceable Interest in the Cameron Road Property

           56.     The Debtor repeats and re-alleges the allegations contained in all of the preceding
                                                                                        Note: Admitted and denied as in
   paragraphs of this Complaint as if the same were fully set forth herein at length. referenced paragraph.

           57.     The Debtor has an interest in the Cameron Road Property pursuant to the Deed.

           58.     The Deed has not been rescinded or set aside pursuant to the order of any court.

           59.     The Hobermans’ claims to enforceable liens against the Cameron Road Property

   securing the POA Note, the June 2012 Note, and the September 2013 Note affect the Debtor’s

   title. The asserted liens appear on their face to be superior to the Debtor’s title and are thus a cloud

   on the Debtor’s title.

           60.     Although the Hobermans’ claimed liens are facially valid, they are unenforceable

   and void by operating of Tex. Civ. Prac. & Rem. Code § 16.035 because more than four (4) years

   has passed since the maturity date occurred under each the notes and, as of the Petition Date, there

   was no agreement that was (a) signed and acknowledged by 4709 Incorporated and (b) filed for

   record with the Travis County Clerk.

           61.     Any extension agreement from 4709 Incorporated that was not acknowledged,

   filed, and recorded before the Petition Date is void with respect to the Debtor as debtor-in-

   possession pursuant to Bankruptcy Code § 544(a), which provides that debtors-in-possession have

   rights and powers of a lien creditor and bona fide purchaser of real property under applicable state


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  law, and Tex. Civ. Prac. & Rem. Code § 16.037, which provides that an extension agreement is

  void as to a bona fide purchaser for value or a lienholder without actual notice of the agreement

  and before the agreement is acknowledged, filed, and recorded.

         62.     The Hobermans’ claimed liens are also unenforceable and void because, under

  Bankruptcy Code § 1141(c), the Cameron Road Property was vested in the 4709 Incorporated free

  and clear of all claims and interests, including Hobermans liens. The Cameron Road Property was

  expressly dealt with in the 4709 Incorporated Plan and both the Hobermans and Pride of Austin

  filed proofs of claim and actively participated in the 2014 Bankruptcy Case.

         63.     Any rights of the Hobermans to enforce the 4709 Incorporated Plan as a contract,

  including seeking specific performance thereof were unenforceable and void as of the Petition

  Date because the four (4) year statute of limitations under Tex. Civ. Prac. & Rem. Code §

  16.004(a)(1) to bring suit for the specific performance of a contract for the conveyance of real

  property. Further, the Hobermans’ rights, if they existed, would be against 4709 Incorporated.

         64.     Based upon the foregoing, the Debtor seeks entry of judgment quieting title and

  ruling that that the Hobermans have no enforceable lien or other interest in the Cameron Road

  Property.

                                            COUNT TWO
                    Declaratory Judgment that the Debtor Has No Obligation
                Under the Notes Made by 4709 Incorporated Held by the Hobermans

         65.     Debtor repeats and re-alleges the allegations contained in all of the preceding
                                                                                      Note: Admitted and denied as in
  paragraphs of this Complaint as if the same were fully set forth herein at length. referenced paragraph.

         66.     The POA Note was issued by 4709 Incorporated to Pride of Austin. The obligations

  to perform under the POA Note, if any, are obligations of 4709 Incorporated.




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         67.     Although the Debtor took the Deed subject to the POA Lien Documents, the Deed

  expressly stated that the Debtor did not assume the underlying liability.

         68.     The maturity date of the POA Note, as extended, was January 1, 2014. The statue

  of limitations to bring an action to enforce payment under the POA Note was January 1, 2020,

  pursuant Tex. Bus. & Com. Code § 3.118.

         69.     The June 2012 Note was issued by 4709 Incorporated to the Hobermans. The

  obligations under the June 2012, if any, are obligations of 4709 Incorporated.

         70.     The maturity date of the June 2012 Note was June 5, 2014. The statute of limitations

  to bring an action to enforce payment under the June 2012 Note was June 5, 2020.

         71.     The September 2013 Note was issued by 4709 Incorporated to the Hoberman IRA

  for the benefit of the Hobermans. The obligations under the September 2013 Note, if any, are

  obligations of 4709 Incorporated.

         72.     The confirmation and effective date of the 4709 Incorporated Plan, effectuated a

  discharge of 4709 Incorporated’s obligations under the POA Note, June 2012 Note, and September

  2013 Note.

         73.     Based upon the foregoing, declaratory judgment decreeing that the Debtor has no

  obligations under the POA Note, June 2012 Note, or September 2013 Note is appropriate and

  should be issued by the Court.

                                              PRAYER

         WHEREFORE, PREMISES CONSIDERED, the Debtor prays that judgment be entered

  (a) quieting title with respect to the Hobermans’ asserted liens and decreeing that the Hobermans

  Strata Trust have no lien or other interest in the Cameron Road Property, (b) declaratory judgment




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  decreeing that the Debtor has no obligations under the POA Note, June 2012 Note, or September

  2013 Note, and (c) any other relief that the Court deems just and equitable.



   Dated: July 6, 2021                              Respectfully submitted,

                                                    PARKINS LEE & RUBIO LLP

                                                    /s/R. J. Shannon                       .
                                                    R. J. Shannon (TBA No. 24108062)
                                                    Pennzoil Place
                                                    700 Milam Street, Suite 1300
                                                    Houston, Texas 77002
                                                    Telephone: 713-715-1664
                                                    Email: rshannon@parkinslee.com

                                                    Proposed Attorneys for the Debtor




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                                 EXHIBIT 3

                             Cameron Road Deed
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    ASSUMPTION WARRANTY DEED WITH VENDOR'S LIEN

NOTICE OF CONFIDENTIALITY RIGHTS: IF YOU ARE A NATURAL
PERSON, YOU MAY REMOVE OR STRIKE ANY OF THE FOLLOWING
INFORMATION FROM THIS INSTRUMENT BEFORE IT IS FILED FOR
RECORD IN THE PUBLIC RECORDS: YOUR SOCIAL SECURITY NUMBER
OR YOUR DRIVER'S LICENSE NUMBER.
                                                                                                            TRV
Date:       January 9, 2018                  !lllllllllllllllliilllllllllllllllllllllllllllllllllllllllll   3 PGS
                                                                                                                    2018005497

Grantor:    4709 Incorporated, d/b/a Midtown Live, a Texas corporation

Grantor's Mailing Address (including county): 7602 Brookhollow Cove
                                              Austin Texas 78752
                                              Travis County

Grantee:    CCS Asset Management Inc., a Texas corporation

Grantee's Mailing Address (including county): 111 Congress Avenue 4th Floor
                                              Austin Texas 78701
                                              Travis County

Consideration: TEN AND NO/100 DOLLARS ($10.00) and other good and
valuable consideration, and a wrap around note of even date that is in the
principal amount of Note Amount DOLLARS ($1,700,000.00) and is executed by
Grantee, payable to the order of Seller. It is secured by a vendor's lien retained
in this deed and by a deed of trust of even date from Grantee to Daniel Nelson,
Trustee.

Property (including any improvements):

 Lot 2, Re-subdivision of Lot 11, REAGAN HILL, a subdivision in Travis
 County, Texas, according to the map or plat thereof recorded in Volume 92,
·Page 65, of the Plat Records of Travis County.

Reservations from and Exceptions to conveyance and Warranty:

      This conveyance is made and accepted subject to conditions, restrictions,
and easements appearing of record, if any, in Travis County, Texas, which affect
the hereinabove described property; and

      Grantee understands and agrees that Grantee is buying the Property "as is--
where is" with no representations or warranties as to fitness or use for a particular
purpose. Grantee has made an examination of the Property prior to closing and
has had reasonable access to the property prior to closing to determine the
condition and prior use of the Property. The purchase price of the Property was
negotiated based upon the current condition of the Property. Grantor makes no
representations or warranties and specifically disclaims having made any
representations or warranties of any kind or nature about the condition or prior
use of the Property, including, but not limited to any environmental matters.
Grantee is not relying on any representations made by Grantor concerning any
prior use or condition of the Property. After closing, Grantee and Grantee's
successors and assigns, will make no claim against Grantor concerning the
condition of the Property and/ or any prior use of the Property and shall
indemnify and save Grantor harmless from any and all claims made after closing
by, through or under Grantee, including attorney's fees.
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      Grantor, for the consideration and subject to the reservations from and
exceptions to conveyance and warranty, grants, sells, and conveys to Grantee the
property, together with all and singular the rights and appurtenance thereto in
any wise belonging, to have and hold it to Grantee, Grantee's heirs, executors,
administrators, successors, or assigns forever. Grantor binds Grantor and
Grantor's heirs, executors, administrators, and successors to warrant and forever
defend all and singular the property to Grantee and Grantee's heirs, executors,
administrators, successors, and assigns against every person whomsoever
lawfully claiming or to claim the same or any part thereof, except as to the
reservations from and exceptions to conveyance and warranty.

       But it is expressly agreed that the VENDOR'S LIEN, as well as the Superior
Title in and to the above described premises, is retained against the above
described property, premises and improvements until the above described note
and all interest thereon is fully paid according to the face, tenor, effect and
reading thereof, when this Deed shall become absolute.

       Seller, at Grantee's request, has paid in cash to Grantor that portion of the
purchase price of the property that is evidenced by the note described. The
vendor's lien and superior title to the property are retained for the benefit of
Seller and are transferred to that party without recourse on Grantor.

        This conveyance is made subject to the prior lien secured by Deed of Trust,
Extensions and a Transfer recorded in Document #2011137642, #2012004604,
#2013019734 and #2015025866 of the Official Public Records of Travis County,
Texas, from Seller to Original County Trustee, Trustee, which secures payment
of a promissory note in the original principal amount of Original Loan Amount
DOLLARS ($1,100,000.00). Grantee in this deed does not assume payment of that
$Orig. Loan Amt. note. Payee of the wraparound note is obligated to pay all
installments on the $Orig. Loan Amt note as they fall due. In the event of default
in payment of that $Orig. Loan Amt. note, Grantee shall have the right to cure
any such default as long as Grantee is not in default in payment of the
wraparound note or in performance of the covenants of the deed of trust securing
it. If Grantee cures a default in payment of the $Orig. Loan Amt. note, Grantee
may receive credit on the wraparound note for all amounts so paid as of the date
of the payment, in the manner that Grantee directs.
           When the context requires, singular nouns and pronouns include the
plural.
           EXECUTED this the 9th day of January, A.D. 2018,


                                             4709 INCORPORATED D/B/A
                                             MIDTOWN LIVE

                                            ~-c:::?~:-
                                              Selena Cash, Director and President

STATE OF TEXAS                         §
COUNTY OF TRAVIS                       §

      This instrument was acknowledged before me on the 9th day of January,
2018, by Selena Cash as a Director and President of 4709 Incorporated d/b/ a
Midtown Live, a Texas corporation, on behalf o~,.?ration.

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                        TODDVOYLES           NOTARY PUBLIC, STATE OF TEXAS
                    My Commission Expires
                        June 9, 2019
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               FILED AND RECORDED
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                   Jan 11, 2018     02:55 PM   2018005497
                          GONZALESM: $34.00
                 Dana DeBeauvoir, County Clerk
                    Travis County    TEXAS
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                                 EXHIBIT 4

                                  POA Note
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                                 EXHIBIT 5

                              POA Deed of Trust
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                                                9/First American Title/GF# /(Q<;.(o 31 5 ·
              Deed of Trust, Security Agreement, and Assignment of Rents

Notice of confidentiality rights: If you are a natural person, you may remove or strike any
or all of the following information from any instrument that transfers an interest in real
property before it is filed for record in the public records: your Social Security number or
your driver's license number.

                                            Terms

Date: September   -3_, 2011
Grantor: 4709 Incorporated, d/b/a Midtown Live, a Texas corporation

Grantors' Mailing Address: 7602 Brookhollow Cv., Austin, Travis County, Texas 78752-2103

Trustee: Bruce R. Hardesty

Trustee's Mailing Address: 1411 West Ave., Suite 100, Austin, Travis County, Texas 78701-1537

Lender: Pride of Austin High Yield Fund l, LLC

Lender's Mailing Address: 401 Congress Ave., Suite 1540, Austin, Travis County, Texas 78701-
3851

Obligations

       1. Note

               Date: The same date as this deed of trust

               Original principal amount: One Million One Hundred Thousand and No/100
               Dollars ($1,100,000.00)

               Borrower: 4709 Incorporated, d/b/a Midtown Live

               Lender: Pride of Austin High Yield Fund I, LLC

               Maturity date: October 1, 2012

       2.      Commercial Construction Loan Agreement between Pride of Austin High Yield
               Fund I, LLC, as Lender, and 4709 Incorporated, d/b/a Midtown Live, as
               Borrower, which is dated on or before this deed of trust.
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Property:

        Lot 2, Resubdivision of Lot 11, REAGAN HILL, a subdivision in Travis County,
        Texas, according to the map or plat thereofrecorded in Volume 92, Page 65, of the
        Plat Records of Travis County, Texas

(the "Real Property''),

       Together with the following personal property: All fixtures, supplies, building
       materials, and other goods of every nature now or hereafter located, used, or
       intended to be located or used on the Real Property; all plans and specifications for
       development or construction of improvements on the Real Property; all contracts
       and subcontracts relating to the construction of improvements on the Real Property;
       all accounts, contract rights, instruments, documents, general intangibles, and
       chattel paper arising from or by virtue of any transactions relating to the Real
       Property; all permits, licenses, franchises, certificates, and other rights and
       privileges obtained in connection with the Real Property; all proceeds payable or
       to be payable under each policy of insurance relating to the Real Property; and all
       products and proceeds of the foregoing. The Real Property and the personal
       property described in this paragraph are sometimes collectively referred to in this
       deed of trust as the "Property". Notwithstanding any other provision in this deed
       of trust, the term "Property" does not include personal effects used primarily for
       personal, family, or household purposes.

Exceptions to Conveyance and Warranty: Validly existing easements, rights-of-way, and
prescriptive rights, whether of record or not; and all presently recorded and validly existing
instruments, other than conveyances of the surface fee estate.

Prior Liens: None

        For value received and to secure payment of the Obligations, Grantor conveys the Property
to Trustee in trust. Grantor warrants and agrees to defend the title to the Property, subject to the
Exceptions to Conveyance and Warranty. On payment of the Obligations and all other amounts
secured by this deed of trust, and upon satisfaction of all other covenants and conditions in the
Obligations, this deed of trust will have no further effect, and Lender will release it at Grantor's
expense. In addition to creating a deed-of-trust lien on all the real and other property described
above, to secure the Obligations Grantor also grants to Lender a security interest in all of the
above-described personal property and all its proceeds, pursuant to and to the greatest extent
permitted by the Texas Uniform Commercial Code. Grantor authorizes Lender to file one or more
financing statements describing that collateral. In the event of a default under the Obligations,
whether or not there is a foreclosure sale under this deed of trust, Grantor agrees that all or part
of the personal property described above may be sold as a whole or in parcels at Lender's option,
and that the property to be sold need not be present at the place of sale.

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                                       Clauses and Covenants

A,      Grantor's Obligations

        Grantor agrees to-

        1.      keep the Property in good repair and condition;

        2.      pay all taxes and assessments on the Property before delinquency;

       3.      defend title to the Property subject to the Exceptions to Conveyance and Warranty
and preserve the lien's priority as it is established in this deed of trust;

        4.     maintain all insurance coverages with respect to the Property, revenues generated
by the Property, and operations on the Property that Lender reasonably requires ("Required
Insurance Coverages"), issued by insurers and written on policy forms acceptable to Lender, and
deliver evidence of the Required Insurance Coverages in a form acceptable to Lender at least ten
days before the expiration of the Required Insurance Coverages;

        5.      obey all laws, ordinances, and restrictive covenants applicable to the Property;

       6.       keep any buildings occupied as required by the Required Insurance Coverages;

        7.     if the lien of this deed of trust is not a first lien, pay or cause to be paid all prior
lien notes and abide by or cause to be abided by all prior lien instruments; and

        8.      notify Lender of any change of address.

B.     Lender's Rights

        1.      Lender or Lender's mortgage servicer may appoint in writing one or more substitute
trustees, succeeding to all rights and responsibilities of Trustee. Such written appointments need
not be filed in the Official Public Records of the county where the Property is located or in any
other public or governmental records in order to be effective.

      2.      If the proceeds of the Obligation are used to pay any debt secured by prior liens,
Lender is subrogated to all the rights and liens of the holders of any debt so paid.

       3.      Lender may apply any proceeds received under the property insurance policies
covering the Property either to reduce the Obligations or to repair or replace damaged or destroyed
improvements covered by the policy. If the Property is Grantor's primary residence and Lender



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reasonably determines that repairs to the improvements are economically feasible, Lender will
make the property insurance proceeds available to Grantor for repairs.

         4,     Notwithstanding the terms of the Note to the contrary, and unless applicable Jaw
prohibits, all payments received by Lender from Grantor with respect to the Obligations or this
deed of trust may, at Lender's discretion, be applied first to amounts payable under this deed of
trust and then to amounts due and payable to Lender with respect to the Obligations, to be applied
to late charges, principal, or interest in the order Lender in its discretion determines.

        5.      IfGrantor fails to perform any of Grantor's obligations, Lender may perform those
obligations and be reimbursed by Grantor on demand for any amounts so paid, including
attorney's fees, plus interest on those amounts from the dates of payment at the rate stated in the
Note for matured, unpaid amounts. The amount to be reimbursed will be secured by this deed of
trust.

        6.     If there is a default in any of the Obligatlons or if Grantor fails to perform any of
Grantor's other obligations and the default continues after any required notice of the default and
the time allowed to cure, Lender may-

               a.      declare the unpaid principal balance and earned interest on the Obligations
                       immediately due;

               b.     direct Trustee to foreclose this lien, in which case Lender or Lender's agent
                      will cause notice of the foreclosure sale to be given as provided by the
                      Texas Property Code as then in effect; and

               c.     purchase the Property at any foreclosure sale by offering the highest bid and
                      then have the bid credited on the Obligations.

       7.     Lender may remedy any default without waiving it and may waive any default
without waiving any prior or subsequent default.

C.     Trustee's Rights and Duties

       If directed by Lender to foreclose this lien, Trustee will-

       1.     either personally or by agent give notice of the foreclosure sale as required by the
Texas Property Code as then in effect;

       2.     sell and convey all or part of the Property "AS IS" to the highest bidder for cash
with a general warranty binding Grantor, subject to the Prior Lien and to the Exceptions to
Conveyance and Warranty and without representation or warranty, express or implied, by Trustee;


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        3.      from the proceeds of the sale, pay, in this order-

                a.     expenses of foreclosure, including a reasonable commission to Trustee;

                b.     to Lender, the full amount of principal, interest, attorney's fees, and other
                       charges due and unpaid;

                c.     any amounts required by law to be paid before payment to Grantor; and

               d.      to Grantor, any balance; and

        4.       be indemnified, held harmless, and defended by Lender against all costs, expenses,
and liabilities incurred by Trustee for acting in the execution or enforcement of the trust created
by this deed of trust, which includes all court and other costs, including attorney's fees, incurred
by Trustee in defense of any action or proceeding taken against Trustee in that capacity.

D.      General Provisions

        1.     If any of the Property is sold under this deed of trust, Grantor must immediately
surrender possession to the purchaser. If Grantor fails to do so, Grantor will become a tenant at
sufferance of the purchaser, subject to an action for forcible detainer.

        2.     Recitals in any trustee's deed conveying the Property will be presumed to be true.

        3.   Proceeding under this deed of trust. filing suit for foreclosure, or pursuing any
other remedy will not constitute an election of remedies.

        4.       This lien wm remain superior to liens later created even if the time of payment of
all or part of the Obligations is extended or part of the Property is released.

      5.      If any portion of the Obligations cannot be lawfully secured by this deed of trust,
payments will be applied first to discharge that portion.

        6.       Grantor assigns to Lender all amounts payable to or received by Grantor from
condemnation of all or part of the Property, from private sale in lieu of condemnation, and from
damages caused by public works or construction on or near the Property. After deducting any
expenses incurred, including attorney's fees and court and other costs, Lender will either release
any remaining amounts to Grantor or apply such amounts to reduce the Obligations. Lender will
not be liable for failure to collect or to exercise diligence in collecting any such amounts. Grantor
will immediately give Lender notice of any actual or threatened proceedings for condemnation of
all or part of the Property.

       7,      Grantor assigns to Lender absolutely, not only as collateral, all present and future

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 rent and other income and receipts from the Property. Grantor warrants the validity and
 enforceability of the assignment. Grantor may as Lender's licensee collect rent and other income
and receipts as long as Grantor is not in default with respect to th~ Obligations or this deed of
trust. Gran tor will apply all rent and other income and receipts to payment of the Obligations and
performance of this deed of trust, but if the rent and other income arld receipts exceed the amount
due with respect to the Obligations and the deed of trust, Grantor may retain the excess. lfGrantor
defaults in payment of the Obligations or performance of this deed of trust, Lender may terminate
Grantor's license to collect rent and other income and then as qrantor's agent may rent the
Property and collect all rent and other income and receipts. Lende~ neither has nor assumes any
obligations as lessor or landlord with respect to any occupant of the Pfoperty. Lender may exercise
Lender's rights and remedies under this paragraph without taking possession of the Property,
Lender will apply all rent and other income and receipts collectediunder this paragraph first to
expenses incurred in exercising Lender's rights and remedies and then to Grantor's obligations
with respect to the Obligations and this deed of trust in the order determined by Lender. Lender
is not required to act under this paragraph, and acting under this pa~agraph does not waive any of
Lender's other rights or remedies, If Grantor becomes a voluntilry or involuntary debtor in
                                                                        I

bankruptcy, Lender's filing a proof of claim in bankruptcy will pe deemed equivalent to the
appointment of a receiver under Texas law. This section is intendbd to create an assignment of
rents to the greatest extent permitted under Chapter 64 of the Texa/4 Property Code, and to grant
to Lender all rights of an assignee under that chapter.

        8.       Interest on the debt secured by this deed of trust will not exceed the maximum
amount of nonusurious interest that may be contracted for, taken, reserved, charged, or received
under law, Any interest in excess of that maximum amount will be credited on the principal of the
debt or, if that has been paid, refunded. On any acceleration or required or permitted prepayment,
any such excess will be canceled automatically as of the acceleratio~ or prepayment or, if already
paid, credited on the principal of the debt or, if the principal of the l:tebt has been paid, refunded.
This provision overrides any conflicting provisions in this and all pther instruments concerning
the debt.                                                               I
       9,     In no event may this deed of trust secure payment of tny debt that may not lawfully
be secured by a lien on real estate or create a lien otherwise prohi ited by law.

       10.     Grantor may not sell, transfer, or otherwise disp se of any Property, whether

may be conditioned upon (a) the grantee's integrity, reputation, ch racter, creditworthiness, and
management ability being satisfactory to Lender; and (b) the grantee s executing, before such sale,
transfer, or other disposition, a written assumption agreement con inlng any terms Lender may
require, such as a principal pay down on the Obligations, an increas in the rate of interest payable
with respect to the Obligations, a transfer fee, or any other modific tion of the Note, this deed of
trust, or any other instruments evidencing or securing the Obligations.

       Grantor may not cause or permit any Property to be encumbered by any liens, security

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interests, or encumbrances other than the liens securing the Obligations and the liens securing ad
valorem taxes not yet due and payable without the prior written consent of Lender. If granted,
consent may be conditioned upon Grantor's executing, before granting such lien, a written
modification agreement containing any terms Lender may require, such as a principal pay down
on the Obligations, an increase in the rate of interest payable with respect to the Obligations, an
approval fee, or any other modification of the Note, this deed of trust, or any other instruments
evidencing or securing the Obligations.

       Grantor may not grant any lien, security interest, or other encumbrance (a "Subordinate
Instrument") covering the Property that is subordinate to the liens created by this deed of trust
without the prior written consent of Lender. If granted, consent may be conditioned upon the
Subordinate Instrument's containing express covenants to the effect that-

               a.      the Subordinate Instrument is unconditionally subordinate to this deed of
                       trust;

               b.      if any action is instituted to foreclose or otherwise enforce the Subordinate
                       Instrument, no action may be taken that would terminate any occupancy or
                       tenancy without the prior written consent of Lender, and that consent, if
                       granted, may be conditioned in any manner Lender determines;

               c.      rents, if collected by or for the holder of the Subordinate Instrument, will
                       be applied first to the payment of the Obligations then due and to expenses
                       incurred in the ownership, operation, and maintenance of the Property in
                       any order Lender may determine, before being applied to any indebtedness
                       secured by the Subordinate Instrument;

               d,      written notice of default under the Subordinate Instrument and written
                       notice of the commencement of any action to foreclose or otherwise enforce
                       the Subordinate Instrument must be given to Lender concurrently with or
                       immediately after the occurrence of any such default or commencement;
                       and

               e.      in the event of the bankruptcy of Grantor, all amounts due on or with
                       respect to the Obligations and this deed of trust will be payable in full
                       before any payments on the indebtedness secured by the Subordinate
                       Instrument.

        Grantor may not cause or pennit any of the following events to occur without the prior
written consent of Lender: if Grantor is (a) a corporation, the dissolution of the corporation or the
sale, pledge, encumbrance, or assignment of any shares of its stock; (b) a limited liability
company, the dissolution of the company or the sale, pledge, encumbrance, or assignment of any
of its membership interests; (c) a general partnership or joint venture, the dissolution of the

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partnership or venture or the sale, pledge, encumbrance, or assignment of any of its partnership
or joint venture interests, or the withdrawal from or admission into it of any general partner or
joint venturer; or (d) a limited partnership, (1) the dissolution of the partnership, (2) the sale,
pledge, encumbrance, or assignment of any of its general partnership interests, or the withdrawal
from or admission into it of any general partner, (3) the sale, pledge, encumbrance, or assignment
of a controlling portion of its limited partnership interests, or (4) the withdrawal from or
admission into it of any controlling limited partner or partners. If granted, consent may be
conditioned upon (a) the integrity, reputation, character, creditworthiness, and management ability
of the person succeeding to the ownership interest in Grantor (or security interest in such
ownership) being satisfactory to Lender; and (b) the execution, before such event, by the person
succeeding to the interest of Grantor in the Property or ownership interest in Grantor (or security
interest in such ownership) of a written modification or assumption agreement containing such
tenns as Lender may require, such as a principal pay down on the Obligations, an increase in the
rate of interest payable With respect to the Obligations, a transfer fee, or any other modification
of the Note, this deed of trust, or any other instruments evidencing or securing the Obligations.

        11.     When the context requires, singular nouns and pronouns include the plural,

       12.    The term Note includes all extensions, modifications, and renewals of the Note and
all amounts secured by this deed of trust.

        13.     This deed of trust binds, benefits, and may be enforced by the successors in interest
of all parties.

      14.       If Grantor and Borrower are not the same person, the term Grantor includes
Borrower.

        15.    Grantor and each surety, endorser, and guarantor of the Obligation waive all
demand for payment, presentation for payment, notice of intention to accelerate maturity, notice
of acceleration of maturity, protest, and notice of protest, to the extent permitted by law,

        16.     This conveyance is made in trust also to secure payment of all other present and
future debts that Grantor may owe to Lender, regardless of how any other such debt is incurred
or evidenced. This conveyance is also made to secure payment of any renewal or extension of any
present or future debt that Grantor owes to Lender, including any loans and advancements from
Lender to Grantor under the provisions of this deed of trust. When Grantor repays all debts owed
to Lender, this deed-of-trust lien will terminate only if Lender releases this deed of trust at the
request of Gran tor. Until Lender releases it, this deed of trust will remain fully in effect to secure
other present and future advances and debts, regardless of any additional security given for any
debt and regardless of any modification. Grantor is not entitled to any partial releases of this deed-
of-trust lien without the express, written consent of Lender.

        17.    Grantor agrees to make an initial deposit in a reasonable amount to be determined

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 by Lender and then make monthly payments to an escrow fund for taxes and insurance premiums
on the Property. Monthly payments will be thereafter made on the first day of each calendar
 month, and each payment will be one-twelfth of the amount that Lender estimates will be required
annually for payment of taxes and insurance premiums. The fund will accrue no interest, and
Lender will hold it without bond in escrow and use it to pay the taxes and insurance premiums.
If Grantor has complied with the requirements of this paragraph, Lender must pay taxes before
delinquency. Grantor agrees to make additional deposits on demand if the fund is ever insufficient
for its purpose. If an excess accumulates in the fund, Lender may either credit it to future monthly
deposits until the excess is exhausted or refund it to Grantor. When Grantor makes the final
payment on the Note, Lender will credit to that payment the whole amount then in the fund or,
at Lender's option, refund it after the Note is paid. If this deed of trust is foreclosed, any balance
in the fund over that needed to pay taxes, including taxes accruing but not yet payable, and to pay
insurance premiums will be paid under part C, "Trustee's Rights and Duties," Iftbe Property is
transferred, any balance then in the fund will still be subject to the provisions of this paragraph
and will inure to the benefit of the transferee. Deposits to the fund described in this paragraph are
in addition to the payments provided for in the Note.

        18.    Grantor agrees to pay reasonable attorney's fees, trustee's fees, and court and other
costs of enforcing Lender's rights under this deed of trust if this deed of trust is placed in the
hands of an attorney for enforcement.

         19.     In case any one or more of the provisions contained in this deed of trust shall for
any reason be held by a court of competent jurisdiction to be invalid, illegal, or unenforceable in
any respect, to the extent that the unenforceability does not destroy the basis of the bargain among
the parties to this deed of trust, such invalidity, illegality, or unenforceability shall not affect any
other provision of this deed of trust, and this deed of trust shall be construed as if the invalid,
illegal, or unenforceable provision had never been included in this deed of trust.

       20.      The term Lender includes any mortgage servicer for Lender.

E.     Construction Loan Mortgage

        I.     This deed of trust is a "construction mortgage" within the meaning of section 9. 334
of the Texas Business and Commerce Code. The liens and security interests created and granted
by this deed of trust secure an obligation incurred for the construction of improvements on land,
including the acquisition cost of the land.

       2.      Grantor agrees to comply with the covenants and conditions of the commercial
construction loan agreement, if any, executed in connection with the Note and this deed of trust.
All advances made by Lender under the commercial construction loan agreement will be
indebtedness of Grantor secured by the liens created by this deed of trust, and such advances are
conditioned as provided in the commercial constrnction loan agreement.


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        3.      All amounts disbursed by Lender before completion of the improvements to protect
the security of th1s deed of trust up to the principal amount of the Note will be treated as
disbursements under the commercial construction loan agreement. All such amounts will bear
interest from the date of disbursement at the rate stated in the Note, unless collections from
Grantor of interest at that rate would be contrary to applicable law, in which event such amounts
will bear interest at the rate stated in the Note for matured, unpaid amounts and will be payable
on notice from Lender to Gran.tor requesting payment.

       4.     From time to time as Lender deems necessary to protect Lender's interests, Grantor
will, on request of Lender, execute and deliver to Lender, in such fonn as Lender directs,
assignments of any and all rights or claims that relate to the construction of improvements on the
Property.

        5.      In case of breach by Grantor of the covenants and conditions of the construction
loan agreement, Lender, at its option, with or without entry on the Property, may (a) invoke any
of the rights or remedies provided in the construction loan agreement, (b) accelerate the amounts
secured by this deed of trust and invoke the remedies provided in this deed of trust, or (c) do both.

        6.      If, after commencement of amortization of the Note, the Note and this deed of trust
are sold by Lender, after the sale the commercial construction loan agreement will cease to be a
part of this deed of trust, and Grantor will not assert any right of setoff, counterclaim, or other
claim or defense arising out of or in connection with the commercial construction loan agreement
against the obligations of the Note and this deed of trust.

                                                      4709 INCORPORATED,
                                                      D/B/ A MIDTOWN LIVE



                                                      ~-e'C.,r,..___
                                                       · Selena Cash, Director and President




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                                      Acknowledgment

STATE OF TEXAS                                §
                                              §
COUNTY OF TRAVIS                              §

        This instrument was acknowledged before me on September  j_,      2011 by Selena Cash,
as a director and the president of 4709 Incorporated, d/b/a Midtown Live, a Texas corporation,
on behalf of that corporation.




AFTER RECORDING, RETURN TO:

First American Title
1221 S. MoPac Expy Ste 150
Austin TX 78746




                                                                                                   FILED AND RECORDED
                                                                                                 OFFICIAL PUBLIC RECORDS
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                                                                                             DANA DEBEAUVOIR, COUNTY CLERK
                                                                                                 TRAVIS COUNTY, TEXAS
                                                                                                 September 21 2011 10:21 AM
                                                                                                         FEE:$   56.00   2011137642
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                                 EXHIBIT 6

                    January 2012 POA Extension Agreement
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                                 EXHIBIT 7

                    January 2013 POA Extension Agreement
21-01030-tmd Doc#9-3 Filed 08/18/21 Entered 08/18/21 11:56:46 Exhibit Compiled
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                                 EXHIBIT 8

                                POA Transfer
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21-01030-tmd Doc#9-3 Filed 08/18/21 Entered 08/18/21 11:56:46 Exhibit Compiled
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                                  EXHIBIT 9

                                June 2012 Note
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                                 EXHIBIT 10

                         June 2012 Note Deed of Trust
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                                 EXHIBIT 11

                             September 2013 Note
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21-01030-tmd Doc#9-3 Filed 08/18/21 Entered 08/18/21 11:56:46 Exhibit Compiled
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                                 EXHIBIT 12

                       September 2013 Note Deed of Trust
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                                 EXHIBIT 13

                Order Confirming 4709 Plan (with Plan Attached)
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  IT IS HEREBY ADJUDGED and DECREED that the
  below described is SO ORDERED.

  Dated: November 23, 2015.

                                                                 __________________________________
                                                                           TONY M. DAVIS
                                                                 UNITED STATES BANKRUPTCY JUDGE
  __________________________________________________________________


                         IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE WESTERN DISTRICT OF TEXAS
                                        AUSTIN DIVISION

  In re:                                                 §
                                                         §
  4709 INCORPORATED, d/b/a                               §                     Case No. 14-10340-TMD
  Midtown Live Sports Cafe,                              §
                                                         §                              (Chapter 11)
                     Debtor in Possession.               §

                      AMENDED* ORDER CONFIRMING
       DEBTOR’S AMENDED PLAN OF REORGANIZATION DATED JULY 15, 2015,
                     AS MODIFIED ON NOVEMBER 6, 2015

           On November 9, 2015, at Austin, Texas, the above entitled and numbered Chapter 11

  proceeding came before the Court for hearing on confirmation of the Debtor’s Amended Plan of

  Reorganization Dated July 15, 2015, as Modified on November 6, 2015 [the “Plan,” Document

  No. 145 on the Court’s docket in this case], filed by the Debtor in Possession, 4709 Incorporated,

  d/b/a Midtown Live Sports Cafe (the “Debtor”).

           The Debtor’s creditors voted on the Debtor’s Amended Plan of Reorganization Dated

  July 15, 2015 (the “Amended Plan”), which was modified by the Debtor twice after voting. The


  ________
  * The only difference between this Amended Order and the original Order is the attachment of the Amended Plan,
  which was previously inadvertently omitted.
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  Court finds that notice of the changes made was proper and adequate under the circumstances

  and, after reviewing the redline of the changes made after the voting (Document No. 115 on the

  Court’s docket), finds that no creditor is adversely affected by the changes made except John

  Hoberman and related persons, the Classes 5, 6 and 7 Claimants, and that those Claimants have

  voted in favor of the Plan after those changes were made. Having considered the arguments and

  evidence presented at the hearing, including the testimony of Mernet Cash, the Court further

  finds that such Amended Plan of Reorganization Dated July 15, 2015, as Modified on November

  6, 2015, docket entry # 145 (a copy of which is attached hereto), should be confirmed.

         In addition, the Court makes the following further findings with respect to the Plan:

         1.      The Plan, as it applies to the Debtor, complies with the applicable provisions of

  Title 11, United States Code (“Bankruptcy Code”); and

         2.      The Debtor, as proponent of the Plan, is in compliance with the applicable

  provisions of the Bankruptcy Code; and

         3.      The Plan has been proposed in good faith and not by any means forbidden by law;

  and

         4.      Any payment made or to be made by the Debtor (no person is issuing securities

  or, other than the Reorganized Debtor, acquiring property under the Plan) for services or for

  costs and expenses in or in connection with the case, or in connection with the Plan and incident

  to the case, has been approved by, or is subject to the approval of, the Court as reasonable; and

         5.      The identity and compensation of Selena Cash and Mernet Cash, the only insiders

  who will be retained, employed or compensated by the Debtor following confirmation, has been

  disclosed, and therefore subsection (5) of § 1129(a) is satisfied; and

         6.      The provisions of 11 U.S.C. § 1129(a)(6), regarding certain governmental

  regulatory commissions, are not applicable in this case; and
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         7.      With respect to each class of claims or interests that is impaired under the Plan,

  each holder of a claim or interest of such class has either accepted the Plan, or will receive or

  retain under such Plan on account of such claim or interest property of a value, as of the

  Effective Date of the Plan (as defined in the Plan), that is not less than the amount that such

  holder would receive or retain if the assets of the Debtor were liquidated under Chapter 7 of the

  Bankruptcy Code on such date; and

         8.      Every class of claims has either accepted the Plan or is not impaired under the

  Plan; and

         9.      The Plan’s treatment of priority claims specified in § 507 of the Bankruptcy Code

  is in conformity with the treatment required by § 1129(a)(9) of the Bankruptcy Code or the

  holders of such claims have agreed to a different treatment as specified in the Plan; and

         10.     Classes 5-10 are the impaired classes of claims. The late vote of the Classes 5, 6

  and 7 Claimants should be counted in those Classes, and each of those Classes has accepted the

  Plan. Classes 8 and 9 are not receiving anything under the Plan, but because the value of the

  collateral securing those Claims, as of the Petition Date, is less than the amount paid in principal

  to the Class 8 Claimant in adequate protection payments during the case, there is no value left to

  secure the balance of the Class 8 Claim or the Class 9 Claim (which is junior to the Class 8

  Claim). There are therefore no Claims in those Classes as of Confirmation. Finally, Class 10, the

  Class of Unsecured Creditors, voted to accept the Plan; and

         11.     None of the creditors in Classes 5, 6, 7 and 10 that voted are insiders. Therefore,

  at least one class of impaired claims against the Debtor has accepted the Plan, determined

  without including any acceptance of the Plan by any insider; and

         11.     Confirmation of the Plan is not likely to be followed by the liquidation, or the

  need for further financial reorganization, of the Debtor except as provided under the Plan; and
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         12.     All fees due and owing to the United States Trustee pursuant to 28 U.S.C.

  § 1930(a)(6) as of the confirmation hearing have been paid; and

         13.     The provisions of 11 U.S.C. § 1129(a)(13), regarding retiree benefits, are not

  applicable in the case; and

         14.      The provisions of 11 U.S.C. § 1129(a)(14), regarding the payment of domestic

  support obligations, are not applicable in the case; and

         15.     The provisions of 11 U.S.C. § 1129(a)(15), regarding the application of an individual

  debtor’s disposable income to make plan payments, are not applicable in the case; and

         16.     The provisions of U.S.C. § 1129(a)(16), regarding transfers under a plan of

  property by non-moneyed, non-business or non-commercial corporations or trusts, are not

  applicable in the case; and

         17.     Notice of the Plan, the assumption of leases, the applicable deadlines, the two

  modifications made after voting, and the confirmation hearing, are adequate and proper under the

  circumstances; and

         18.     Assumption of the leases provided under the Plan is in the best interests of the

  Debtor and should be approved.

         IT IS, THEREFORE, ORDERED that the Court hereby CONFIRMS the Debtor’s

  Amended Plan of Reorganization Dated July 15, 2015, as Modified on November 6, 2015

  [docket entry # 145], a copy of which is attached.

         IT IS FURTHER ORDERED that the Debtor is hereby DISCHARGED of all debts

  arising before the date of entry of this Order.

         IT IS FURTHER ORDERED that assumption of the leases provided under the Plan is

  hereby APPROVED.



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          IT IS FURTHER ORDERED that the setoff rights of the Texas Comptroller of Public

  Accounts (the “Comptroller”) pursuant to 11 U.S.C. § 553 are preserved.

          IT IS FURTHER ORDERED that, as provided by 11 U.S.C. § 503(b)(1)(D), the Comp-

  troller is not required to file a request for allowance or payment of administrative claims in this

  case to preserve and collect any such claim.

          IT IS FURTHER ORDERED that within ten (10) days of the date of entry of this Order,

  the Debtor shall mail a notice to all parties in interest of:

          (a) the confirmation of the Plan, and

          (b) the calendar date of the Effective Date under the Plan, and

          (c) notice that under Paragraph 3.05 of the Plan, any administrative claim, other than a
              claim under Paragraph 3.07, must be filed no later than thirty (30) days after the
              Effective Date (such notice shall include the calendar date of that deadline), or shall
              be barred, and

          (d) notice that, under Paragraph 3.07 of the Plan, any requests for allowance of post-
              petition fees or costs pursuant to 11 U.S.C. § 506(b), must be filed no later than sixty
              (60) days after the Effective Date (such notice shall include the calendar date of that
              deadline) or shall be barred, and

          (e) notice that, under Paragraph 3.08 of the Plan, any objection to any pre-petition claim
              must be filed no later than the later of sixty (60) days after the Effective Date (such
              notice shall include the calendar date of that deadline) or thirty (30) days after such
              claim is filed, or shall be barred,

  and a notice to the other parties to the executor contracts and unexpired leases assumed under the
  Plan that those leases have been assumed and will be assigned and that, under Paragraph 8.04 of
  the Plan, the deadline for parties to unexpired leases and executory contracts that are assumed for
  objecting to the proposed treatment of any Cure Claims (as defined in the Plan) they may have,
  and for filing a Cure Claim, is 45 days from the Effective Date, with such actual calendar date
  being specified in the notice.


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  Order submitted by:

  Frank B. Lyon
  LAW OFFICES OF FRANK B. LYON
  3508 Far West Blvd., Ste. 170
  Austin, Texas 78731
  512-345-8964 / 512-697-0047 (fax)
  frank@franklyon.com

  ATTORNEY FOR THE DEBTOR




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                        UNITED STATES BANKRUPTCY COURT
                           WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

  In re:                                    §
                                            §
  4709 INCORPORATED, d/b/a                  §                Case No. 14-10340-TMD
  Midtown Live Sports Cafe,                 §
                                            §                      (Chapter 11)
                 Debtor in Possession.      §

       DEBTOR’S AMENDED PLAN OF REORGANIZATION DATED JULY 15, 2015,
                    AS MODIFIED ON NOVEMBER 6, 2015


  DATED:       November 6, 2015          Frank B. Lyon
               Austin, Texas             Texas Bar No. 12739800
                                         TWO FAR WEST PLAZA, Suite 170
                                         3508 Far West Boulevard
                                         Austin, Texas 78731
                                         512-345-8964 / 512-697-0047 (fax)
                                         frank@franklyon.com

                                         ATTORNEY FOR 4709 INCORPORATED,
                                         DEBTOR IN POSSESSION
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                                           UNITED STATES BANKRUPTCY COURT
                                              WESTERN DISTRICT OF TEXAS
                                                    AUSTIN DIVISION

  In re:                                                                §
                                                                        §
  4709 INCORPORATED, d/b/a                                              §        Case No. 14-10340-TMD
  Midtown Live Sports Cafe,                                             §
                                                                        §              (Chapter 11)
                            Debtor in Possession.                       §

              DEBTOR’S AMENDED PLAN OF REORGANIZATION DATED JULY 15, 2015,
                           AS MODIFIED ON NOVEMBER 6, 2015

        COMES NOW 4709 INCORPORATED (the “Debtor”), as debtor in possession in this
  Bankruptcy Case and pursuant to Chapter 11, Title 11, United States Code (the “Bankruptcy
  Code”) proposes the following Amended Plan of Reorganization Dated July 15, 2015, as Modified
  on November 6, 2015 (the “Modified Plan” or the “Plan”).

                                                                     ARTICLE I
                                              DEFINITIONS AND USE OF TERMS

         1.01 Defined Terms. Unless the context otherwise requires, capitalized terms shall
  have the meanings set forth in this Section 1.01.

         1.01(a)         Administrative Expense Claim means an administrative expense or Claim
  described in 11 U.S.C. § 503, that arose on or after March 3, 2014, and that is entitled to
  administrative priority under to 11 U.S.C. § 507(a)(1), including but not limited to Claims for
  compensation of professionals made pursuant to 11 U.S.C. §§ 330 and 331, and all fees and
  charges assessed against the Debtor and the Debtor’s property under 28 U.S.C. § 1930.

          1.01(b)        Allowed Claim means either: (i) a Claim against the Debtor or its property
  that is allowable under the Bankruptcy Code to the extent that a proof of claim, proof of interest,
  or request for payment was timely filed or, with leave of the Bankruptcy Court, was late filed and
  as to which no objection has been filed or, if an objection has been filed, is allowed by a Final
  Order, unless otherwise provided in this Plan, or (ii) a Claim against the Debtor or its property that
  is scheduled and not listed as disputed, contingent or unliquidated, and as to which Claim no
  objection has been filed or, if an objection is filed, is allowed by a Final Order.

        1.01(c)                     Bankruptcy Case means the Debtor’s Chapter 11 case pending in the
  Bankruptcy Court.

         1.01(d)                    Bankruptcy Code means the United States Bankruptcy Code, 11 U.S.C.
  § 101 et seq.

          1.01(e)       Bankruptcy Court means the United States Bankruptcy Court for the
  Western District of Texas, Austin Division, or such other Court that may have jurisdiction with
  respect to Debtor’s Bankruptcy Case.
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         1.01(f)        Bankruptcy Rules means the Federal Rules of Bankruptcy Procedure, as
  amended, promulgated under 28 U.S.C. § 2075, and the Local Rules of the Bankruptcy Court, as
  applicable from time to time to the Debtor’s Bankruptcy Case.

         1.01(g)        Bar Date means the date subsequent to which proof of a pre-petition Claim
  against the Debtor may not timely be filed or, with respect to proofs of claims held by
  governmental agencies, the date by which those must be filed. The Bar Date for government
  agencies’ Claims in the Debtor’s Bankruptcy Case is August 30, 2014, and the Bar Date for all
  other Claims was June 30, 2014.

         1.01(h)         Business Day means a day that the office of the Clerk of the Bankruptcy
  Court is open for business as usual.

          1.01(i)       Claim means (i) any right to payment from the Debtor, whether or not such
  right is reduced to judgment, liquidated, unliquidated, fixed, contingent, matured, unmatured,
  disputed, undisputed, legal, equitable, secured or unsecured; or (ii) any right to an equitable
  remedy for breach of performance if such breach gives rise to a right of payment from the Debtor,
  whether or not such right to an equitable remedy is reduced to judgment, fixed, contingent,
  matured, unmatured, disputed, undisputed, secured or unsecured.

             1.01(j)                Claimant means any Person or entity having or asserting a Claim in this
  Case.

         1.01(k)          Class or Classes mean all of the holders of Claims or Equity Interests that
  the Debtor has designated pursuant to 11 U.S.C. § 1123(a)(1) as having substantially similar
  characteristics as described in Articles V and VI of this Plan.

         1.01(l)                    Club means Midtown Live Sports Café, the restaurant/bar operated by the
  Debtor.

         1.01(m)      Confirmation means the entry by the Bankruptcy Court of the
  Confirmation Order.

         1.01(n)                    Confirmation Date means the date on which the Confirmation Order is
  entered.

         1.01(o)         Confirmation Order means the order of the Bankruptcy Court confirming
  the Plan pursuant to 11 U.S.C. § 1129.

          1.01(p)         Contested Claim means a Claim against the Debtor or its property that
  either (a) is listed in the Debtor’s schedules of assets and liabilities as disputed, contingent or
  unliquidated; (b) is the subject of a pending action in a forum other than the Bankruptcy Court,
  unless such Claim has been determined by Final Order in such other forum and Allowed by Final
  Order of the Bankruptcy Court; or (c) has had or is subject to a pending objection or request for
  estimation filed by the Debtor or by any other party in interest in accordance with the Bankruptcy
  Code and the Bankruptcy Rules.


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        1.01(q)                     Creditor shall have the meaning specified by 11 U.S.C. § 101(9) of the
  Bankruptcy Code.

         1.01(r)        Cure Claim means a Claim in the amount necessary to cure any default or
  arrearage, together with the amount necessary to compensate for damages suffered as a result of
  such default or arrearage, on an unexpired lease or executory contract that has been assumed by
  the Debtor pursuant to 11 U.S.C. § 365.

         1.01(s)         Debtor means 4709 Incorporated, Texas limited liability company, which is
  the debtor in possession in the above-captioned Bankruptcy Case.

        1.01(t)        Effective Date means the first Business Day after the Confirmation Order
  becomes a Final Order.

             1.01(u)                Estate means the estate of the Debtor created pursuant to 11 U.S.C. § 541.

          1.01(v)        Equity Interest means the interest of Selena Cash in the Debtor as the sole
  shareholder of the corporation, and all rights associated therewith, and all Claims arising from or
  relating to such Equity Interest, including but not limited to Claims for rescission.

         1.01(w)        Final Order means an order or judgment entered by the Bankruptcy Court
  or any other court exercising jurisdiction over the subject matter and the parties, as to which the
  time to appeal (generally, fourteen days after entry) has expired and as to which a stay pending
  appeal has not been granted.

          1.01(x)        General Unsecured Claim means an Unsecured Claim that is not entitled
  to priority under 11 U.S.C. § 507(a).

         1.01(y)         Hoberman means John Hoberman of Austin, Texas, and his wife, Susan,
  the holders of the second Lien on the Property as of the Petition Date, and/or Hoberman’s Self-
  Directed IRA Services Inc., Custodian FBO John Hoberman IRA 20131XXXX, the holder of the
  third Lien on the Property as of the Petition Date, and the/or Hoberman as the post-petition
  purchaser of the first Lien on the Property previously held by Pride of Austin High Yield Fund 1,
  LLC.

          1.01(z)        Impaired means the treatment of an Allowed Claim pursuant to the Plan
  unless, with respect to such Claim, either (a) the Plan leaves unaltered the legal, equitable and
  contractual rights to which such Claim entitles the holder of such Claim or (b) notwithstanding
  any contractual provision or applicable law that entitles the holder of such Claim to demand or
  receive accelerated payment of such Claim after occurrence of a default, the Reorganized Debtor
  (i) cures any default that occurred before or after the commencement of the Case on the Petition
  Date, other than default of the kind specified in 11 U.S.C. § 365(b)(2), (ii) reinstates the maturity
  of such Claim as such maturity existed before such default, (iii) compensates the holder of such
  Claim for any damages incurred as a result of any reasonable reliance by such holder on such
  contractual provision or such applicable law, and (iv) does not otherwise alter the legal, equitable
  or contractual rights to which such Claim entitles the holder of such Claim; or (c) the Plan
  provides that on the Effective Date the holder of such Claim receives, on account of such Claim,
  cash equal to the amount of such Allowed Claim.

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          1.01(aa)       Insider has the meaning in § 101(31) of the Code. Insiders of the Debtor
  include, but are not necessarily limited to, Selena Cash, Michael Cash, and Arletha Mernet
  Guerrero.
          1.01(bb)       Lien shall mean a contractual or statutory lien against or security interest in
  an interest of the Debtor in real or personal property.

          1.01(cc)      Midtown Live means Midtown Live Sports Café, that certain bar and
  restaurant located in Suite E of the Meadowglen Shopping Center, owned and operated by the
  Debtor.

         1.01(dd)      Person means an individual, partnership, or corporation, but does not
  include a governmental unit unless the government unit acquires an asset as a result of operation
  of a loan guarantee agreement, or as receiver or liquidating agent, in which case such
  governmental unit shall be considered a Person for purposes of 11 U.S.C. § 1102.

          1.01(ee)        Petition Date means March 3, 2014, the date on which the Debtor filed its
  petition for relief, commencing its Bankruptcy Case.

        1.01(ff)       Plan means the Debtor’s Amended Plan of Reorganization Dated July 15,
  2015, as Modified on November 6, 2015, of as it may be further amended, modified or
  supplemented by the Debtor from time to time as permitted herein and by the Bankruptcy Court.

         1.01(gg)       Plan Documents means the Asset Purchase Agreement, Lease, Guaranty
  and related documents between the Debtor, Selena Cash, and Hoberman and/or his designated
  assignee(s), in the form attached hereto as Exhibit “A,” that are executed by those parties to
  implement the terms of the Plan.

         1.01(hh)       Pride of Austin High Yield Fund 1, LLC, or POA was the holder of the
  Claim secured by a first Lien on the Property as of the Petition Date.

         1.01(ii)      Priority Creditor means a Creditor whose Claim is entitled to priority
  under 11 U.S.C. § 507.

         1.01(jj)       Property means the Meadow Glen Shopping Center and all personal
  property associated with it.

          1.01(kk)        Property of the Estate means all property in which the Debtor holds a
  legal or an equitable interest, including all property described in 11 U.S.C. § 541.

         1.01(ll)                   Reorganized Debtor means 4709 Incorporated, following Confirmation of
  the Plan.

          1.01(mm)       Secured Claim means any Claim secured by a Lien or other charge or
  interest in property in which the Debtor has an interest, to the extent of the value thereof as
  determined in accordance with 11 U.S.C. § 506(a).

         1.01(nn)                   Secured Creditor or Secured Claimant means any Claimant holding a
  Secured Claim.

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         1.01(oo)     Shopping Center or the Center means the Meadowglen Shopping Center
  located at 7408 Cameron Road, Austin, Texas 78752, owned by the Debtor, and the associated
  personal property.

             1.01(pp)               Unsecured Claim means a Claim that is not a Secured Claim.

        1.01(qq)      Unsecured Creditor or Unsecured Claimant means any Claimant holding
  an Unsecured Claim.

          1.02 Gender. Whenever the singular number is used, it shall include the plural, and the
  plural shall include the singular, as appropriate to the context. Words of any gender shall include
  each other gender where appropriate.

         1.03 Terms Defined in the Bankruptcy Code. Capitalized terms not specifically
  defined in Section 1.01 of the Plan shall have the definitions, if any, given those terms in the
  Bankruptcy Code.

          1.04 Headings. The headings and captions used in the Plan are for convenience only
  and shall not be deemed to limit, amplify or modify the terms of this Plan nor affect the meaning
  thereof.

         1.05 Computation of Time. In computing any time prescribed herein the provision of
  Fed. R. Bankr. P. 9006(a) shall apply.

                                                                       ARTICLE II
                                                                     BASIS OF PLAN

         2.01 Generally. The Plan is a plan of reorganization. The Debtor will continue to own
  and operate the Midtown Live Sports Café (“Midtown Live” or the “Club”). Selena Cash, Michael
  Cash and/or Mernet Cash will continue to manage the Reorganized Debtor. The income from the
  Club and the collection, as the manager of the Property, of rents from other tenants, will be used to
  pay operating expenses including rent, and Creditors under the Plan.

          2.02 Treatment of the Claims of Hoberman. It will, however, transfer ownership of
  the Meadowglen Shopping Center (the “Property”) to John Hoberman, the holder of first, second
  (with his wife, Susan) and (through his IRA) third Liens on that Property as of the filing of the
  Plan (collectively, “Hoberman”), and/or his designated assignee(s), in partial satisfaction of that
  indebtedness and in exchange for a new lease of that portion of the Property currently occupied by
  the Club, under terms agreed by the parties. Those terms are set out in detail in the Plan and Plan
  Documents, copies of which are attached to and made a part of this Plan. In connection with the
  transfer of the Property, the Debtor will assume and assign to Hoberman and/or his designated
  assignee(s) the leases of the other tenants in the Property. The Debtor will continue to manage the
  Property and collect the rents of the other tenants and remit them to Hoberman.

          2.03 Treatment of Secured Claims. The other Secured Claims against the Debtor will
  be paid monthly over one year (CAN Capital) or five years (Yellowstone Capital) with interest.
  The Claims for taxes, whether Secured or Unsecured Priority, will be paid monthly with interest at
  the rates specified by the non-bankruptcy statute, as required by the Bankruptcy Code, over a
  period ending no later than the 60th month following the filing of the Debtor’s Bankruptcy Case.
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         2.04 Treatment of Unsecured Claims. The Unsecured Claims against the Debtor will
  be paid in full, in quarterly payments over five years, with interest at 5.25%. The treatment is
  described in detail in Paragraph 6.08 in Section VI below.

         2.05 Treatment of Equity. Finally, Selena Cash will retain her Equity Interest in the
  Debtor, but will not be entitled to any distributions during the 60-month term of the Plan.

                                                                     ARTICLE II
                                             PROVISIONS APPLICABLE TO ALL CLAIM

          3.01 Treatment of Claims. This Plan is intended to resolve all Claims against the
  Debtor and/or its property of whatever character, whether contingent or liquidated, or whether or
  not allowed by the Bankruptcy Court pursuant to 11 U.S.C. § 502(a). However, only Allowed
  Claims will receive treatment afforded by the Plan. The Plan is designed to insure that Claimants
  will receive at least as much pursuant to this Plan as they would receive in a liquidation of the
  Debtor pursuant to chapter 7 of the Bankruptcy Code.

        3.02 Allowed Claims. To receive a distribution under the Plan, a Creditor must have an
  Allowed Claim.

          3.03 Amount of Claims. If the Debtor has scheduled a Claim and has not scheduled
  such Claim as disputed, contingent, or unliquidated, then the amount scheduled shall control,
  unless the Creditor files a proof of claim in a different amount or a party in interest files an
  objection to the scheduled Claim. If a Creditor files a proof of claim, then the amount stated in the
  proof of claim shall control, unless a party in interest files an objection to the Claim. If a party in
  interest files an objection to a Claim for which a proof of claim is filed, or to a scheduled Claim,
  then the amount determined by the Bankruptcy Court in a Final Order shall control. If a Claim has
  been scheduled as disputed, contingent or unliquidated and the Creditor has not filed a proof of
  claim by the applicable Bar Date, the Claim shall be deemed to be disallowed unless this Plan
  specifically provides otherwise.

          3.04 Allowance of Post-Petition Interest, Fees and Costs. Unless otherwise provided
  in the Plan, a Claim shall not be entitled to post-petition interest, fees or costs.

         3.05 Filing of Administrative Claims. Any requests for allowance of Administrative
  Expense Claims, other than a request for post-petition fees or costs as described in Paragraph 3.07
  below, shall be filed within thirty (30) days after the Effective Date or shall be barred.

         3.06 Cure Claims. Any Cure Claims not scheduled as undisputed, liquidated and non-
  contingent Claims shall be filed within thirty (45) days after the Effective Date or shall be barred,
  unless otherwise agreed by the parties.

          3.07 Filing of Requests for Post-Petition Fees or Costs. Any requests for allowance
  of post-petition fees or costs pursuant to 11 U.S.C. § 506(b) shall be filed within sixty (60) days
  after the Effective Date or shall be barred.

          3.08 Objections to Claims. Any party authorized by the Bankruptcy Code may object
  to the allowance of a pre-petition Claim at any time prior to the later of sixty (60) days after the
  Effective Date or thirty (30) days after such proof of claim is filed. Any proof of claim filed after
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  the Bar Date set by the Bankruptcy Court and applicable to such Claim shall be of no force and
  effect and shall be deemed disallowed. All Contested Claims shall be litigated to Final Order;
  provided, however, that the Reorganized Debtor may compromise and settle any Contested Claim,
  subject to the approval of the Bankruptcy Court and further provided that if a Claim has been
  scheduled as disputed, contingent or unliquidated and the Creditor has not filed a proof of claim
  by the applicable Bar Date, the Claim shall be deemed to be disallowed unless this Plan
  specifically provides otherwise.

          3.09 Distributions on Contested Claims. No distributions under this Plan shall be
  made to the holder of a Claim that is in dispute, unless and until such Claim becomes an Allowed
  Claim. When and if a Contested Claim becomes an Allowed Claim, the Reorganized Debtor shall
  at the next scheduled distribution under the Plan to the Class of Creditors into which the Claim
  falls pay the newly Allowed Claim a sum sufficient to bring that Claimant current as if it had been
  paid according to the Plan since the Effective Date. If a Claim is disputed in whole or in part
  because the Debtor asserts a right of offset against such Claim or recoupment against the holder of
  such Claim, then, if and to the extent the Claim giving rise to the offset or recoupment is sustained
  by Final Order, the Claim in dispute shall be reduced or eliminated and, if applicable, the holder of
  such Claim shall be required to pay the amount of such offset or recoupment, less the amount of
  the Allowed Claim. In addition, any party authorized by the Bankruptcy Code may request that
  the Bankruptcy Court estimate any contingent, disputed or unliquidated Claim pursuant to 11
  U.S.C. § 502(c) at any time.

                                                                     ARTICLE IV
                                  ADMINISTRATIVE AND PRIORITY CREDITORS

         4.01 Administrative Expense Claims and Other § 507(a)(2) Priority Claims. Where
  required by the Bankruptcy Code, and upon approval by the Bankruptcy Court, the Reorganized
  Debtor shall pay the Administrative Expense Claims of the Bankruptcy Case, allowed pursuant to
  § 503 of the Code, and each Allowed Claim entitled to priority pursuant to § 507(a)(2) of the
  Code, on a current basis.

                                                                     ARTICLE V
                          CLASSIFICATION OF CLAIMS AND EQUITY INTERESTS

             5.01        Classification. Claims and Equity Interests are classified as follows:

             Class 1. Allowed Administrative Claims under § 503(b)(2) of the Bankruptcy Code.

             Class 2. Allowed Priority Claims, including those of the Internal Revenue Service (if any),
                      the Texas Alcoholic Beverage Commission, the Texas Comptroller of Public
                      Accounts, and the Texas Workforce Commission.

             Class 3. Allowed Secured Claims against the Debtor for personal property taxes for the
                      years 2013 and 2014.

             Class 4. Allowed Secured Claims against the Debtor for real property taxes for the years
                      2013 and 2014.



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             Class 5. Allowed Secured Claim of John Hoberman against the Debtor, secured by a deed
                      of trust Lien on the Property, second only to the ad valorem tax Liens.

             Class 6. Allowed Secured Claim of John Hoberman and Susan Hoberman against the
                      Debtor, secured by a deed of trust Lien on the Property, junior to the ad valorem
                      tax Liens and the Lien securing the Class 4 Claim.

             Class 7. Allowed Secured Claim of the Self-Directed IRA Services Inc., Custodian FBO
                      John Hoberman IRA 20131XXXX, against the Debtor, secured by a deed of trust
                      Lien on the Property, junior to the ad valorem tax Liens and the Liens securing
                      the Classes 4 and 5 Claims.

             Class 8. Allowed Secured Claim of Can Capital, f/k/a AdvanceMe, against the Debtor and
                      secured by the Debtor’s accounts receivable.

             Class 9. Allowed Secured Claim of Yellowstone Capital against the Debtor and secured
                      by the Debtor’s accounts receivable, junior to the security interest of the Class 7
                      Claimant.

             Class 10. Allowed General Unsecured Claims against the Debtor.

             Class 11. Allowed Interest of Selena Cash in the Debtor.

                                                                     ARTICLE VI
                           TREATMENT OF CLAIMS AND THE EQUITY INTEREST

          6.01.01         Class 1 Claims - Allowed Administrative Claims. The Allowed Amount
  of each Administrative Claim allowed under §§ 503(b)(2) through (b)(6) of the Code shall be paid
  in cash in full on the Effective Date, or on such other terms as the parties may agree. In particular,
  the following Class 1 Claimants have agreed to the following alternative terms for treatment of
  their Claims.

         6.01.02       Hoberman has agreed to accept payment of his Class 1 Claim for one
  month’s unpaid post-petition rent in 60 equal monthly payments with 9.0% interest, beginning in
  April of 2016.

         6.01.03       Travis County has agreed to accept payment of its Class 1 Claim for 2015
  Secured ad valorem taxes on the Property as follows.

             (1)     The Debtor will have begun in October, 2015, to escrow for these taxes, depositing
             in a designated interest-bearing account $1100 per month on the 20th of each month, until
             January 20th. That amount, totaling $4400, will be paid to the County on or before January
             31, 2016.

             (2)     The balance of what will be owed for 2015 taxes, plus applicable statutory interest
             and penalties, will be paid with interest at 12.0% in 60 equal monthly payments beginning
             on the first day of the first month after the Effective Date. The County will retain its lien
             until these taxes are paid in full, but agrees to not attempt to foreclose that lien so long as

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             payments are made as promised. Special default provisions, set forth in Section XII below,
             apply to Travis County’s Class 1 Claim.

         6.01.04                    Because the Claimants have agreed to their treatment, Class 1 is not
  Impaired.

          6.02 Class 2 Claims – Allowed Priority Claims. The Allowed Class 2 Claims tax
  years shall be paid in full, with interest at the fixed rate that is equal to the rate as of the Effective
  Date determined under Tex. Tax Code § 111.060 (“prime rate plus one percent, as published in
  The Wall Street Journal on the first day of each calendar year that is not a Saturday, Sunday, or
  legal holiday”), estimated at 4.25% per annum, in equal monthly installments sufficient to fully
  amortize the balance of each of those Claims over a period beginning on the date one month
  before the date the first payment is due and ending on March 1, 2019. Payments will begin on the
  first day of the first month after the Effective Date. Taxes for years 2015 forward will be paid
  when due. Special default provisions applicable to the Class 2 Claims of any agency of the State
  of Texas are included in Article XII below, “Default.” Class 2 is not Impaired.

          6.03 Class 3 Claims – Allowed Secured Claims for personal property taxes. The
  Allowed Secured Class 3 Claims shall be paid in full, with all accrued pre- and post-petition
  penalty and pre- and post-petition interest at statutory rate of 12.0% per year, in a lump sum on the
  first day of the first month after the Bankruptcy Case is closed. The Class 3 Claimant shall retain
  its Lien on the property securing the Claims, as well as its Lien securing the 2015 personal
  property taxes. Such taxes for the years 2015 forward will be paid by the Debtor when due.
  Special default provisions, set forth in Section XII below, apply to Class 3. Class 3 is Impaired.

         6.04 Class 4 Claims – Allowed Claims for real property taxes secured by the
  Property. The Allowed Secured Class 4 Claims shall be paid in full, with all accrued pre- and
  post-petition penalty and pre- and post-petition interest at statutory rate of 12.0% per year, in equal
  monthly installments sufficient to fully amortize the Claims over sixty (60) months at 12.0% per
  annum. Payments shall begin on the first day of the first month after the Effective Date. The Class
  4 Claimant shall retain its statutory tax lien until all taxes, penalty and interest are paid in full.
  Taxes for 2016 and later tax years will be paid in full as they accrue by Hoberman or his
  designated assignee(s). Special default provisions, set forth in Section XII below, apply to Class 4.
  Class 4 is not Impaired.

        6.05 Classes 5, 6 and 7 Claims – Allowed Secured Claims of Hoberman. The
  Allowed Classes 4, 5 and 6 Claims shall be treated as follows:

          6.05.01     Ownership of the Property shall be transferred and the leases in the Property (as
  described below in Article VIII) shall be assumed by the Debtor and assigned to Hoberman and/or
  his designated assignee(s) on the Effective Date, but effective as of February 2, 2015, by a deed-
  in-lieu of foreclosure.

          6.05.02    On the Effective Date, as the new owner of the Property, Hoberman and/or his
  designated assignee(s) shall grant the Debtor, as the owner and operator of the Midtown Live
  Sports Café, a lease of Suite E in the Property, with a ten-year initial term with an option to renew
  for one five-year term, with triple net rent and other terms as set forth in detail in the form of the
  lease included in Exhibit “A” hereto (the “Lease”).

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         6.05.03  In the Lease, Hoberman shall also grant an option for the Debtor, Selena Cash,
  Michael Cash and/or Mernet Cash to purchase the Property at any time, as described in detail in
  the Lease.

         6.05.04    Hoberman shall also grant the Debtor, Selena Cash, Michael Cash and/or
  Mernet Cash a right of first refusal to match the terms of a bona fide offer from a third party to
  purchase the Property, as described in detail in the Lease.

         6.05.05   In addition to the foregoing, Hoberman’s post-petition attorneys fees of not
  more than $12,000.00 shall be paid in 60 equal monthly payments with 9.0% interest, beginning in
  April of 2016.

             6.05.06           Classes 5, 6 and 7 are Impaired.

          6.06 Class 8 Claim – Allowed Secured Claim of CAN Capital, f/k/a AdvanceMe,
  against the Debtor, secured by a first priority security interest the Debtor’s credit card
  receivables. The Allowed Class 8 Claim shall be paid in full, with interest at 5.0% per annum, in
  twelve (12) equal monthly payments of principal and interest. Payments will begin on the first day
  of the first month following the Effective Date. On or before Confirmation, the Debtor will file
  and request a ruling on a motion to value the collateral securing the Class 8 Claim as of the
  Petition Date, in order to determine the amount of the Class 8 Allowed Secured Claim. To the
  extent the Class 8 Claimant is owed more than the amount of its Allowed Secured Claim, that
  Claim shall be treated as part of the Class 10 General Unsecured Claims as described below. Class
  8 is Impaired.

           6.07 Class 9 Claim – Allowed Secured Claim of Yellowstone Capital against the
  Debtor, secured by a second priority security interest in the Debtor’s accounts receivable.
  The Allowed Class 9 Secured Claim shall be paid in full, together with interest at the rate of 5.0%
  per annum, in 60 equal monthly payments of principal and interest. Payments will begin on the
  first day of the first month following the Effective Date. On or before Confirmation, the Debtor
  will file and request a ruling on a motion to value the collateral securing the Class 9 Claim as of
  the Petition Date, in order to determine the amount of the Class 9 Allowed Secured Claim. To the
  extent the Class 9 Claimant is owed more than the amount of its Allowed Secured Claim, that
  Claim shall be treated as part of the Class 10 General Unsecured Claims as described below. Class
  9 is Impaired.

          6.08 Class 10 Claims – The Allowed General Unsecured Claims against the Debtor.
  The Allowed Class 10 Claims shall be paid in full, together with interest, at the fixed rate of WSJ
  prime as of the Effective Date, plus 2.0% per year (currently 5.25%), pro rata from 20 quarterly
  payments of principal and interest, as follows: $2,500.00 each in the first year of the Plan;
  $4,000.00 each in the second year; $5,000.00 each in the third year; $6,000.00 each in the fourth
  year; and $8,000 for each of the first three payments in the fifth year, and the balance owed on the
  Claims (estimated at $18,000.00) as the final payment. Payments will begin on the first day of the
  first month following the Effective Date, and will continue every 90 days thereafter. Class 10 is
  Impaired.

          6.09 Class 11 – Allowed Interest of Selena Cash in the Debtor. Selena Cash shall
  retain her Equity Interest in the Debtor, but shall not receive any distributions on account of such
  interest during the 60-month term of the Plan. Class 11 is Impaired.
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        6.10 Pre-Payment. Any Claim may be pre-paid at any time, at the discretion of the
  Reorganized Debtor.

                                                                     ARTICLE VII
                                               IMPLEMENTATION OF THE PLAN

          7.01 Implementation of the Plan. The Plan will be implemented pursuant to 11 U.S.C.
  § 1123(a) as set forth above, that is, the payments to Creditors and the satisfaction of the Liens and
  security interests of Secured Creditors with Allowed Claims.

         7.02 In General. If the Plan is approved by the Court, a Confirmation Order will be
  entered. The Debtor will continue to operate as a debtor in possession and discharge its duties
  under Chapter 11 until the Effective Date of the Plan.

         7.03 Sources of Funds for Implementation of the Plan. The Reorganized Debtor will
  continue to operate the Club. The income from the Club will be used to fund the operating
  expenses of the Club and the net income will be used to pay the amounts necessary to fund the
  Plan payments.

          7.04 Authorization. The Reorganized Debtor shall be responsible for complying with
  the terms and provisions of the Plan as it may be modified as allowed by the Bankruptcy Code.
  To this end, the Reorganized Debtor is authorized and directed to execute all documents necessary
  or appropriate to effectuate the terms of the Plan.

                                                                     ARTICLE VIII
                             EXECUTORY CONTRACTS AND UNEXPIRED LEASES

          8.01 Assumption of Personal Property Leases and Contracts. The Debtor is a party
  to a three executory contracts as follows:

  Lessor             Property                                  Terms                    Status/Proposed Action
                     Ice machine                               24 month rent to own     Debtor is current; to be assumed
  Mid-Tex
  Sales &            Used margarita machine                    36 month lease           Debtor is current; to be assumed
  Services
                     Used margarita machine                    24 month rent to own     Debtor is current; to be assumed


          8.02 Assumption of Real Property Leases. The Debtor is also the lessor under three
  real property leases, as follows:

  Tenant                                     Property                               Terms        Status/Proposed Action
                                                                                                 Tenant is current; to be
  Jhovani & Yojana                           Meadowglen Shopping                                 assumed and assigned to
                                                                                    Nail salon
  Alvarado-Castillo                          Center, Suite G                                     Hoberman and/or his
                                                                                                 assignee(s)


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  Tenant                                     Property                             Terms        Status/Proposed Action
                                                                                               Tenant is current; to be
  Santiago A. Zamora,                        Meadowglen Shopping                  Medical      assumed and assigned to
  MD, PA                                     Center, Suites A, B and C            clinic       Hoberman and/or his
                                                                                               assignee(s)

                                                                                               Tenant is current; to be
  Yojana Alvardo-Castillo                    Meadowglen Shopping                               assumed and assigned to
                                                                                  Hair salon
  and Virgilio I. Alvarado                   Center, Suite F                                   Hoberman and/or his
                                                                                               assignee(s)

  In addition, the Debtor is the lessee of a lease of a portion of the parking lot located 7517 Cameron
  Road in Austin, across the street from the Club. The landlord is Austin Cameron Oaks, Ltd., and
  the lease is to month to month. As of the filing of this Plan, the Debtor is current. The lease, as a
  month to month lease, is now a post-petition lease to which assumption or rejection under the
  Bankruptcy Code does not apply. The Debtor will continue to perform under the lease after
  Confirmation.

             8.03        Any lease or contract not listed will be assumed by the Debtor.

          8.04 Cure Claims. The Debtor believes that is not in default under any of its contracts
  and leases, and that therefore there are no cure claims against it as a result of its assumption of
  those contracts and leases. However, if one or more cure claims is allowed then, unless the other
  party to the contract or lease objects, any unpaid pre- and post-petition amounts due by the Debtor
  under any assumed unexpired lease or executory contract, together with any applicable late fees,
  will be “rolled” to the end of the lease or executory contract, such that the term shall be extended
  by one month for each such unpaid monthly payment or portion thereof and the monthly payments
  will remain unchanged with any late fees divided between the extended payments. The deadline
  for objecting to such treatment, and for filing a Cure Claim, shall be 45 days from the Effective
  Date. The Debtor shall be responsible for giving specific notice of the actual calendar date that is
  that deadline.

                                                                     ARTICLE IX
                                                   EFFECT OF CONFIRMATION

          9.01 Vesting of Property. As of the Effective Date, the Reorganized Debtor shall be
  vested with all Property of the Estate, free and clear of all Liens, Claims and encumbrances except
  as expressly provided under the Plan. The transfer of the Property to Hoberman and/or his
  designated assignee(s) shall be free and clear of all Liens, Claims and encumbrances except those
  of the Class 3 Claimant for real property taxes secured by that Property. Property of the Estate that
  the Debtor retains shall include all claims or causes of action arising in favor of the Debtor, under
  the Bankruptcy Code or any other applicable law; provided, however, that if after Confirmation
  the Bankruptcy Case is converted to a case under Chapter 7 of the Bankruptcy Code and there is
  an uncured default by the Reorganized Debtor under the Plan, all of such property and claims shall
  revest in the Estate upon such conversion.

          9.02 Plan Binding. Pursuant to 11 U.S.C. § 1141, the provisions of the confirmed Plan
  shall bind the Reorganized Debtor, the Debtor’s Creditors, and the holder of the Equity Interest in
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  the Debtor, whether or not the Claim or Equity Interest is impaired under the Plan and whether or
  not such Creditor or Equity Interest holder has accepted the Plan.

         9.03 Reliance on Other Parties. In connection with the Plan, the Debtor and its
  shareholder, officers, directors, representatives, attorneys, accountant, and agents may rely upon
  the opinions of counsel, certified public accountants, and other experts or professionals employed
  by the Debtor, and such reliance shall presumptively establish good faith.

         9.04 Discharge. Confirmation of the Plan shall discharge the Debtor of all its pre-
  Confirmation debts.

          9.05 Permanent Injunction. Confirmation of the Plan shall result in the issuance of a
  permanent injunction against the commencement or continuation of any judicial, administrative, or
  other action or proceeding on account of any Claims against the Reorganized Debtor. From and
  after Confirmation, all holders of Claims against the Debtor are permanently restrained and
  enjoined (a) from commencing or continuing in any manner, any action or other proceeding of any
  kind with respect to any such Claim against the Debtor or the Reorganized Debtor or their assets;
  (b) from enforcing, attaching, collecting, or recovering by any manner or means, any judgment,
  award, decree, or order against the Debtor or the Reorganized Debtor or their assets; (c) from
  creating perfecting, or enforcing any encumbrance or any kind against the Debtor or the
  Reorganized Debtor or their assets; (d) from asserting any setoff, right of subrogation, or
  recoupment of any kind against any obligation due to the Debtor or to the Reorganized Debtor,
  except as may be allowed under the Bankruptcy Code; and (e) from performing any act, in any
  manner, in any place whatsoever, that does not conform to or comply with the provisions of the
  Plan; provided, however, that each holder of a Contested Claim may continue to prosecute its
  proof of claim in the Bankruptcy Court and all holders of Claims shall be entitled to enforce their
  rights under the Plan and any agreements executed or delivered pursuant to or in connection with
  the Plan.

                                                                     ARTICLE X
                                                  MODIFICATION OF THE PLAN

         10.01 Post-Confirmation Modification. The Debtor as proponent of the Plan may
  modify it at any time after Confirmation but before the Bankruptcy Case is fully administered,
  provided that the Plan, as modified, meets the requirements of §§ 1122 and 1123 of the
  Bankruptcy Code, that the Bankruptcy Court, after notice and hearing, confirms such modified
  Plan under § 1129, and that the circumstances warrant such modification.

         10.02 Deemed Acceptance or Rejection. A holder of a Claim or Equity Interest that has
  accepted or rejected the Plan shall be deemed to have accepted or rejected, as the case may be, the
  Plan as modified, unless within any time limit fixed by the Court such holder changes its previous
  acceptance or rejection.

                                                                     ARTICLE XI
                                               POST CONFIRMATION MATTERS

          11.01 Application for Final Decree. The Reorganized Debtor shall file an application
  for final decree as soon as is practicable but not later than six months after the Effective Date. If
  the Bankruptcy Case cannot be fully administered during this time period, or if there are still
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  pending matters to be ruled upon by the Bankruptcy Court, the Reorganized Debtor shall request
  the Bankruptcy Court to extend that deadline after notice to all parties in interest and opportunity
  for hearing. If the Reorganized Debtor fails to file an application for final decree prior to such
  deadline or fails to timely request an extension of the same, then the Bankruptcy Court, on its own
  motion or at the request of any party in interest, including the United States Trustee, may enter an
  order closing the Debtor’s Bankruptcy Case.

             11.02 U.S. Trustee

         11.02(a) Fees. The Reorganized Debtor shall continue to pay U.S. Trustee fees until the
  Bankruptcy Case is closed, or if the case is converted to a case under Chapter 7 or dismissed. All
  outstanding U.S. Trustee fees shall be paid on the Effective Date.

          11.02(b) Reports. The Reorganized Debtor shall file post-confirmation reports in the form
  prescribed by the United States Trustee until the Bankruptcy Case is closed or if it is dismissed or
  converted to a case under Chapter 7.

                                                                     ARTICLE XII
                                                                     DEFAULT

         12.01 Default other than with Respect to Classes 2, 3 and 4. In the event of a default
  by the Reorganized Debtor under the Plan, all Creditors other than an agency of the State of Texas
  with respect to a Class 2 Claim and the Classes 3 and 4 Claimant, Travis County, may exercise
  any rights granted to them under documents executed to implement the Plan or any rights
  available to such Creditors under applicable non-bankruptcy law. In the absence of documents
  executed to implement the Plan, it may be enforced as a contract. Notwithstanding any other
  provision, any Creditor alleging a default shall give the Reorganized Debtor thirty (30) days notice
  and an opportunity to cure before exercising any rights available upon default.

         12.02 Default with Respect to Class 2. A failure by the Debtor or Reorganized Debtor to
  make a plan payment to an agency of the State of Texas shall be an Event of Default. If the
  Debtor or Reorganized Debtor fails to cure an Event of Default as to an agency of the State of
  Texas within ten (10) days after service of a written notice of default, then that agency may (a)
  enforce the entire amount of its claim; (b) exercise any and all rights and remedies available under
  applicable non-bankruptcy law; and (c) seek such relief as may be appropriate in the Bankruptcy
  Court. The Debtor and/or Reorganized Debtor can receive up to three (3) notices of default per
  Class 2 Claim; however, the third default cannot be cured.

          12.03 Default with Respect to Class 3 and/or Class 4. A failure to pay pre- or post-
  petition taxes in accordance with the terms of this Plan shall result in an event of default. If the
  default in not cured within twenty (20) days after Travis County gives written notice of the default
  to the Debtor, all outstanding tax, penalty and interest amounts will be immediately due and
  payable, and Travis County will be free to pursue its state law remedies for all amounts due. The
  Debtor will only be permitted to cure two (2) events of default over the life of the Plan;
  subsequent defaults will result in immediate acceleration of the due date for all outstanding
  amounts of tax, penalty and interest.

        12.04 Conversion to Chapter 7. Conversion of the Bankruptcy Case to one under
  Chapter 7 shall be an additional remedy for default.
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                                                                     ARTICLE XIII
                                                 RETENTION OF JURISDICTION

          13.01 Jurisdiction over Matters. Until the Bankruptcy Case is closed, the Bankruptcy
  Court shall retain jurisdiction to hear and determine all Claims against the Debtor arising prior to
  the Confirmation Date, to hear and determine all causes of action that exist in favor of the Debtor
  that arise prior to the Confirmation Date, to hear and determine all matters relating the
  administration of the Debtor’s Estate, to modify the Plan, and to make such other orders as are
  necessary or appropriate to effectuate the provisions of the Plan in accordance with § 1142 of the
  Bankruptcy Code, including interpretation and implementation of the Plan and entry of a final
  decree.

                                                                     ARTICLE XIV
                                                             MISCELLANEOUS

         14.01 Request for Relief under 11 U.S.C. § 1129(b) --“Cramdown.” In the event any
  impaired Class fails to accept the Plan in accordance with 11 U.S.C. § 1129(a), the Debtor
  reserves the right to, and does hereby, request the Court to confirm the Plan in accordance with 11
  U.S.C. § 1129(b).

          14.02 Pre-Confirmation Amendment, Withdrawal/Revocation. The Debtor, as the
  proponent of the Plan, reserves the right to amend or withdraw/revoke the Plan at any time prior to
  the Confirmation Date. If the Debtor withdraws or revokes the Plan prior to the Confirmation
  Date, then the Plan shall be deemed null and void. In such event, nothing contained herein shall be
  deemed to constitute a waiver or release of any claims by or against the Debtor or any other
  Person or to prejudice in any manner the rights of the Debtor or any other Person in any further
  proceedings involving the Debtor.

         14.03 Entire Agreement. The Plan, the Confirmation Order, and all other documents
  and instruments to effectuate the Plan constitute the entire agreement and understanding among
  the Debtor and its Creditors relating to the subject matter hereof and supersedes all prior
  discussions and documents.

             14.05 Payments.

          14.05(a) Delivery. Any payments or distributions made by the Debtor pursuant to the Plan
  or as may be ordered by the Bankruptcy Court, to the extent delivered by the United States mail
  shall be deemed made when deposited into the mail. Distributions and deliveries to holders of
  Allowed Claims shall be made at the addresses set forth the on the proofs of claim filed by such
  holders (or at the last known addresses of such holders if no proof of claim is filed) unless the
  Claimant files with the Bankruptcy Court and serves the Debtor with a change of address. All
  Claims for undeliverable distributions shall be made on or before the second anniversary of the
  Effective Date. After such date, all unclaimed property shall remain the property of the Debtor
  and the claim of any other holder with respect to such unclaimed property shall be discharged and
  forever barred.

          14.05(b) Voided Checks. Checks issued by the Debtor in respect of Allowed Claims shall
  be null and void if not cashed within ninety (90) days of the date of delivery thereof. Requests for
  reissuance of any check shall be made to the Debtor’s attorney Frank B. Lyon, at Two Far West
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  Plaza Suite 170, 3508 Far West Boulevard, Austin, Texas 78731, and by email to
  frank@franklyon.com, by the holder of the Allowed Claim to whom such check originally was
  issued. Any claim in respect of such a voided check must be made to the Debtor’s attorney in
  writing within one-hundred eighty (180) days after the date of delivery of such check. After such
  date, all claims in respect of void checks shall be discharged and forever barred, and the amount of
  such checks shall be returned to the Debtor.

          14.06 Governing Law. Unless a rule or law or procedure supplied by federal law
  (including the Bankruptcy Code and Bankruptcy Rules) is applicable, or a specific choice of law
  provision is provided by federal law, the internal laws of the Sate of Texas shall govern the
  construction and implementation of the Plan and any agreements, documents, and instruments
  executed in connection with the Plan, without regard to conflicts of law.

             Dated: November 6, 2015.

                                                                          Respectfully submitted,


                                                                          4709 INCORPORATED,
                                                                          Debtor in Possession


                                                                          By:     / s / Selena Cash                .
                                                                                Selena Cash,
                                                                                Its president and sole shareholder

  DRAFTED AND APPROVED:                                                   PLAN PROPONENT:

     / s / Frank B. Lyon      .                                           4709 INCORPORATED,
  Frank B. Lyon                                                           DEBTOR IN POSSESSION
  Texas State Bar No. 12739800
  3508 Far West Boulevard, Suite 170
  Austin, Texas 78731                                                     By:                                        .
  512-345-8964 / 512-697-0047 (fax)                                             Selena Cash,
  frank@franklyon.com                                                           Its president and sole shareholder


  ATTORNEY FOR THE DEBTOR IN
  POSSESSION, 4709 INCORPORATED




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                                                     CERTIFICATE OF SERVICE

         I, Frank B. Lyon, counsel for the Debtor in Possession, hereby certify that a true and correct
  copy of the foregoing Debtor’s Amended Plan of Reorganization Dated July 15, 2015, as Modified
  on November 6, 2015, was forwarded by the methods indicated to each of the persons shown below,
  on November 6, 2015.


  By ECF notification:                                                    By email:

  United States Trustee                                                   The Debtor
  Valerie Wenger                                                          midtownaustin@yahoo.com
  Valerie.L.Wenger@usdoj.gov
                                                                          John and Susan Hoberman
  Attorney for Travis County                                              finderfixer@sbcglobal.net

  Kay D. Brock
  Travis County Attorney’s Office                                         AdvanceMe, Inc., n/k/a CAN Capital
  kay.brock@co.travis.tx.us                                               Terri Hallman
  bkecf@co.travis.tx.us                                                   THallman@CANCapital.com

  Former Attorney for Debtor                                              YellowStone Capital, LLC
  Jeffrey S. Kelly                                                        Vadim Serebro, Esq.
  The Kelly LegalGroup, PLLC                                              Vserebro@yellowstonecapllc.com
  jkelly@kellylegalgroup.com

  Former Attorneys for John Hoberman

  Doug J. Powell
  The Law Offices of Douglas Powell, P.C.                                 By email and ECF notification:
  djpowell@dougpowelllaw.com
  notices@swbell.net                                                      Atty for Texas Comptroller of Public Accts

  Christopher M. Benjamin                                                 Jason A. Starks
  McLeroy, Alberts & Benjamin, PC                                         Assistant Attorney General
  chrisbenjamin@austin.rr.com                                             Office of the Texas Attorney General
                                                                          jason.starks@texasattorneygeneral.gov
                                                                          sherri.simpson@texasattorneygeneral.gov




                                                                            / s / Frank B. Lyon        .
                                                                             Frank B. Lyon




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                                     EXHIBIT “A”

                           Lease Agreement
                 between John Hoberman and the Debtor
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                                        LEASE
                                         BETWEEN


                                 JOHN HOBERMAN, LLC


                                             AND


                                  4709 INCORPORATED




               _________________________________________________________________



                      MIDTOWN LIVE CENTER
               _________________________________________________________________
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                                                                         LEASE
                                                                         Between

                                                       JOHN HOBERMAN, LLC


                                                                            AND


                                                          4709 INCORPORATED



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  THIS LEASE IS MADE effective as of the 1st day of March, 2015.



                                                   BETWEEN:

                                         JOHN HOBERMAN, LLC
                                                 (the "Landlord")

                                                      - and -


                                          4709 INCORPORATED
                                                   (the "Tenant")




                                    1.      DEMISE, TERM AND RENT

  1.1.    DEMISE
          In consideration of the covenants contained in this Lease, the Landlord hereby demises and leases to the
          Tenant the Premises for the Term and upon and subject to the covenants, conditions and agreements herein
          expressed.

  1.2.    TERM
          The Term of this Lease is Ten (10) years commencing on the 1st day of March, 2015, and continuing until
          the 28th day of February, 2025.

  1.3.    RENT
          All sums, monies or payments required to be paid by Tenant to Landlord pursuant to this Lease. The rent
          payable by the Tenant to the Landlord during the Term shall be as follows:

                  (a)      Period                                            Basic Rent
                                                                             per month

                           03/01/15 – 02/29/16                               $13,376.74
                           03/01/16 – 02/28/17                               $13,589.66
                           03/01/17 – 02/28/18                               $13,808.97
                           03/01/18 – 02/28/19                               $14,034.86
                           03/01/19 – 02/29/20                               $14,267.52
                           03/01/20 – 02/28/21                               $ 8,227.76
                           03/01/21 – 02/28/22                               $ 8,474.60
                           03/01/22 – 02/28/23                               $ 8,728.83
                           03/01/23 – 02/29/24                               $ 8,990.70
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                    (b)      Additional Rent: shall be all other sums due and payable pursuant to the terms of the
                             Lease including property taxes and insurance.

  1.4.     REMEASUREMENT
           In the event that the Landlord makes any alterations or additions to the Premises, and if the Landlord is of
           the opinion, acting reasonably, that the alteration is necessary to maintain safety of the Premises, Tenant
           will reimburse Landlord for such alterations.

  1.5.     NO SET OFF
           The Base Rent, the Additional Rent and all other sums payable by the Tenant to the Landlord under this
           Lease shall be payable without any deduction, abatement, set off or compensation whatsoever.


                                               2.       DEFINITIONS

  In this Lease and in the Schedules to this Lease and unless the context otherwise dictates, the following words and
  phrases shall have the following meanings:


  1.       “Accounting Period” means January through December 31.

  2.       "Additional Rent" means all sums of money required to be paid by the Tenant under this Lease (except
           Basic Rent) whether or not the same are designated "Additional Rent" or are payable to the Landlord or
           otherwise, and includes any and all interest or penalties which the Landlord is entitled to collect hereunder.

  3.       "Allocable Operating Costs" means the total, without duplication of all reasonable costs, expenses, fees,
           rentals, disbursements and outlays of every kind paid, payable or incurred by or on behalf of the Landlord,
           acting as a commercially responsible landlord of real estate of a similar character to the Midtown Live
           Center, directly or indirectly, in respect of the maintenance, repair, restoration, renovation, operation,
           administration, and management of the Midtown Live Center, excluding however, Excluded Operating
           Costs, and deducting therefrom in respect of any Accounting Period, all Operating Costs Proceeds received
           by the Landlord in such Accounting Period. Without limiting the foregoing, Allocable Operating Costs
           includes, without duplication, all of the following:

           (a)      the reasonable cost of all insurance costs, premiums and deductible payments under any insurance
                    which the Landlord is obligated or permitted to obtain under this Lease. Any payments to be made
                    by the Landlord as a result of it failing to obtain insurance as contemplated by section 5.10(c)
                    hereof shall not be included as part of Allocable Operating Costs;

           (b)      the reasonable cost of providing security, traffic control, sweeping, janitorial, landscaping,
                    window cleaning, waste collection, disposal and recycling, snow removal services and all
                    associated supervision in connection with all the foregoing;

           (c)      the cost of supplies, tools, equipment and materials used exclusively in connection with the
                    Midtown Live Center or any rentals thereof and acquired by the Landlord subsequent to the
                    Commencement Date under the Lease;

           (d)      the cost of providing fuel, steam, heat, water, electricity, ventilation, air conditioning, sewage
                    disposal, telephone and other utilities and services used in the maintenance, operation or
                    administration of the Midtown Live Center, including charges and imposts related to such utilities
                    to the extent such costs, charges and imposts are not recovered from other tenants or paid by the
                    Tenant directly;


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           (e)     all reasonable employment costs, salaries, wages and other amounts paid or payable to or for all
                   personnel, including on-site personnel involved in the repair, maintenance, operation, security,
                   supervision or cleaning of the Midtown Live Center, or any part thereof, and all reasonable costs
                   of hiring and retaining such personnel required to be employed by the Landlord in connection with
                   the Midtown Live Center, including fringe benefits, employment and workmen's compensation
                   insurance premiums, pension plan contributions and other employment costs; provided however
                   that such costs shall exclude the employment costs of those employees who perform only off-site
                   services or who provide accounting, leasing or other head office administration functions;

           (f)     the fair market rental value of Administrative Service Areas as determined by the Landlord, acting
                   reasonably; provided however, that within ten (10) Business Days after receipt of written notice by
                   the Tenant of the Landlord’s determination, the Tenant may, if it is of the opinion that the fair
                   market rental value of the Administrative Service Areas as determined by the Landlord is
                   unreasonable, submit such determination for arbitration in accordance with the provisions of
                   Section 21 hereof;

           (g)     the reasonable costs:

                   (i)      of repairing, repainting, operating, refurbishing and maintaining the Midtown Live
                            Center and the equipment serving the Midtown Live Center and of all replacements and
                            modifications to the Midtown Live Center or such equipment, including those made by
                            the Landlord in order to comply with laws or regulations affecting the Midtown Live
                            Center;

                   (ii)     incurred by the Landlord in providing and installing energy conservation equipment or
                            systems and life safety systems;

                   (iii)    incurred by the Landlord to make alterations or additions to the Midtown Live Center
                            intended to reduce operating costs, improve the operation of the Midtown Live Center or
                            maintain its operation as a first class office building;

                   (iv)     incurred to replace machinery or equipment which by its nature requires periodic
                            replacement; and

           (h)     reasonable amounts to be paid for contractors, auditors, accounting, legal and other professional
                   and consulting fees and disbursements in connection with the maintenance, repair or operation of
                   the Midtown Live Center, excluding third party management fees;

           (i)     all costs incurred by the Landlord in contesting or appealing Allocable Taxes or related
                   assessments including legal appraisal and other professional fees, and administration and overhead
                   costs;

           (j)     such part of the Landlord's corporation capital tax as can be identified with the Midtown Live
                   Center by the Landlord, acting reasonably;

           (k)     depreciation or amortization of the costs referred to in subsection (h) hereof which have not been
                   expensed in full in the year in which they were incurred, such depreciation or amortization to be
                   calculated over such period as is applicable pursuant to GAAP in respect of each such item;

  4.       “Allocable Taxes” means all taxes, rates, duties, levies and assessments whatsoever whether municipal,
           parliamentary or otherwise, levied, imposed or assessed against the Midtown Live Center and the Midtown
           Live Center Lands or any portions thereof, or upon the Landlord in respect thereof or levied, imposed or
           assessed in the future in lieu thereof, or for which the Landlord is liable with respect to the Midtown Live
           Center and the Midtown Live Center Lands, including those for education, schools and local

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           improvements, and including all reasonable costs and expenses (including legal and other professional fees)
           incurred by the Landlord in contesting, resisting or appealing any amounts, but excluding Business Taxes,
           Landlord’s Income Taxes, Tenant’s Taxes and Goods and Services Tax.

  5.       “Alterations" means all repairs, replacements, improvements or alterations to the Premises by the Tenant.

  6.       “Applicable Laws” means:

           (a)      The laws of the United States; and

           (b)      The laws of the state of Texas; and

           (c)      The by-laws of the City of Austin.

  7.       “Architect” means an independent professional architect from time to time named by the Landlord.

  8.       “Basic Local Telephone Services” means dialtone.

  9.       "Basic Rent" means the annual base rent payable by the Tenant under Section 1.3.

  10.      "Building" means the building located on the Midtown Live Center.

  11.      “Building Security Agreement” means the agreement or agreements with a supplier or suppliers of
           security for the provision of security to the Midtown Live Center, or any part thereof;

  12.      “Building Standard” means the reasonable management, maintenance, repair and operating standards and
           practices adhered to and observed by prudent owners of shopping centers in central Austin, Texas of
           similar character and size as the Building. In applying the standards, the age of the Building, wear and tear
           and the existence and level of technology, facilities and amenities customarily incorporated in such
           comparable buildings shall be taken into consideration.

  13.      “Building Systems” means all mechanical, electrical, heating, ventilating, water, sewage, security, back-up
           and uninterrupted power supply systems contained in the Building.

  14.      “Business Days” means any day on which the majority of the United States National banks are open for
           business.

  15.      "Business Hours" means the hours from 7:00 A.M. to 11:59 P.M. on Mondays through Sundays unless any
           such day is a statutory holiday, or such longer hours as are determined by the Tenant as reasonable and
           prudent for the wellbeing of the Premises, acting reasonably;

  16.      "Business Taxes" means all taxes and license fees (whether imposed on the Landlord or Tenant)
           attributable to the personal property, Trade Fixtures, business, income, occupancy or sales of the Tenant or
           any other occupant of the premises leased to the Tenant hereunder and to any Leasehold Improvements
           installed in the Premises and to the use of the Building or Midtown Live Center by the Tenant.

  17.      "Common Areas" means the aggregate of BUILDING COMMON AREA and FLOOR COMMON AREA
           of the Premises.

  18.      “Commencement Date” means the date of commencement of this Lease as set forth in Section 1.2 hereof.

  19.      “Critical Operations Areas” means those parts of the Premises which contain equipment necessary for, or
           used in connection with, the operation of the business of the Tenant in the Premises, and as designated by


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           the Tenant from time to time during the Term, on reasonable written notice to the Landlord.

  20.      “Critical Systems” mean machinery, appliances, equipment and apparatus located in the Critical
           Operations Areas.

  21.      “Environmental Contamination” means the contamination of the Building, the Lands or the Premises
           with any hazardous substance or any pollutant or contaminant, toxic or dangerous waste, substance or
           material.

  22.      "Event of Default" shall mean any of the following and occur whenever:
           (a)     any Rent is in arrears and is not paid within 5 days after receipt of written notice from the
                   Landlord to the Tenant demanding such payment;

           (b)     the Tenant has breached any of its obligations in this Lease (other than the payment of Rent) and:

                   (i)      fails to remedy such breach within 30 days (or such shorter period as may be provided in
                            this Lease) after receipt of written notice from the Landlord to the Tenant demanding
                            such payment; or,

                   (ii)     if such breach cannot be reasonably remedied within 30 days (or such shorter period as
                            may be provided in this Lease), and the Tenant fails to commence to remedy such breach
                            within such 30 days (or such shorter period as provided in this Lease) or thereafter fails to
                            proceed diligently to remedy such breach; in each case after notice in writing from the
                            Landlord;

           (c)     an Event of Default occurs per the terms of any subtenants leases, and such Event of Default under
                   the said leases is not remedied within the time period specified therefor;

           (d)     the Tenant becomes bankrupt or insolvent or takes the benefit of any statute for bankrupt or
                   insolvent debtors or makes any proposal, assignment or arrangement with its creditors, or any
                   steps are taken or proceedings commenced by any Person for the dissolution, winding-up or other
                   termination of the Tenant's existence or the liquidation of its assets which is not opposed by the
                   Tenant;

           (e)     a trustee, receiver, receiver/manager or like Person is appointed with respect to the business or
                   assets of the Tenant and such appointment is not discharged within 3 Business Days after receipt
                   of written notice from the Landlord to the Tenant;

           (f)     the Lease or any of the Tenant's assets in the Premises are taken under a writ of execution;

           (g)     the Tenant abandons or attempts to abandon the Premises, or the Premises become vacant and
                   unoccupied for a period of 10 consecutive days or more without the written consent of the
                   Landlord which consent shall not be unreasonably withheld;

           (h)     any insurance policies covering any part of the Midtown Live Center or any occupant thereof are
                   actually or threatened to be cancelled or adversely changed as a result of any use or occupancy of
                   the Premises and the Tenant does not remedy the breach giving rise to the cancellation or threat of
                   cancellation within 7 days after receipt of written notice from the Landlord demanding that such
                   breach be remedied by the Tenant.

  23.      “Excluded Operating Costs” means any of the following:

           (a)     fines or penalties that the Landlord incurs in connection with any failure to perform its obligations


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                 to third parties;

           (b)   interest and principal payments on and any costs associated with debt secured by the Premises;

           (c)   basic annual ground rent or air rights rent payable by the Landlord to the lessor under a ground
                 lease or air rights lease, if any, of the Premises or any other part of the Premises, provided
                 however that any property taxes payable by the Landlord;

           (d)   leasing costs, including brokerage and leasing agent commissions, advertising, marketing and
                 promotion costs, demolition, construction and other costs, leasehold improvement costs, and
                 tenant allowance and inducement payments;

           (e)   any amount paid by the Landlord to an affiliate of the Landlord which is not at competitive market
                 rates;

           (f)   costs of utility consumption if the Tenant pays such costs directly;

           (g)   all costs and expenses (excluding insurance deductibles) incurred as a result of the wrongful or
                 negligent acts or omissions of the Landlord, its contractors, employees and all persons for whom
                 the Landlord is responsible in law, and any costs and expenses which the Lease otherwise
                 expressly provides shall be excluded;

           (h)   costs for the direct account of any other tenant of the Premises;

           (i)   charitable donations of any kind, direct or indirect;

           (j)   board of directors fees or related expenses;

           (k)   Landlord’s Income Taxes;

           (l)   Tenant’s Business Taxes, unless the Landlord is required, by law, to collect the Tenant’s Business
                 Taxes from the Tenant;

           (m)   professional fees (including legal fees) for negotiating, enforcing or interpreting the Landlord’s
                 rights under other leases with respect to the Premises;

           (n)   cost of work which the Lease expressly provides is to be performed at the expense of the
                 Landlord;

           (o)   costs of any repair, replacement, alteration, improvement or addition to the Premises, the primary
                 purpose of which is to expand, or enlarge the Premises or which exceeds the Building Standard in
                 any material respects; provided however that costs referred to in paragraph 4(h) of this Section 2
                 or otherwise incurred by the Landlord to comply with its obligations under this Lease, or costs
                 incurred for the primary purpose of preserving, protecting or maintaining the Premises in
                 accordance with the Building Standard are not to be excluded from Allocable Operating Costs
                 pursuant to this section;

           (p)   costs of any maintenance, repairs or replacements to the Structural Elements of the Premises;

           (q)   costs incurred with respect to the acquisition, development and construction of the Premises, or
                 any expansion thereof;

           (r)   costs incurred by the Landlord to correct work done in the Premises that was initially done by or

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                    on behalf of the Landlord but not done in compliance with Applicable Laws; and

           (s)      all association fees and dues paid by the Landlord in respect of memberships in professional
                    organizations or associations.

  24.      “GAAP” means generally accepted accounting principles.

  25.      “Goods and Services Tax” means all goods and services taxes, sales taxes, value added taxes or any other
           taxes imposed on the Landlord with respect to any amounts payable by the Tenant to the Landlord under
           this Lease.

  26.      “HVAC” means heating, ventilation and air conditioning.

  27.      "Landlord" means the Landlord and its duly authorized representatives, agents, successors and assigns.

  28.      “Landlord’s Income Taxes” means income taxes, business taxes of the Landlord, place of business taxes,
           estate, inheritance or succession taxes, capital levy, large corporations tax, transfer tax, and/or other taxes
           which are personal to the Landlord.

  29.      “Lease” means this lease, and any amendments hereto.

  30.      "Leasehold Improvements" means leasehold improvements in the Premises determined according to
           common law, and shall include, without limitation, all fixtures, improvements, installations, Alterations and
           additions from time to time made, erected or installed in the Premises by or on behalf of the Tenant or any
           previous occupant of the Premises, including signs and lettering, partitions, doors and hardware however
           affixed and whether or not movable, all mechanical, electrical and utility installation and all carpeting and
           drapes with the exception only of furniture and equipment not in the nature of fixtures.

  31.      “Midtown Live Center” means the real property and improvements located at 7408 Cameron Rd, Austin,
           Texas 78752, including the roof thereof and including all premises rented or intended to be rented therein,
           whether for office, retail, or other purposes; and facilities serving the Building or having utility in
           connection therewith located upon the Lands, as determined by the Landlord, including the BUILDING
           COMMON AREA and the FLOOR COMMON AREA, which areas and facilities may include, without
           limitation, sidewalks, exhibit areas, storage and mechanical and electrical rooms, stairways, escalators,
           elevators, truck and receiving areas, driveways, parking facilities, loading docks and corridors.

  32.      “Operating Costs Proceeds” means any of the following:

           (a)      net insurance proceeds received by the Landlord that reimburse the Landlord for costs of repair or
                    replacement which have been charged as Allocable Operating Costs;

           (b)      net recoveries by the Landlord in respect of warranties or guarantees relating to the construction or
                    repair of the Midtown Live Center to the extent that the repair costs have been charged as
                    Allocable Operating Costs;

           (c)      net recoveries by the Landlord in respect of any recycling programs conducted in respect of the
                    Midtown Live Center to the extent that the costs of such programs have been included in
                    Allocable Operating Costs;

           (d)      refunds and rebates received from suppliers and contractors of amounts that have been included in
                    Allocable Operating Costs;

           (e)      amounts recovered as a result of direct charges to the Tenant and other tenants in respect of


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                    additional services (including any administration charges) to the extent that the amounts relate to
                    costs included in Allocable Operating Costs;

           (f)      all other recoveries from the Tenant and other tenants applicable to expenses included in Allocable
                    Operating Costs, other than proportionate share contributions by the Tenant and other tenants
                    pursuant to the operating costs provisions of their leases;

           (g)      all amounts which otherwise would be included in Allocable Operating Costs which are recovered
                    by the Landlord from tenants as a result of any act, omission, default or negligence of such
                    tenants;

           (h)      net proceeds after expenses (after Landlord’s income taxes) received by the Landlord from the
                    operation of the Fitness Centre;

           (i)      any other recoveries by the Landlord from any other sources which have been previously included
                    in Allocable Operating Costs.

  33.       "Person" means any person, firm, partnership or corporation, or any group or combination or person,
           firms, partnerships or corporations.

  34.      "Premises" means the space as detailed in Schedules 1 inclusive hereof, and includes Leasehold
           Improvements therein.

  35.      "Rent" means the aggregate of Base Rent and Additional Rent.

  36.      "Rental Year" means:

           (a)      in the case of the first Rental Year, the period from the Commencement Date to the end of
                    Landlord's fiscal year next occurring;

           (b)      in the case of following Rental Years, consecutive 12 calendar month periods commencing one
                    day after the end of the first Rental Year.

           provided however that, the last Rental Year shall end on the expiration or earlier termination of this Lease.

  37.      "Rules and Regulations" means the rules and regulations adopted and promulgated by the Landlord from
           time to time pursuant to Section 5.12. The Rules and Regulations existing as at the Commencement Date
           are those set out in Schedule 3.

  38.       “Service Providers” means the provider of any utility, communication or other services provided to the
           Tenant or other tenants of the Lands and Building to accommodate and facilitate the use, occupation and
           enjoyment of the Lands and Building.

  39.      “Structural Elements” means the footings, foundations, structural columns and beams, load-bearing
           stairwells (excluding stairwells within the Premises), load-bearing staircases, structural subfloors, bearing
           walls and roofs (excluding the membranes of the roofs) of the buildings in the Premises. Structural
           Elements shall not include the non-structural portions of the walls of the buildings in the Premises.

  40.      “Tenant” means the party of the second part and includes the Tenant and its representatives, agents,
           successors and Permitted Transferees.

  41.      “Tenant’s Proportionate Share” means the ratio that the total number of square feet in the Premises bears
           to the total number of square feet in the Building.


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  42.      “Tenant Wiring” means the cabling, whether copper, fiber optical or coaxial, wires, cords and connecting
           hardware and any combination of these items and related telecommunications equipment such as, but not
           limited to, cabinets, racks and other electronic equipment as network facilities, provided to or by the Tenant
           to facilitate the use, occupation and enjoyment of the Premises, the Lands and the Building.

  43.      “Tenant’s Taxes” means all taxes, rates, duties, levies and assessments (including Business Taxes) which
           are not part of Allocable Taxes and which the Proportionate Landlord is entitled to recover, in full, directly
           from the Tenant under this Lease.

  44.      "Term" means the period set out in Section 1.2 and includes any renewal thereof in accordance with the
           provisions of this Lease.

  45.      "Trade Fixtures" means trade fixtures as determined at common law, but for greater certainty, shall not
           include:

           (a)      heating, ventilating or air-conditioning systems, facilities and equipment in or serving the
                    Premises;

           (b)      floor covering affixed to the floor of the Premises;

           (c)      light fixtures;

           (d)      internal stairways and doors;

           (e)      any fixtures, facilities, equipment or installations installed by or at the expense of the Landlord;
                    and

           (f)      removable wall partitions installed by the Tenant in the Premises.

  46.      "Unavoidable Delay" means any cause beyond the control of any party which prevents the performance by
           it of any obligation hereunder and not caused by its default or act of commission or omission and not
           avoidable by the exercise of reasonable effort or foresight by such party, excluding financial inability.

                                          3.        TENANT'S COVENANTS

           The Tenant covenants with the Landlord as follows:

  3.1.     COVENANT TO PAY
           To pay to the Landlord the Rent in the amounts and in the manner set forth in this Lease.

  3.2.     ALLOCABLE OPERATING COSTS
                    The Tenant covenants to pay to the Landlord yearly and in every year during the Term, at the
                    times and in the manner provided in Section 3.5 hereof, the Tenant's Proportionate Share of
                    Allocable Operating Costs allocated to the Building in accordance with Section 3.6 hereof.

  3.3.     PAYMENT OF BUSINESS TAXES
           (a)      The Tenant shall pay when due all Tenant’s Business Taxes. If the Tenant's Business Taxes are
                    payable by the Landlord to the relevant taxing authority, the Tenant shall pay the amount thereof
                    to the Landlord or as it directs. If no separate tax bills for Business Taxes are issued with respect
                    to the Tenant or the Premises, the Landlord shall allocate Business Taxes charged, assessed or
                    levied against the Building or the Lands to the Tenant on an equitable and reasonable basis;

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               provided however, that if the Tenant disputes such allocation, the Tenant shall be entitled to refer
               such dispute to arbitration in accordance with the provisions of Section 21 hereof.

         (b)   The Tenant shall promptly deliver to the Landlord on request, copies of assessment notices, tax
               bills and other documents received by the Tenant relating to Tenant’s Business Taxes and receipts
               for payment of Tenant’s Business Taxes.

  3.4.   ALLOCABLE TAXES
         (a)   The Tenant covenants to pay to the Landlord yearly and in every year during the Term, at the
               times and in the manner provided in Section 3.5 hereof, the Tenant’s Proportionate Share of
               Allocable Taxes allocated to the Premises;

         (b)   The Landlord shall pay all Allocable Taxes to the taxing authorities.

         (c)   (i)      The Landlord may contest any Allocable Taxes and appeal any assessments with respect
               thereto; withdraw any such contest or appeal; and agree with the taxing authorities on any
               settlement or compromise with respect to Allocable Taxes. The Tenant will cooperate with the
               Landlord in respect of any such contest or appeal and will provide the Landlord with all relevant
               information, documents and consents required by the Landlord in connection with any such
               contest or appeal.

               (ii)      Provided it is not in default under this Lease, the Tenant shall have the right to appeal any
               governmental assessment or determination of the value of the Premises or any portion thereof if
               the Tenant, acting reasonably, is not satisfied with such assessment and if required, the Landlord
               shall appoint the Tenant as its agent for this purpose and shall cooperate with the Tenant in
               preparing for such appeal. If the Tenant exercises its right of appeal, it shall keep the Landlord
               fully informed of its actions in connection with such appeal and shall provide the Landlord with
               copies of all relevant documents; the Tenant shall also consult with the Landlord on such appeal,
               and shall take into account the advice of the Landlord in this regard. The Tenant’s cost of any
               appeal, if successful, shall be promptly reimbursed by the Landlord, with such cost being included
               in Allocable Taxes. If the Tenant is unsuccessful, the Tenant agrees to fully indemnify the
               Landlord for all costs and liabilities attributable to any such appeal, including all legal costs and
               any increase in Allocable Taxes resulting from such appeal.

  3.5.   PAYMENT OF ESTIMATED ALLOCABLE TAXES AND ALLOCABLE OPERATING COSTS
         (a)   The Landlord shall, at least 60 days after the Commencement Date, and thereafter, at least 60 days
               prior to the commencement of each Accounting Period occurring subsequent to the
               Commencement Date provide the Tenant with its proposed estimated operating cost budget
               (which shall include all estimated Allocable Taxes and all estimated Allocable Operating Costs
               allocated to the Building pursuant to Section 3.6 hereof and which shall be reasonable in
               accordance with Building Standard) and both parties shall meet as often as reasonably possible to
               attempt to agree on such budget, both acting reasonably.

         (b)   The estimated Tenant’s Proportionate Share of Allocable Operating Costs and the estimated
               Tenant’s Proportionate Share of Allocable Taxes payable by the Tenant in each Accounting Period
               as aforesaid shall be paid by the Tenant to the Landlord in equal monthly installments in advance
               on the first day of each month during the Term, without deduction, set-off or abatement.

         (c)   Within 120 days after the end of each Accounting Period, the Landlord shall provide the Tenant
               with its final statement with respect to Allocable Operating Costs, Allocable Taxes and the
               Tenant’s Proportionate Share thereof, plus such other items of Additional Rent and the Tenant’s
               Proportionate Share thereof as the Landlord may have estimated in advance for the relevant


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                   Accounting Period, together with an audit report of the Landlord’s external auditor which certifies
                   that such expenses have been properly calculated in accordance with the provisions of the Lease.
                   If the total monthly installments paid by the Tenant are greater than the amount shown on the final
                   statement, then the difference shall be paid by the Landlord to the Tenant within 60 days after the
                   delivery of such final statement. If the total monthly installments paid by the Tenant are less than
                   the amount shown on the final statement, then the difference shall be paid by the Tenant to the
                   Landlord within 60 days after the delivery of such final statement

          (d)      All sums payable by the Tenant pursuant to this Section 3.5 shall be deemed to be Rent and may
                   be collected by the Landlord as such.

          (e)      The obligations contained in this subsection shall survive the expiration or earlier termination of
                   the Term. Failure of the Landlord to render any statement of Allocable Taxes or Operating Costs
                   shall not prejudice the Landlord's right to render such statement thereafter or with respect to any
                   other period. The rendering of any such statement shall also not affect the Landlord's right to
                   subsequently render an amended or corrected statement.

  3.6.    ALLOCATION OF ALLOCABLE OPERATING COSTS AND ALLOCABLE TAXES
          (b)      Operating Costs and Taxes which apply shall be the responsibility of the Tenant;

          (b)      In the event that the Tenant disputes:

                   (i)      the apportionment or allocation of Allocable Operating Costs and Allocable Taxes to
                            Midtown Live Center Components as aforesaid by the Landlord; or

                   (ii)     the revised definitions by the Landlord of Midtown Live Center Components and
                            Midtown Live Center Elements;

                   the Tenant shall be entitled to refer such disputes to arbitration in accordance with the arbitration
                   provisions contained in Section 21 of this Lease.

  3.7.    ACCRUAL OF RENT
          Rent shall be considered as accruing from day to day hereunder, and where it becomes necessary for any
          reason to calculate Rent for an irregular period of less than one (1) year or less than one (1) calendar month,
          an appropriate apportionment and adjustment shall be made.

  3.8.    ADDITIONAL RENT TREATED AS RENT
          All Additional Rent shall be recoverable as Rent, and the Landlord shall have all rights against the Tenant
          for default in any such payment as in the case of arrears of Rent.

  3.9.    INTEREST ON AMOUNTS IN DEFAULT
          If the Tenant fails to pay when due any amount of Rent, the unpaid amount will bear interest calculated and
          payable monthly from the due date to the date of payment at the rate per annum which is equal to Five (5%)
          percent of the outstanding.

  3.10.   UTILITIES
          The Tenant shall provide utility services in quantities determined to constitute normal use for tenants of
          comparable space in the Premises, but not less than the quantities provided immediately prior to the
          Commencement Date.



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  3.11.   NET LEASE TO LANDLORD
          The Tenant acknowledges and agrees that, subject to the Landlord’s obligations with respect to Excluded
          Operating Costs, Structural Elements and except as otherwise expressly set forth in this Lease, it is
          intended that this Lease shall be a completely net lease to the Landlord. The Tenant shall pay all costs,
          charges, expenses and outlays of every nature and kind relating to or affecting the Premises and the Tenants
          business in the Premises, and as provided in this Lease, the Tenant’s Proportionate Share of all costs,
          charges, expenses and outlays relating to the Midtown Live Center (including without limitation the
          Building and the Premises) which are allocated to the Building in accordance with section 3.6 hereof.

  3.12.   LANDLORD’S RIGHT TO PAY TENANT’S OBLIGATIONS
          If the Landlord is billed by any third party for any costs of any nature whatsoever arising from or relating to
          the Premises which, pursuant to the provisions of this Lease, are the Tenant’s obligations to pay, the
          Landlord shall have the right, but not the obligation, upon 15 Business Days written notice to the Tenant, to
          pay the costs. Such costs so paid by the Landlord, plus an administrative charge of ten percent (10%) of
          such costs, shall be payable by the Tenant to the Landlord forthwith upon demand as Additional Rent;
          provided however, that if within the 15 Business Day period, the Tenant gives notice to the Landlord that
          the Tenant is disputing such liability, then, and in such event, but subject to the provisions of Section 5.8
          hereof, the Landlord shall not have the right to pay such amount.


                         4.        BUILDING SERVICES AND COMMON AREAS

  4.1.    HVAC, LIGHTING AND POWER
          (a)      The Tenant shall maintain, clean, light, heat, ventilate and air-condition the Premises during
                   Business Hours in accordance with the reasonable requirements of the Tenant taking into account
                   the nature of the Tenant’s business, and in any event in accordance with the Building Standard.

            (b)    If, for any portion of the Premises, the Tenant requests interior climate control services that in the
                   Landlord’s reasonable opinion exceeds in any material respect the standard services provided to
                   other comparable space in the Building or from that provided to the Tenant prior to the
                   Commencement Date, the Landlord shall provide such services if the Landlord determines it is
                   within the capacity of the HVAC system, is not reasonably required by the Landlord for other
                   tenants of the Building, would not detrimentally affect the operation or structure of the Building,
                   would not reduce the efficiency of such services provided to, or reasonably required by, other
                   tenants and is feasible, or, notwithstanding the foregoing, if the Tenant pays the costs of upgrading
                   the HVAC system to meet the Tenant’s requirements. The Tenant shall pay the Landlord’s cost of
                   providing such excess services.

  4.2.    BUILDING SYSTEMS
          In the event of an interruption in service provided by any of the Building Systems, the Landlord shall use
          all reasonable commercial efforts (including the authorization of overtime) to end such interruption as soon
          as reasonably possible. The Landlord acknowledges the importance of uninterrupted availability of the
          Building Systems to the Tenant and agrees that in the event that the Landlord is not using all reasonable
          commercial efforts to end such interruption, then the Tenant shall be entitled to take such action as may be
          necessary to cause the Landlord to comply with such obligations, including by way of injunction.
          Notwithstanding the foregoing, and for the purposes of meeting the Building Standard, the Landlord shall
          be entitled to shut down the Building Systems for planned maintenance upon not less than 90 days written
          notice to the Tenant. In such event, the Landlord shall diligently complete such maintenance and repairs to
          return the Building Systems to service.




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  4.3.   COMMON AREAS
         Subject to the Rules and Regulations referred to in Section 5.12, the Landlord shall allow the Tenant the
         use of the Common Areas on a 24 hour, 7 days a week, basis throughout the Term. It is agreed that the
         Tenant and all other persons using such Common Areas shall do so at their sole risk and under no
         circumstance shall the Landlord be liable for any damage or injury resulting to any persons or property
         while using such Common Areas, or occasioned to any person by the use of the elevators or any of their
         appurtenances.

  4.4.   SECURITY
         (a)      The Tenant shall provide security for the Premises in accordance with the Building Standard on a
                  24-hour, 7 days a week basis throughout the Term. The Tenant shall, however, have the option of
                  requiring the Landlord to provide such additional security as it deems fit for the Premises provided
                  that such additional security shall be at the sole cost and expense of the Tenant.

         (b)      The Landlord shall further operate the Building so as not to interfere with, or derogate from the
                  security requirements of the Tenant.

  4.5.   JANITORIAL AND CLEANING
         The Tenant shall provide reasonable janitorial and cleaning services to the Building.

  4.6.   ALTERATIONS BY LANDLORD
         The Landlord may:

         (a)      alter, add to, subtract from, construct improvements to, rearrange, build additional stories on and
                  construct additional facilities adjoining or near the Premises;

         (b)      relocate facilities and improvements (excluding the Premises) contained in the Premises;

         provided that notwithstanding anything contained in this Section, access to the Premises shall at all times
         be available.

  4.7.   REPAIRS TO CRITICAL OPERATIONS AREAS
         If there is any breakdown in any Building System which creates an emergency situation that interrupts the
         Tenant’s Critical Operations Areas and the Tenant, acting reasonably, determines that the Landlord cannot
         complete the repairs in the necessary timeframe, having regard to the Tenant’s Critical Systems, the Tenant
         shall have the right to perform such work necessary to resolve the emergency and to maintain the Critical
         Systems in proper working order. The Landlord shall reimburse the Tenant within 15 days of receipt of all
         relevant invoices from the Tenant.

  4.8.   ACCESS BY LANDLORD TO CRITICAL OPERATIONS AREAS
         The Landlord acknowledges that it is aware that the Critical Operations Areas contain Critical Systems
         which are of a highly sensitive and technical nature. The Landlord covenants in favor of the Tenant that in
         accessing or entering the Critical Operations Areas, the Landlord and all persons for whom the Landlord is
         responsible in law or over whom the Landlord has control including, without limitation, the Landlord’s
         employees, contractors and janitorial staff, shall use the utmost precaution when entering the Critical
         Operations Areas so as not to disturb, interfere with or damage the Critical Systems. The Tenant shall
         approve of all persons entering the Critical Operations Areas for any purpose, such approval not to be
         unreasonably withheld.




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                                                  5.       USE
  5.1.   PERMITTED USE
         (a)     The Premises may be used for any lawful business engaged in by the Tenant which includes but is
                 not limited to general office use, retail sales, storage purposes, restaurant and bar services and
                 otherwise in keeping with the general character of the Premises, and such other lawful purposes as
                 are consented to by the Landlord, such consent not to be unreasonably withheld.

         (b)     The Tenant shall be entitled to share the occupancy and use of the Premises, or any part thereof,
                 with anyone with whom the Tenant is in partnership or joint venturing, subject to the Landlord’s
                 consent, which shall not be unreasonably withheld.

         (c)     The Landlord covenants that during the Term, the Landlord shall not rent any space in the
                 Premises to any tenant that a prudent landlord of a similar building would not rent to or to any
                 tenant who operates a restaurant, bar, night club or any other business in direct competition with
                 Tenant.

  5.2.   NUISANCE
         The Tenant shall not carry on any business or do or suffer any act or thing which may constitute a nuisance
         or be offensive or any annoyance to the Landlord or other occupants of the Premises, or do or suffer any
         waste of damage, disfiguration or injury to the Premises or permit or suffer any overloading of the floor
         thereof.

  5.3.   COMPLIANCE WITH APPLICABLE STATUTES, ETC.
         The Tenant will promptly comply with and conform to the requirements of every applicable law, by-law,
         regulation, ordinance and order affecting in any way the use of the Premises or the Leasehold
         Improvements, Trade Fixtures, furniture and equipment installed by the Tenant.

  5.4.   LEASEHOLD IMPROVEMENTS BY TENANT
         (a)     The Tenant shall, with the consent of the Landlord, such consent not to be unreasonably withheld,
                 be entitled to install or alter any Leasehold Improvements or complete any other additions or
                 Alterations in the Premises so long as such work does not adversely affect the structure or
                 Building Systems of the Premises, is in compliance with the design criteria of the Premises (if
                 design criteria for the Premises has been established by the Landlord and such design criteria has
                 been communicated to the Tenant in writing) and is lawful.

         (b)     On the termination of the Term (or earlier termination of any full floor comprising the Premises
                 pursuant to the provisions of Section 14 of this Lease) all Leasehold Improvements, including all
                 demountable wall partitions installed in the Premises by the Tenant, shall be the property of the
                 Landlord, and the Tenant may not remove, nor be obliged to remove any leasehold improvements.
                  At the expiration or sooner termination of the Term, or earlier termination of any full floor
                 forming part of the Premises pursuant to the provisions of Section 14 of this Lease, the Tenant
                 shall leave the Premises and any and all full floors in neat and tidy condition, in good condition,
                 reasonably wear and tear excepted, and free of debris.

  5.5.   INFLAMMABLE LIQUID OR DANGEROUS MATERIALS
         The Tenant shall not bring into or store in the Premises any inflammable liquid or dangerous or explosive
         materials, except, subject always to section 5.10, such reasonable quantities of such liquids as may be
         necessary for its normal business purposes.




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  5.6.   RESTRICTION ON TENANT'S TRADE FIXTURES
         The Tenant shall not bring into the Premises any articles or Trade Fixtures that by reason of their weight or
         size might damage or endanger the structure of the Premises. If any damage is caused to the Premises by
         any such articles or fixture, the Tenant shall, forthwith upon demand, pay to the Landlord, as Additional
         Rent, the Landlord's cost of making good the same together with an administrative charge equal to fifteen
         percent (15%) of such cost.

  5.7.   DEFACING OF WALLS, ETC.
         Other than for the normal conduct of its business and the use of the Premises, the Tenant shall not drill into,
         or in any way deface, the walls, ceilings, partitions, floors, wood, stone or iron work within the Premises
         without the prior written consent of the Landlord. In the event of any violation of the provisions hereof, the
         Landlord may, in addition to any other remedies it may have hereunder, enter and repair any damage and
         the Tenant shall pay the cost thereof, together with an administrative charge equal to fifteen percent (15%)
         of such cost, to the Landlord, forthwith upon demand, as Additional Rent.

  5.8.   LIENS, ETC.
         In connection with all work or installations made by or for the Tenant in the Premises the Tenant shall not
         allow liens to be placed on the Premises. If the Tenant defaults in its obligation to do so, the Landlord may
         lodge such security or make such payment into court as may be permitted by applicable lien legislation for
         the purpose of obtaining an order or like instrument discharging the registration of any such lien or
         certificate of action and the Tenant will, forthwith on demand and as Additional Rent, reimburse the
         Landlord for any such payment together with reasonable costs (including legal fees) related thereto.

  5.9.   INSURANCE
         (a)      The Tenant shall maintain during the Term:

                  (i)      all risks insurance upon all property owned by the Tenant or for which it is liable and
                           which is located in the Building, including inventory or stock-in-trade in an amount equal
                           to the full replacement cost thereof;

                  (ii)     liability insurance against claims for death, personal injury and property damage in or
                           about the Premises in an amount of not less than $1,000,000.00 per occurrence;

                  (iii)    Liquor liability insurance in an amount of not less than $500,000.00 per occurrence; and

                  (iv)     All policies required to be written on behalf of the Tenant shall: (a) contain a waiver of
                           subrogation rights which the Tenant’s insurers may have against the Landlord and those
                           for whom the Landlord is at law responsible; (b) shall be non-contributing with, and shall
                           apply only as primary, and not as excess to, any other insurance available to the Landlord
                           or Mortgagee; (c) not be invalidated with respect to the interest of the Landlord or
                           Mortgagee by reason of any breach or violation of any warranties, representation,
                           declaration or conditions contained in the policies.

         (b)      The insurance described in sub-sections (a) (i), (ii) and (iii) shall name the Landlord or anyone
                  designated in writing by the Landlord who is a Mortgagee of the Building as additional insureds as
                  their interest may appear. All property damage and public liability insurance shall contain a
                  provision for cross-liability or severability of interest as between the Landlord and the Tenant.
                  The Tenant hereby releases the Landlord from any liability for loss to the extent of all insurance
                  proceeds paid under policies of insurance carried by the Tenant or which would have been paid if
                  the Tenant had maintained the insurance it is required to maintain under this Lease. Such policies
                  shall contain an endorsement requiring the insurers under such policies to notify the Landlord in


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                  writing at least thirty (30) days prior to any material change or cancellation thereof. On request by
                  the Landlord, the Tenant shall furnish to the Landlord with certificates of insurance evidencing the
                  Tenant’s insurance. The cost of premium for each and every such policy shall be paid by the
                  Tenant. If the Tenant fails to maintain such insurance, the Landlord shall have the right, but not
                  the obligation or any liability, to do so, and to pay the cost or premium therefor, and in such event
                  the Tenant shall repay to the Landlord, as Additional Rent, forthwith on demand the amount so
                  paid.

          (c)     The Landlord shall maintain during the Term such types of insurance coverage on the Building, in
                  such amounts and with such deductibles as are carried by prudent owners of similar buildings in
                  the same city having regard to the age, nature, location and character of the Building, and, in
                  addition, shall be entitled, in its sole discretion, to maintain and procure such further insurance
                  coverage in relation to the Landlord’s obligations under this Lease, as it sees fit. Without
                  derogating from the generality of the foregoing, the Landlord shall insure, and keep insured, the
                  Building, during the Term, for the full replacement cost thereof, and which insurance shall,
                  without limitation, include insurance coverage:

                  (i)      for loss or damage due to perils covered by broad form boiler and pressure vessel
                           insurance policies which shall include provision for loss or damage against sudden and
                           accidental breakdown of boiler or any vessel subject to pressure or vacuum, unfired
                           pressure vessel, other fired pressure vessels and refrigeration systems (excluding however
                           the insurance coverage referred to in Section 5.10(a)(iv) hereof); and

                  (ii)     against business interruption under which the period of indemnity will be not less than
                           twelve (12) months providing for not less than One Hundred (100%) percent of the
                           resulting loss of Rent.

  5.10.   INSURANCE RISKS
           The Tenant shall not do, omit to do or permit to be done or omitted to be done upon the Premises anything
          which would cause the cost to the Landlord or to any other tenant of any type of insurance on the Building
          to be increased (and, without waiving the foregoing prohibition, the Landlord may demand, and the Tenant
          shall pay to the Landlord upon demand, the amount of any such increase of cost caused by anything so
          done or omitted to be done) or which shall cause any policy of insurance of the Development or of any
          other tenant to be subject to cancellation.

  5.11.   RULES AND REGULATIONS
          The Tenant shall comply with the Rules and Regulations annexed hereto and marked Schedule 3, and to
          cause such Rules and Regulations to be observed and performed by everyone for whom the Tenant is in
          law responsible or over whom the Tenant might reasonably be expected to have control. The Landlord
          shall have the right from time to time and at any time during the Term to make any and all reasonable
          amendments, deletions and additions to such Rules and Regulations, including Rules and Regulations
          relating to the use of the Common Areas on written notice being given to the Tenant, provided that such
          Rules and Regulations are not contrary to the terms and conditions of this Lease.


            6.          SIGNAGE, BUILDING NAME AND SATELLITE DISH / ANTENNAE

  6.1.    TENANT’S SIGNS
          (a)     The Tenant, shall, during the term of this Lease and any renewals thereof have the right, within the
                  Midtown Live Center, Building, Premises, and the common areas, to erect, install and maintain the
                  Tenant’s identification signage in the Tenant’s distinctive style including, at the sole discretion of
                  the Tenant banners and posters of a kind and size and in locations where considered necessary by

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                  the Tenant. The Tenant shall at all times during the Term be entitled to change such signage at its
                  discretion.

         (b)      Except as expressly provided in this section 6, the Tenant shall not erect, install or display any
                  signage without the consent of the Landlord not to be unreasonably withheld.

  6.2.   EXTERIOR SIGNAGE

         All costs and expenses relating to the Tenant’s signage shall be borne and paid for by the Tenant.

  6.3.   ALL SIGNS
         All signs erected or installed in the Premises by or on behalf of the Tenant and other tenants of the Building
         shall be tasteful and in keeping with the character of the Building.

  6.4.   COMPLIANCE WITH LAWS
         All signs erected or installed by the Tenant, the Landlord or other tenants of the Building shall at all times
         comply with all Applicable Laws.

  6.5.   BUILDING NAME
         The Premises shall be known as Midtown Live Center.

  6.5.   SATELLITE DISH/ANTENNAE
         (a)      Subject to Section 6.5 (b), the Tenant shall have the exclusive right to install and maintain on the
                  roof of the Premises, for the use of the Tenant, or the Tenant’s customers, satellite dishes and
                  telecommunications antennae.

         (b)      Notwithstanding the provisions of Section 6.6 (a), the Landlord may, with the written consent of
                  the Tenant, which consent shall not be unreasonably withheld, use or permit other tenants to use,
                  the roof for the installation and maintenance of satellite dishes and telecommunications antennae.


                                          7.       ENVIRONMENTAL

  7.1.   ENVIRONMENTAL CONTAMINATION
         The Landlord shall be responsible for all Environmental Contamination subsequent to the Commencement
         Date of the Lease to the extent of any fines, penalties, claims, demands, actions, suits, proceedings,
         damages, costs or liabilities being levied against, suffered by or accruing to the Tenant either directly or on
         account of Allocable Operating Costs, unless the Environmental Contamination has arisen from activities
         within the direction or control of the Tenant.

  7.2.   REMEDIATION OF ENVIRONMENTAL CONTAMINATION
         The Landlord will at its own expense promptly remove from the Building (including the Premises) or
         remediate all Environmental Contamination in accordance with all Environmental Laws, except if the
         Environmental Contamination has arisen from activities within the direction or control of the Tenant. If the
         presence of the Environmental Contamination is, in the opinion of the state agency applicable or other
         governmental authority having jurisdiction, detrimental to human health to the extent that continued
         exposure to it constitutes a health hazard, the Tenant shall be entitled to vacate the Premises or affected
         portion or portions thereof and abate Rent on a pro rata basis until such time as the removal or remediation
         has been completed in accordance with the provisions of the Lease. Any damages, costs or liabilities
         incurred by the Landlord relating to the above shall not be charged to the Tenant or included in Allocable

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         Operating Costs.

  7.3.   TENANT’S ENVIRONMENTAL REMEDIES
         If the Landlord fails to promptly remove or remediate any Environmental Contamination as aforesaid
         within ten (10) days after receipt of written notice from the Tenant, the Tenant shall have the right to cause
         the Environmental Contamination to be removed or remediated. The Landlord shall pay all costs incurred
         by the Tenant in so doing.

  7.4.   TENANT’S ENVIRONMENTAL COVENANTS
         The Tenant shall comply with all environmental laws and agrees to indemnify and save harmless the
         Landlord from and against all liabilities that the Landlord may directly incur or suffer as a result of, in
         connection with or arising from any Environmental Contamination resulting from activities within the
         direction or control of the Tenant.

  7.5.   ASBESTOS
         It is acknowledged that asbestos is contained in certain Floors of the Premises. In the event that the Tenant
         renovates its Premises in any floor which contains asbestos, or in the event that the regulatory authorities
         require that such asbestos be removed, the Tenant shall cause the asbestos to be removed at its expense and
         in compliance with the provisions of Section 7.4 hereof. Otherwise, neither the Tenant nor the Landlord
         shall have any obligation to remove the asbestos.


                                       8.       REPAIR AND DAMAGE

  8.1.   MAINTENANCE, MANAGEMENT AND REPAIR
         (a)      The Tenant shall keep and maintain the Premises in good repair and in any event in a standard of
                  maintenance, repair and utility consistent with the Building Standard. In no event shall the Tenant
                  permit any deterioration in respect of the Premises and amenities available to the Tenant, subject
                  only to reasonable wear and tear. In performing such obligations, the Tenant shall replace any
                  item only if a prudent owner of real estate comparable to the Premises would replace it rather than
                  repair such item. The Tenant shall maintain the Building Systems in accordance with the Building
                  Standard as would a prudent owner of real estate comparable to the Building.

         (b)      If the Tenant fails to maintain or repair in accordance with the above within a reasonable time of
                  notice by the Landlord, the Landlord may at its option, effect or make such maintenance or
                  reparations at the Tenant’s expense. The Tenant shall reimburse the Landlord for such expenses
                  incurred by the Landlord, which expenditure shall be included in Allocable Operating Costs.

         (c)      The Tenant shall manage the Premises to a standard of management consistent with the Building
                  Standard.

  8.2.   DAMAGE - LANDLORD'S LIABILITY
         (a)      Except to the extent of the insurance and insurance limits required to be obtained by the Landlord
                  pursuant to the provisions of this Lease (whether actually obtained or not), and notwithstanding
                  anything to the contrary contained in this Lease, including the obligations of the Landlord to repair
                  and maintain as specified in this Lease, the Landlord shall not be in any way responsible, liable or
                  accountable to the Tenant or anyone claiming by, through or under the Tenant, for:

                            (i)     any loss, injury or damage to property; or

                            (ii)    for any direct, indirect, consequential, business, economic or other loss, injury or

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                                 damage or for any inconvenience, interruption or discomfort;

               that may be suffered or sustained by reason of:

                        (A)      any interruption, cessation or suspension in the operation of the Building
                                 Systems or the back-up and uninterrupted power supply systems or in the
                                 provision of any utilities or service; or

                        (B)      steam, water, rain, ice or snow which may leak into, issue or flow from any part
                                 of the Premises or from any other place whether or not by reason of breakages in
                                 or damage to plumbing or drainage works or sprinklers;

               and whether or not resulting from or involving the negligence or wrongful acts of the Landlord, or
               its contractors, its contractor’s subcontractors and their respective employees and agents and the
               Tenant hereby releases the Landlord from any such claims (except to the extent of the insurance
               and insurance limits required to be obtained by the Landlord pursuant to the provisions of this
               Lease, whether actually obtained or not).

         (b)   Except to the extent the same is caused by the negligence, act or omission or unlawful acts of the
               Landlord, its agents, servants, employees, contractors, or for any person for whom the Landlord is
               responsible in law however, subject to Section 8.2 (a) hereof, the Landlord will not be liable for
               any damage suffered to the Premises or the contents thereof by reason of the Landlord, its agents,
               servants, employees or contractors, entering upon the Premises to undertake any examination
               thereof or any work therein or in the case of any emergency.

  8.3.   DAMAGE TO PREMISES AND TERMINATION
         (a)   In the event of damage to the Premises or to other portions of the Premises which affect access or
               services to the Premises, and if the damage is such that the Premises or any substantial part thereof
               is rendered, in the Tenant’s reasonable opinion, not reasonably capable of use and occupancy by
               the Tenant for the purposes of its business, then:

               (i)      Rent shall abate from and after the occurrence of the damage until 60 days (Tenant
                        refixturing period) beyond the time that the Premises are reasonably capable of use and
                        occupancy in proportion to the part or parts of the Premises not reasonably capable of
                        such use and occupancy; and

               (ii)     unless the Lease is terminated as provided for below, the Landlord or the Tenant
                        (according to the nature of the damage and their respective obligations to repair) shall
                        repair such damage with all reasonable diligence.

         (b)   If either the Premises or premises of subtenants of the Premises comprising in the aggregate 50%
               or more of the total occupiable area in the Premises or any portion of the Premises which affects
               access or services essential thereto are substantially damaged or destroyed (the “Substantial
               Damage”) and if, in the reasonable opinion of the Tenant, such damage cannot be repaired within
               365 days of its occurrence, then the Landlord or the Tenant may at either of their options on 30
               days notice to the other of them terminate the Lease and the Tenant shall vacate the Premises
               within 60 days. The Landlord shall only have the right of termination if it is also exercising such
               right against all other tenants in the Premises. In all other cases the Landlord or the Tenant as the
               case may be shall repair such damage with reasonable diligence.




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                                 9.       ASSIGNMENT AND SUBLETTING

  9.1.    ASSIGNMENT OR SUBLETTING
          (a)      The Tenant may not assign this Lease without the prior written consent of the Landlord, which
                   consent shall not be unreasonably withheld or delayed.

          (b)      Notwithstanding the provisions of subparagraph (a) hereof, no consent shall be required for an
                   assignment to a related entity.

          (c)      Notwithstanding the foregoing, and notwithstanding that the Landlord grants the consent to the
                   assignment, any assignment (other than to related entities) shall be at the rates as specified herein
                   and, in the event that the Tenant derives any profit from such assignment, such profit shall be
                   Tenant’s.

          (d)      An assignment shall not release the Tenant’s obligations contained in this Lease.

          (e)      With regard to subletting, this is a “gross lease.” Tenant shall be allowed to sublet any portion of
                   or all of the Premises as Tenant believes appropriate with the Landlord’s consent, which shall not
                   be unreasonably withheld. Tenant does, however, understand that each of the leases and the rents
                   therefrom of all subtenants shall be assigned to Landlord. However, Landlord shall not be entitled
                   to rents from any subleases unless a monetary default of the terms of this Lease by Tenant occurs,
                   which continues for thirty (30) days without cure, after formal notice by Landlord.


  10.       STATUS CERTIFICATES, SUBORDINATION, ATTORNMENT AND REGISTRATION

  10.1.   STATUS CERTIFICATES
          The Tenant shall at any time and from time to time upon not less than five (5) days' prior notice, execute
          and deliver to the Landlord or as the Landlord may direct a statement in writing certifying that this Lease is
          unmodified and in full force and effect (or if modified, stating the modification and stating that the same is
          in full force and effect as modified) the amount of, the annual rent and any other amounts than being paid
          hereunder, the dates to such rent and other charges payable hereunder have been paid, the particulars and
          amounts of insurance policies on the Premises and whether or not there is any existing default on the part of
          the Landlord of which the Tenant has notice. Any such statement may be conclusively relied upon by any
          prospective purchaser or any Mortgagee or any prospective Mortgagee.

  10.2.   SUBORDINATION AND ATTORNMENT
          (a)      Subject to the provisions of subsection (b) hereof, this Lease and the rights of the Tenant
                   hereunder shall be subject and subordinate to all existing or future Mortgages and to all renewals,
                   modifications, consolidations, replacements and extensions thereof and, whenever requested by
                   the Landlord, the Tenant will promptly subordinate this Lease and the rights of the Tenant
                   hereunder in such form as the Landlord may require. When requested by a Mortgagee, the Tenant
                   will agree in writing with such Mortgagee, if such Mortgagee becomes a mortgagee in possession
                   or realizes on its security, to attorn to such Mortgagee as a tenant upon all the terms of this Lease.

          (b)      Upon the written request of the Tenant, and as a condition of the Tenant subordinating this Lease
                   and the rights of the Tenant to a Mortgage, the Landlord shall obtain a subordination agreement
                   from the Mortgagee, in form and substance acceptable to the Tenant (acting reasonably) to the
                   effect that the Tenant will be permitted to remain in quiet possession of the Premises pursuant to
                   the provisions of this Lease, without interruption or disturbance from the Mortgagee if the Tenant
                   complies with all its obligations contained herein.

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  10.3.   RECORDATION
          The Tenant will not record this Lease but may record a short form or abstract thereof for the purpose only
          of giving notice of the material terms of this Lease, the location of the Premises and the Term, but not any
          financial provisions of this Lease.


                                   11.       LIMITATION OF LIABILITIES

  11.1.   APPLICATION OF UNAVOIDABLE DELAY
          Except as herein otherwise expressly provided, if an whenever and to the extent that either the Landlord or
          the Tenant shall be prevented, delayed or restricted in the fulfillment of any obligation hereunder other than
          the payment of rent or other monies due, by reason of Unavoidable Delay, the time for such fulfillment
          shall be extended during the period in which such circumstance operates to delay the fulfillment and the
          other party to this Lease shall not be entitled to compensation for any inconvenience, nuisance or
          discomfort thereby occasioned.

  11.2.   WAIVER
          If the Landlord overlooks, excuses, condones or suffers any default by the Tenant of any of its obligations
          hereunder, or vice versa, this shall not operate as a waiver of such obligation in respect of any continuing or
          subsequent default, and no such waiver shall be implied but shall only be effective if expressed in writing.
          The subsequent acceptance of rent by the Landlord will not be considered to be a waiver of a preceding
          breach by the Tenant of a term, covenant or condition of this Lease, regardless of the knowledge of the
          Landlord of the preceding breach at the time of acceptance of the rent.

  11.3.   INDEMNITY BY TENANT
          The Tenant will indemnify and save harmless the Landlord against and from any and all expenses, costs,
          damages, suits, actions or liabilities arising or growing out of any default by the Tenant hereunder, and
          from all claims and demands of every kind and nature made by any person or persons to or against the
          Landlord, for all and every manner of costs, damages or expenses incurred by or injury or damage to such
          person or persons or his, her or their property, which claims or demands may arise howsoever out of the use
          and occupation of the Premises or the use of any part of the Premises by the Tenant or any subtenant or
          occupant or any of them or their respective servants, agents, assistants, employees, invitees, or by any
          person for whom the Tenant is responsible in law, who may enter the Premises to attend at the Premises,
          and from all costs, legal fees, expenses and liabilities incurred in or about any such claim or any action or
          proceeding brought thereon; provided however, that this indemnity shall only apply to the extent of the
          insurance and insurance limits required to be obtained by the Tenant pursuant to this Lease (whether
          actually obtained or not), including, without limitation, the Tenant’s legal liability insurance.


                                                  12.      ACCESS

  12.1.   ENTRY BY LANDLORD
          The Landlord shall be permitted, at any time and from time to time, to enter the Premises for the purpose of
          inspection, providing janitor services, maintenance, making repairs, Alterations or improvements to the
          Premises or the Premises or to have access to utilities and services, and the Tenant shall not be entitled to
          compensation for any inconvenience, nuisance or discomfort caused thereby.

  12.2.   LANDLORD'S RIGHT OF REPAIR AND TO ALTER COMMON AREAS
          The Landlord shall have the right to install, maintain and/or repair pipes, wires, ducts or other installations
          in, under or through the Premises for or in connection with the supply of any services to the Premises or the

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          Premises or any part thereof; and to alter the Common Areas from time to time as the Landlord may desire
          and to conduct repairs, renovations or additions to the Premises or any part thereof including the Premises,
          and none of the above shall constitute a breach by the Landlord of any of the Landlord's covenants for quiet
          enjoyment or shall entitle the Tenant to any damages, diminution of rent or any other remedies, provided
          however, that in so doing, the Landlord shall not interfere with any of the Tenant’s wiring, conduits,
          electrical or telecommunications wires or fibers which the Tenant has installed in any part of the Premises
          or the Lands.


                                                 13.      DEFAULT

  13.1.   DEFAULT AND REMEDIES
          If and whenever an Event of Default occurs, then without prejudice to any other rights which it has
          pursuant to this Lease or at law, the Landlord shall have the following rights and remedies, which are
          cumulative and not alternative:

          (a)     to terminate this Lease by notice to the Tenant;

          (b)      to enter the Premises as agent of the Tenant and to re-let the Premises for whatever term, and on
                   such terms as the Landlord in its discretion may determine and to receive the rent therefore and as
                   agent of the Tenant on the Premises, to store such property at the expense and risk of the Tenant or
                   to sell or otherwise dispose of such property in such manner as the Landlord may see fit without
                   notice to the Tenant; to make Alterations to the Premises to facilitate their re-letting; and to apply
                   the proceeds of any such sale or re-letting first, to the payment of any expenses incurred by the
                   Landlord with respect to any such re-letting or sale; second, to the payment of any indebtedness of
                   the Tenant to the Landlord other than rent; and third, to the payment of Rent in arrears; with the
                   residue to be held by the Landlord and applied in payment of future Rent as it becomes due and
                   payable. The Tenant shall remain liable for any deficiency to the Landlord;

          (c)      to remedy or attempt to remedy any default of the Tenant under this Lease for the account of the
                   Tenant and to enter upon the Premises for such purposes. No notice of the Landlord's intention to
                   perform such covenants need be given the Tenant unless expressly required by this Lease. The
                   Landlord shall not be liable to the Tenant for any loss, injury or damage caused by acts of the
                   Landlord in remedying or attempting to remedy such default and the Tenant shall pay to the
                   Landlord all expenses incurred by the Landlord in connection with remedying or attempting to
                   remedy such default;

          (d)      to notify all subtenants present on Premises to immediately begin payment of the assigned rents to
                   Landlord directly without setoff or payment to Tenant of any kind.

          (e)      to recover from the Tenant all damages, and expenses incurred by the Landlord as a result of any
                   breach by the Tenant, including, without limitation, if the Landlord terminates this Lease, damages
                   resulting from the loss of the benefit of the unexpired portion of the Term had this lease not been
                   terminated; and

          (f)     in the event of bankruptcy or insolvency of the Tenant, to recover from the Tenant the full amount
                  of the current month's Rent together with the next 3 months' installments of Rent, all of which
                  shall accrue on a day-to-day basis and shall immediately become due and payable as accelerated
                  Rent.

  13.2.   CONTRACTUAL AND LANDLORD’S LIEN
          Notwithstanding any provision of this Lease or any provision of applicable legislation, none of the goods

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          and chattels of the Tenant or of any subtenants on the Premises at any time during the Term shall be
          exempt from contractual or landlord lien for Rent in arrears, and the Tenant waives any such exemption. If
          the Landlord makes any claim against the goods and chattels of the Tenant by way its liens, this provision
          may be pleaded as an estoppel against the Tenant in any action brought to test the right of the Landlord to
          levy such lien.

  13.3.   COSTS
          The Tenant shall pay to the Landlord all damages and costs (including, without limitation, all legal fees and
          court costs) incurred by the Landlord in enforcing the terms of this Lease, or with respect to any matter or
          thing which is the obligation of the Tenant under this Lease, or in respect of which the Tenant has agreed to
          insure, or to indemnify the Landlord.

  13.4.   ALLOCATION OF PAYMENTS
          The Landlord may at its option apply sums received from the Tenant against any amounts due and payable
          by the Tenant under this Lease in such manner as the Landlord sees fit.

  13.5.   SURVIVAL OF OBLIGATIONS
          If the Tenant has failed to fulfill its obligations under this Lease with respect to the maintenance, repair and
          alteration of the Premises, such obligations and the Landlord's rights in respect thereto shall remain in full
          force and effect notwithstanding the expiration or sooner termination of the Term.

  13.6.   REMEDIES GENERALLY
          The mention in this lease of any particular remedy or remedies of the Landlord in respect of any Event of
          Default by the Tenant shall not preclude the Landlord from any other remedy in respect thereof, whether
          available at law or in equity, or by statute, or expressly provided for herein. No remedy shall be exclusive
          or dependent upon any other remedy, but the Landlord may from time to time exercise any one or more of
          such remedies generally or in combination, such remedies being cumulative and not alternative.


                               14.      TENANT’S RIGHT OF TERMINATION

  14.1.   NOTICE OF TERMINATION
          Notwithstanding anything to the contrary contained in this Lease:

          (a)      The Tenant shall be entitled to terminate this Lease, effective anytime within the term of this
                   Lease or any extension thereof (the “First Termination Date”), in the event Tenant elects to
                   exercise its right to purchase the Midtown Live Center;

          (b)      The termination referred to in subsection (a) shall be effected by the Tenant giving written notice
                   of its intent to purchase the Premises and desire to terminate this Lease (the “First Termination
                   Notice”) to the Landlord, which First Termination Notice shall be delivered to the Landlord in
                   writing along with an executed copy of the attached Agreement of Purchase and Sale.

  14.2.   TERMINATION OF LEASE
          Upon the First Termination Notice being given by the Tenant to the Landlord pursuant to the provisions of
          Section 14.1, then, and in such event, and on the First Termination Date this Lease shall terminate upon the
          closing of the purchase and sale of the Premises.




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                                                   15.      RENEWAL
  15.1.    OPTION TO RENEW
           The Tenant shall have the option to renew this Lease with respect to all or any portion of the Premises for
           one five (5) year term, provided that the Tenant gives the Landlord written notice not later than six (6)
           months prior to the expiration of the then Term and not earlier then twelve (12) months prior to the
           expiration of the then Term, which written notice shall stipulate those portions of the Premises in respect
           whereof this Lease is being renewed.

  15.2.    RENEWAL PROVISIONS
           All provisions, terms and conditions of the Lease shall be applicable during the renewal terms, except that
           there shall be no further rights to renew the Lease beyond the final renewal period and the yearly Base Rent
           payable during the renewal term shall be equal to the greater of $9,53823 per month for the fair market rent
           for the Premises. Fair market rent shall mean the most probable rent which would be obtainable by the
           Landlord for a lease of the Premises for the relevant renewal term in an open and competitive market, the
           Landlord and such tenant each acting prudently and knowledgeably. In determining such fair market rent
           the parties shall take into account all relevant factors, including, without limitation (i) the age and condition
           of the Premises on the commencement date of the renewal term; (ii) rent that would be payable by such
           tenant to lease comparable premises in a comparable location for the relevant renewal term; and (iii) the
           Building Systems and other features and attributes of the Premises. If the parties cannot agree on the fair
           market rent for the Premises, it shall be determined by arbitration in accordance with the arbitration
           provisions set forth in Section 21 hereof.


                                             16.         NOTICE OF SALE

  In the event that the Landlord is desirous of selling the Midtown Live Center after Tenant’s option to purchase has
  expired, the Landlord covenants and agrees that at least thirty (30) days prior to the Landlord retaining any agent or
  third party for the sale of the Premises, the Landlord shall give written notice to the Tenant that the Landlord intends
  to sell the Premises, it being the intent of this Section that the Tenant shall have thirty (30) days notice of the
  Landlord’s intent to sell the Premises before the Landlord retains an agent to market the Lands and Premises for
  sale.


                                           17.       IMMINENT DOMAIN

  If the whole or any material part of the Premises is taken by imminent domain, the Landlord may at its option give
  notice to the Tenant terminating this Lease on the date when the Tenant or Landlord is required to surrender
  possession thereof to the governmental authority. Upon such termination, or upon termination by operation of law,
  as the case may be, the Tenant shall immediately surrender the Premises and all its interest therein, and the rent shall
  abate and be apportioned to the date of termination and the Tenant shall forthwith pay to the Landlord the
  apportioned rent and all other amounts which may be due to the Landlord up to the date of termination. The Tenant
  shall have a claim upon the Landlord for the value of its property or the unexpired term of this Lease. Both the
  Landlord and the Tenant shall each retain their individual rights to claim damages from the expropriation authorities
  as a result of such expropriation.


                                                   18.      PARKING
  18.1.    TENANTS PARKING
           Throughout the Term, and as required by the Tenant or its employees and subtenants the Landlord shall on
           the Commencement Date make available for the use of the Tenant or its employees and subtenants all
           parking which exists on the Premises.

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  18.2.    TENANT’S FURTHER RIGHTS

                     (i)        to designate the number of parking stalls for each subtenant; and

                     (ii)       to designate the number of parking stalls which are to be reserved designated parking
                                stalls;

  18.3.    VISITOR PARKING
           Tenant shall address all issues associated with visitor parking during the Term of this Lease.


                                      19.         STANDARD OF PERFORMANCE
  Subject to the terms of this Lease, the Landlord, in carrying out its obligations, exercising its discretion and making
  decisions relative to the Premises, will act, and will direct its agents, employees, contractors and representatives to
  act, in a commercially prudent and reasonable manner as would an experienced, sophisticated landlord of buildings
  of similar character, size and age and in so doing will meet or exceed, in all material respects, the Building Standard
  and shall make itself available to receive and respond to suggestions and requests made by the Tenant with respect
  to the standard of operation and condition of the Lands, the Premises. Subject to the terms of this Lease, the Tenant
  in carrying out its obligations, exercising its discretion and making decisions relative to the Premises, will act and
  will direct its agents, employees, contractors and representatives to act in a commercially prudent and reasonable
  manner.


                                            20.      GENERAL PROVISIONS

  20.1.    HOLDINGOVER
           If the Tenant remains in possession of the Premises after the end of the Term with the consent of the
           Landlord but without having executed and delivered a new lease or an agreement extending the Term, there
           shall be no tacit renewal of this Lease, and the Tenant shall be deemed to be occupying the Premises as a
           month to month tenant at a monthly Rent payable in advance on the first day of each month equal to the
           greater of (i) an amount equal to one hundred ten (110%) percent of the monthly amount of Rent payable
           during the last month of the Term, or (ii) the market rent for similar premises as determined by the
           Landlord in its sole discretion and otherwise upon the same terms as are set forth in this Lease, so far as
           these are applicable to a monthly tenancy.

  20.2.    LANDLORD’S CONSENT
           Whenever the Landlord’s or Tenant’s consent is to be provided in accordance with the provisions of this
           Lease, unless the context otherwise specifically dictates, such consent shall not be unreasonably withheld
           or delayed.

  20.3.    TENANT’S RIGHT AND OPTION TO PURCHASE THE PREMISES
           At any time during the term of this Lease or any extension thereof that Tenant is not in default under this
           Lease, Tenant, Selena Cash, Mike Cash and Mernet Cash shall have the exclusive right to purchase the
           Premises on the terms of this provision and the specific terms of the Agreement to Purchase and Sale
           Agreement attached hereto and made a part of this Lease as Schedule 2.

               (a)          The purchase price shall be the greater of

                     (i) the then current appraised value as determined by an MAI appraiser familiar with the Austin,
                              Texas commercial real estate market; and
                     (ii) $1,575,000; provided, however that if closing for the purchase occurs prior to February 29,

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                             2020, the purchase price shall be $1,575,000.00 plus $6,279.40 for each month remaining
                             prior to February 29, 2020. For a partial month remaining prior to February 29, 2020,
                             $6,279.40 shall be prorated as of closing. If closing occurs after the Rent for February
                             2020 has been paid, the purchase price shall be $1,575,000.00.

  20.4     RIGHT OF FIRST REFUSAL

            At any time during the term of this Lease or any extension thereof that Tenant is not in default under this
  Lease, Tenant, Selena Cash, Mike Cash and Mernet Cash shall have the exclusive right to match the terms of a bona
  fide offer from a third party to purchase the Midtown Live Center provided that the Landlord desires to accept such
  third party offer.

           In such event, Landlord shall give Tenant written notice of its receipt of and desire to accept such offer
  within three (3) days of Landlord’s receipt of such offer. Tenant shall then have ten (10) days to provide Landlord
  written notice of its decision whether or not to exercise its right of first refusal.

          Any third party who makes an offer to purchase the Midtown Live Center must be notified in writing by
  Landlord of Tenant’s rights under Section 20.4 within three (3) days of Landlord’s receipt of such offer.

          The relevant terms of the Agreement of Purchase and Sale attached hereto and made a part of this Lease as
  Schedule 2 are incorporated herein.

  20.5     RIGHT TO MANAGE MIDTOWN LIVE CENTER
           Provided that Tenant is not in default under the terms of this Lease, Tenant shall have the exclusive right to
  manage the Midtown Live Center on the terms set out in the Management Agreement attached hereto and made a
  part hereof as Schedule 4.

  20.6     NOTICES
           Any notice, statement or request given by either party to the other shall be in writing and shall be deemed
           to have been effectually given if signed by or on behalf of the party giving the notice and delivered or
           mailed by registered prepaid post, or sent by facsimile transmission:

               (a)       in the case of notice to the Landlord, to it at:

                         John Hoberman, LLC
                         XXXXXXXXXXXXXXX
                         XXXXXXXXXXXXXXX
                         Attention: John Hoberman
                         Fax No.:     (512) XXXXXXXXXXXXXXX


                         With a copy to:

                         McLeroy Alberts & Benjamin, P.C.
                         608 W. 12th Street, Suite A
                         Austin, TX 78702
                         Attention: Chris Benjamin
                         Fax No.:     (512) 472-1622




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             (b)       in the case of notice to the Tenant, to it at.

                       4709 Incorporated
                       XXXXXXXXXXXXXXX
                       XXXXXXXXXXXXXXX
                       Attention: XXXXXXXXXXXXXXX
                       Fax No.:    (512) XXXXXXXXXXXXXXX

                       With a copy to:

                       Frank B. Lyon, Attorney at Law
                       3508 Far West Blvd., Suite 170
                       Attention: Frank Lyon
                       Austin, Texas 78734
                       Fax No.:     (512) 697-0047

          Any such notice given as aforesaid shall be conclusively deemed to have been given, if delivered, on the
          first Business Day following the date of such delivery or, if mailed, on the third Business Day following the
          date of such mailing. Any notice sent by facsimile transmission shall be deemed to be received on the date
          it is received by the recipient’s facsimile machine. Any party may from time to time by notice to the other
          change the address to which notices are to be given. During any interruption, threatened interruption, or
          substantial delay in postal service, such notice shall be delivered by hand or sent by facsimile transmission
          as aforesaid.

  20.7    SUCCESSORS
          The rights and liabilities created by this Lease extend to and bind the successors and assigns of the
          Landlord and the permitted successors and assigns of the Tenant.

  20.8    QUIET ENJOYMENT
          If the Tenant pays Rent, fully performs all of its obligations under this Lease, and there has been no Event
          of Default, the Tenant shall be entitled to peaceful and quiet enjoyment of the Premises for the Term
          without interruption or interference by the Landlord or any Person claiming through the Landlord.

  20.9    CAPTIONS, SECTION NUMBERS AND TABLE OF CONTENTS
          The captions, section numbers and table of contents appearing in this Lease are inserted only as a matter of
          convenience and in no way affect the substance of this Lease.

  20.10   EXTENDED MEANINGS
          The words "hereof", "hereto", and "hereunder" and similar expressions used in this Lease relate to the
          whole of this Lease and not only to the provisions in which such expressions appear. This Lease shall be
          read with all changes in number and gender as may be appropriate or required by the context. Any
          reference to the Tenant includes, where the context allows, the employees, agents, invitees and licensees of
          the Tenant and all others over whom the Tenant might reasonably be expected to exercise control.

  20.11   APPLICABLE LAW
          This Agreement shall be interpreted according to the laws of the state of Texas.

  20.12   PARTIAL INVALIDITY
          All of the provisions of this Lease are to be construed as covenants even though not expressed as such. If
          any such provision is held or rendered illegal or unenforceable it shall be considered separate and severable


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          from this Lease and the remaining provisions of this Lease shall remain in force and bind the parties as
          though the illegal or unenforceable provision had never been included in this Lease.

  20.13   ENTIRE AGREEMENT
          This Lease and the Schedules attached hereto set forth the entire agreement between the Landlord and
          Tenant concerning the Premises and there are no agreements or understandings between them other than as
          are herein set forth. This Lease and its Schedules may not be modified except by agreement in writing
          executed by the Landlord and Tenant.

  20.14   TIME OF THE ESSENCE
          Time is of the essence of this Lease.


  IN WITNESS WHEREOF the parties hereto have executed this Lease as of the day and year first above written.

                                                  LANDLORD:

                                                  JOHN HOBERMAN, LLC


                                                  By:_________________________________
                                                    JOHN HOBERMAN
                                                    Its: Manager




                                                  TENANT:

                                                  4709 INCORPORATED


                                                  By: _________________________________
                                                      SELENA CASH

                                                  Its: President__________________________




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                                       SCHEDULE 1


           LEGAL DESCRIPTION OF MIDTOWN LIVE CENTER SHOWING THE PREMISES




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                                       SCHEDULE 2


                           AGREEMENT OF SALE AND PURCHASE




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                                       SCHEDULE 3

                                 RULES AND REGULATIONS


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                                       SCHEDULE 4

                                MANAGEMENT AGREEMENT
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                                  EXHIBIT 14

         Proof of Claim No. 8 in 4709 Incorporated’s 2014 Bankruptcy Case
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                           Amounts due under 4709, Inc.'s Promissory Note
                          to Pride of Austin High Yield Fund I, LLC as of 3/3/14



  Principal                                                                  $1,359,854.57
  Interest                                                                      $41,578.02

  Total as of petition date                                                  $1,401,432.59 *




* Pride of Austin reserves the right to collect post‐petition interest and attorneys' fees to the extent
  permitted under 11 U.S.C. § 506. Current per diem at the 18% default rate is $670.61. Current per
  diem at the 12.9% non‐default rate is $480.61.
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                           Exhibits 1 - 22 Pg 226 of 330
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                                  EXHIBIT 15

        Proof of Claim No. 10 in 4709 Incorporated’s 2014 Bankruptcy Case
21-01030-tmd
      14-10340-tmd
             Doc#9-3
                   Claim#10-1
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 4709 Incorporated

 Case No. 14-10340



 OTHER CHARGES INCLUDED IN THE CLAIM



 Interest charged for March, 2014    $1,880.00

 Legal fees – Chris Benjamin         10,273.40

 Bankruptcy attorney fee               500.00

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 Total other charges                 $12,653.40
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21-01030-tmd
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21-01030-tmd
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14-10340-tmd
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14-10340-tmd
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                         Exhibits 1 - 22 Pg 253 of 330



                                  EXHIBIT 16

        Proof of Claim No. 11 in 4709 Incorporated’s 2014 Bankruptcy Case
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      14-10340-tmd
             Doc#9-3
                   Claim#11-1
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                          Exhibits 1 - 22 Pg 255 of 330
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 4709 Incorporated

 Case No. 14-10340



 OTHER CHARGES INCLUDED IN THE CLAIM



 Interest charged for March, 2014   $1,250.00

 Bankruptcy attorney fee              500.00

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 Total other charges                $1,750.00
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 21-01030-tmdClaim#11-1
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14-10340-tmd
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21-01030-tmd
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                                   EXHIBIT 17

         Notice of Removal in Cash v. Sheridan et al. Adversary Proceeding
21-01034-tmd
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                            THE UNITED STATES BANKRUPTCY COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

   IN RE:                                            §   CASE NO. 21-10355-tmd
                                                     §
   CCS ASSET MANAGEMENT, INC.,                       §
                                                     §
   DEBTOR                                            §   CHAPTER 11 PROCEEDING



   ARLETHA CASH, Independent                         §
   Executor of the Estate of                         §
   Selena D. Cash, Deceased,                         §
                  Plaintiff                          §
                                                     §
   v.                                                §
                                                     §
   ANTHONY L. SHERIDAN,                              §   ADVERSARY NO.
   WILLIAM SHERIDAN,                                 §
   LINDA SHERIDAN,                                   §
   CEAIRA C. SHERIDAN,                               §
   CCS ASSET MANAGEMENT, INC.,                       §
   JOHN HOBERMAN and                                 §
   ALMAGEN LLC,                                      §
               Defendants                            §

                                       NOTICE OF REMOVAL


            Plaintiff, Arletha Cash, Independent Executor of the Estate of Selena D. Cash, pursuant to

   28 U.S.C. §§1334 and 1452, Federal Rule of Bankruptcy Procedure 9027, and Local Rule of

   Bankruptcy Procedure 9027(b)(1), hereby files this Notice of Removal of Cause No.

   C-1-PB-19-002179, from the Probate Court of Travis County, Texas, where this action was

   commenced, to this Court and as grounds for such removal, states as follows:

            1.     On November 13, 2019, Plaintiff filed her Original Petition in the Probate Court (the

   "State Court"), thus initiating the "State Court Lawsuit." The State Court Lawsuit names as

   Defendants Anthony L. Sheridan, William Sheridan, Linda Sheridan, Ceaira C. Sheridan, CCS

   Asset Management, Inc., John Hoberman and Almagen LLC.
21-01034-tmd
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          2.      On May 3, 2021, (the "Petition Date"), the Debtor, CCS Asset Management, Inc.,

   filed a voluntary petition for relief under Chapter 11 of the Bankruptcy Code in the United States

   Bankruptcy Court for the Western District of Texas, Austin Division.

          3.      Plaintiff timely files this Notice of Removal within 90 days of the Petition Date

   pursuant to Federal Rule of Bankruptcy Procedure 9027(a)(2).

          4.      The United States District Court for the Western District of Texas has original

   jurisdiction over this action pursuant to 28 U.S.C. §1334, and removal to this Bankruptcy Court is

   proper pursuant to 28 U.S.C. §§1334 and 1452 and Federal Rule of Bankruptcy Procedure 9027.

          5.      Statement Pursuant to Federal Rule of Bankruptcy Procedure 9027(a)(1): Removal

   is proper pursuant to 28 U.S.C. §§1334 and 1452 because the issues raised in the State Court

   Lawsuit are core matters pursuant to, inter alia, 28 U.S.C. §157(b)(2)(A), (K) and (O). To the extent

   that any claim or cause of action in the State Court Lawsuit is deemed to be non-core, or it is

   otherwise determined that the Court cannot enter final orders or judgments consistent with Article

   III of the United States Constitution, Plaintiff consents to the entry of final orders or judgments by

   the Court.

          6.      The State Court Lawsuit was filed in Travis County, Texas. Pursuant to Federal Rule

   of Bankruptcy Procedure 9027 and 28 U.S.C. §§1334 and 1452, the United States Judicial District

   for the Western District of Texas, Austin Division, is the United States district and division

   embracing that county, and removal to this Bankruptcy Court is proper pursuant to 28 U.S.C. §1452

   and Federal Rule of Bankruptcy Procedure 9027.

          7.      A copy of the State Court Lawsuit Docket Sheet is attached as Exhibit A. Copies of

   the State Court Lawsuit pleadings have not been attached at this time, because such copies are

   voluminous. Such pleadings will be filed with the Court on a CD.

          8.      As set forth in the attached Certificate of Service, Plaintiff has given written notice

   to all parties to the State Court Lawsuit, through their counsel, of the filing of this Notice of

   Removal. Furthermore, Movants will promptly file a copy of this Notice of Removal with the Clerk

   of the Probate Court of the State of Texas, County of Travis, the court from which the State Court
21-01034-tmd
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   Lawsuit was removed. In addition to the parties to the State Court Lawsuit, the U.S. Trustee is

   being served with this Notice of Removal.

          WHEREFORE, Plaintiff hereby removes the civil action pending in Cause No.

   C-1-PB-19-002179, from the Probate Court of Travis County, Texas to this Court.

                                               Respectfully submitted,

                                               /s/ Kemp W. Gorthey
                                               Kemp W. Gorthey
                                               State Bar No. 08221275
                                               Kendall L. Bryant
                                               State Bar No. 24058660
                                               Elizabeth von Kreisler
                                               State Bar No. 24047273
                                               THE GORTHEY LAW FIRM, PLLC
                                               604 West 12th Street
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                                               Tel: 512- 699-8006
                                               Fax: 512-479-6417
                                               Email: kemp@gortheylaw.com

                                               -and-

                                               C. Daniel Roberts
                                               State Bar No. 16999200
                                               C. DANIEL ROBERTS, P.C.
                                               1602 E. Cesar Chavez
                                               Austin, Texas 78702
                                               Tel: 512-494 8448
                                               Fax: 512-494 8712
                                               Email: droberts@cdrlaw.net

                                               ATTORNEYS FOR ARLETHA CASH
21-01034-tmd
    21-01030-tmd
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                 Doc#9-3
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                                    CERTIFICATE OF SERVICE

          By my signature above, I hereby certify that on July 27, 2021, a true and correct copy of the
   foregoing Notice of Removal was forwarded to counsel of record as follows:

          Via Email: lwoods@dwmrlaw.com
          Leonard W. Woods
          DUGGINS WREN MANN & ROMERO, LLP
          600 Congress Avenue, Suite 1900
          P. O. Box 1149
          Austin, Texas 78767-1149
          -and-
          Via Email: service@kellylegalgroup.com
          Jeffrey S. Kelly
          Keith McMahon
          Christian A. Davila
          THE KELLY LEGAL GROUP, PLLC
          P.O. BOX 2125
          Austin, Texas 78768-2125
          ATTORNEYS FOR ANTHONY L. SHERIDAN,
          WILLIAM SHERIDAN, LINDA SHERIDAN,
          CEAIRA C. SHERIDAN and CCS ASSET MANAGEMENT, INC.

          Via Email: dbrenner@bajb.com
          David Brenner
          BURNS ANDERSON JURY & BRENNER, L.L.P.
          P. O. Box 26300
          Austin, Texas 78755-0300
          ATTORNEY FOR JOHN HOBERMAN
          and ALMAGEN, LLC

          Via Email: anthony@icenoglefirm.com
          Anthony Icenogle
          ICENOGLE & BOGGINS, PLLC
          6907 Capital of Texas Hwy., Suite 220
          Austin, Texas 78731
          STATE COURT APPOINTED RECEIVER

          Via Email: rshannon@parkinslee.com
          R. J. Shannon
          PARKINS LEE & RUBIO LLP
          Pennzoil Place
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          Houston, Texas 77002
          ATTORNEY FOR CCS ASSET MANAGEMENT, INC.
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         Office of The United States Trustee
         903 San Jacinto Blvd, Room 230
         Austin, TX 78701
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    21-01030-tmd
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                             Exhibit A
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                        Doc#9-3
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                                                                                                   Select Language ​▼          A   AA




        All Probate Events                                                                               << Return to Details



                Causes and Parties                                            Probate Order Events


          Full                   Party                                 Event
                     Atto…                          Event                          Party       Event
          Name                   Type                                  Seq.                                              Amount
                                                    Date                           Type        Description
                                                                       No.
          SHER…      TAGT…       DF1
          ANT…       BRIAN
                                                    11/13/2019         1                       OPN:ORIGINAL
          L          JAMES
                                                                                               PETITION
                     &
                     KELLY
                                                    11/14/2019         1           PL1         ASM:PB OTHER                $240.00
                     JEFFR…
                                                                                               TRUST/CV
                     SCOTT
                                                                                               ACTION
                     &
                     MCM…
                     KEITH
                                                    11/14/2019         2           PL1         ASM:PB                        $20.00
                     STEV…
                                                                                               ISSUANCE FEE
                     &
                     DAVI…                          11/14/2019         3                       MSC:PB CALL TO
                     CHRI…                                                                     COUNSEL LESS
                     ADRI…                                                                     15

          SHER…      TAGT…       DF1                11/14/2019         rcpt                    PMT:PB OTHER                $240.00
          ANT…       BRIAN                                                                     TRUST/CV
          L          JAMES                                                                     ACTION
                     &
                     KELLY
                                                    11/14/2019         rcpt                    PMT:PB                        $20.00
                     JEFFR…
                                                                                               ISSUANCE FEE
                     SCOTT
                     &
                                                    11/15/2019         1                       ORD:PB TEMP
                     MCM…
                                                                                               RESTRAINING
                     KEITH
                                                                                               ORD
                     STEV…
                     &
                     DAVI…                          11/21/2019         1                       PLD:PB
                     CHRI…                                                                     PLEADING OR
                     ADRI…                                                                     MOTION




https://countyclerk.traviscountytx.gov/component/chronoconnectivity6/?cont=manager&conn=probate-data&event=all&cause_number=C-1-PB-19-002…   1/9
7/21/2021
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           21-01030-tmd
                     Doc#1
                        Doc#9-3
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                                                   Exhibits 1 - 22 Pg 275 of 330
          Full                   Party                                 Event
                     Atto…                          Event                          Party       Event
          Name                   Type                                  Seq.                                              Amount
                                                    Date                           Type        Description
                                                                       No.
          SHER…      TAGT…       DF2
          WILLI…     BRIAN                          11/21/2019         2                       PLD:PB
                     JAMES                                                                     PLEADING OR
                     &                                                                         MOTION
                     KELLY
                     JEFFR…
                                                    11/21/2019         3                       ORD:PB TEMP
                     SCOTT
                                                                                               RESTRAINING
                     &
                                                                                               ORD
                     MCM…
                     KEITH
                                                    11/25/2019         1           PL1         ORD:CASH                    $100.00
                     STEV…
                                                                                               BOND
                     &
                     DAVI…
                     CHRI…                          11/25/2019         rcpt                    PMT:PB CASH                 $100.00
                     ADRI…                                                                     BOND

          SHER…      TAGT…       DF2                12/16/2019         1                       PLD:PB RULE 11
          WILLI…     BRIAN                                                                     AGREEMENT
                     JAMES
                     &
                                                    01/10/2020         1                       MOT:PB
                     KELLY
                                                                                               CONTEMPT
                     JEFFR…
                     SCOTT
                                                    01/10/2020         2                       PLD:PB
                     &
                                                                                               AMENDED
                     MCM…
                                                                                               PETITION
                     KEITH
                     STEV…
                     &                              01/13/2020         1           PL1         ASM:CONSTABLE               $160.00
                     DAVI…                                                                     SERVICE FEE
                     CHRI…
                     ADRI…                          01/13/2020         2           PL1         ASM:PB                         $8.00
                                                                                               ISSUANCE FEE

                                                    01/13/2020         3           PL1         ASM:PB COPY                   $44.00
                                                                                               FEE

                                                    01/13/2020         4           PL1         ISS:PB CIVIL
                                                                                               CITATION

                                                    01/13/2020         5                       ISS:PB FILE COPY
                                                                                               OF ISSUANCE

                                                    01/13/2020         6                       ISS:PB FILE COPY
                                                                                               OF ISSUANCE


https://countyclerk.traviscountytx.gov/component/chronoconnectivity6/?cont=manager&conn=probate-data&event=all&cause_number=C-1-PB-19-002…   2/9
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          Full                   Party                                 Event
                     Atto…                          Event                          Party       Event
          Name                   Type                                  Seq.                                              Amount
                                                    Date                           Type        Description
                                                                       No.
          SHER…      TAGT…       DF3
          LINDA      BRIAN                          01/13/2020         rcpt                    PMT:CONSTABLE               $160.00
                     JAMES                                                                     SERVICE FEE
                     &
                     KELLY
                                                    01/13/2020         rcpt                    PMT:PB COPY                   $44.00
                     JEFFR…
                                                                                               FEE
                     SCOTT
                     &
                                                    01/13/2020         rcpt                    PMT:PB                         $8.00
                     MCM…
                                                                                               ISSUANCE FEE
                     KEITH
                     STEV…
                     &                              01/23/2020         1                       PLD:PB
                     DAVI…                                                                     CITATION RET
                     CHRI…                                                                     SERVED
                     ADRI…
                                                    01/23/2020         2                       PLD:PB
          SHER…      TAGT…       DF3                                                           CITATION RET
          LINDA      BRIAN                                                                     SERVED
                     JAMES
                     &
                                                    02/04/2020         1                       MOT:PB
                     KELLY
                                                                                               SUBSTITUTED
                     JEFFR…
                                                                                               SERVICE
                     SCOTT
                     &
                                                    02/06/2020         1                       PLD:PB NOTICE
                     MCM…
                                                                                               OF HEARING
                     KEITH
                     STEV…
                     &                              02/11/2020         1                       MOT:PB SHOW
                     DAVI…                                                                     CAUSE
                     CHRI…
                     ADRI…                          02/11/2020         2           PL1         ASM:PB COPY                    $4.00
                                                                                               FEE

                                                    02/11/2020         3                       ORD:PB SHOW
                                                                                               CAUSE

                                                    02/11/2020         4                       ORD:PB
                                                                                               SUBSTITUTED
                                                                                               SERVICE

                                                    02/11/2020         rcpt                    PMT:PB COPY                    $4.00
                                                                                               FEE




https://countyclerk.traviscountytx.gov/component/chronoconnectivity6/?cont=manager&conn=probate-data&event=all&cause_number=C-1-PB-19-002…   3/9
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          Full                   Party                                 Event
                     Atto…                          Event                          Party       Event
          Name                   Type                                  Seq.                                              Amount
                                                    Date                           Type        Description
                                                                       No.
          SHER…      TAGT…       DF4
          CEAI…      BRIAN                          02/12/2020         1                       ISS:PB FILE COPY
          C          JAMES                                                                     OF ISSUANCE
                     &
                     KELLY
                                                    02/19/2020         1                       PLD:PB
                     JEFFR…
                                                                                               PLEADING OR
                     SCOTT
                                                                                               MOTION
                     &
                     MCM…
                                                    02/24/2020         1                       PLD:PB
                     KEITH
                                                                                               CITATION RET
                     STEV…
                                                                                               SERVED
                     &
                     DAVI…
                     CHRI…                          02/24/2020         2                       PLD:PB
                     ADRI…                                                                     CITATION RET
                                                                                               SERVED
          SHER…      TAGT…       DF4
          CEAI…      BRIAN                          02/24/2020         3                       PLD:PB
          C          JAMES                                                                     ATTORNEY
                     &                                                                         VACATION LTR
                     KELLY
                     JEFFR…
                                                    03/06/2020         1                       PLD:PB ANSWER
                     SCOTT
                     &
                                                    03/09/2020         1           DF6         ASM:CV JURY                   $40.00
                     MCM…
                                                                                               DEMAND FEE
                     KEITH
                     STEV…
                     &                              03/09/2020         2                       PLD:PB ANSWER
                     DAVI…
                     CHRI…                          03/09/2020         rcpt                    PMT:CV JURY                   $40.00
                     ADRI…                                                                     DEMAND FEE

                                                    04/16/2020         1                       PLD:PB
                                                                                               PLEADING OR
                                                                                               MOTION

                                                    04/16/2020         2                       PLD:PB
                                                                                               PLEADING OR
                                                                                               MOTION

                                                    04/22/2020         1                       PLD:PB
                                                                                               PLEADING OR
                                                                                               MOTION



https://countyclerk.traviscountytx.gov/component/chronoconnectivity6/?cont=manager&conn=probate-data&event=all&cause_number=C-1-PB-19-002…   4/9
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          Full                   Party                                 Event
                     Atto…                          Event                          Party       Event
          Name                   Type                                  Seq.                                              Amount
                                                    Date                           Type        Description
                                                                       No.
          CCS        TAGT…       DF5
          ASSET      BRIAN                          04/27/2020         1                       PLD:PB LETTER
          MAN…       JAMES                                                                     TO JUDGE
          INC        &
                     KELLY
                                                    06/19/2020         1                       MSC:PB CRT RPT
                     JEFFR…
                                                                                               EXHIBITS
                     SCOTT
                     &
                                                    07/10/2020         1           TP1         PC1:APPT                   $1000.00
                     MCM…
                                                                                               RECEIVER
                     KEITH
                     STEV…
                     &                              07/13/2020         1                       ORD:PB ORDER
                     DAVI…
                     CHRI…                          07/13/2020         2                       ORD:PB
                     ADRI…                                                                     DENYING

          CCS        TAGT…       DF5
                                                    08/05/2020         1                       PLD:PB OATH
          ASSET      BRIAN
          MAN…       JAMES
                                                    08/05/2020         2           TP1         ORD:CASH                   $1000.00
          INC        &
                                                                                               BOND
                     KELLY
                     JEFFR…
                     SCOTT                          08/05/2020         rcpt                    PMT:PB CASH                $1000.00
                     &                                                                         BOND
                     MCM…
                     KEITH                          08/06/2020         1                       PLD:PB
                     STEV…                                                                     DOCUMENT
                     &                                                                         FILING
                     DAVI…
                     CHRI…                          08/07/2020         1                       ORD:PB
                     ADRI…                                                                     APPROVING
                                                                                               BOND
          HOB…       BREN…       DF6
          JOHN       DAVID
                                                    08/07/2020         2           TP1         PC1:GDN GP                 $1000.00
                     L.
                                                                                               CASH BOND
          HOB…       BREN…       DF6                                                           APRV
          JOHN       DAVID
                     L.                             09/15/2020         1                       MOT:PB FOR
                                                                                               LEAVE
          ALM…       BREN…       DF7
          LLC        DAVID
                                                    09/16/2020         1                       PLD:PB NOTICE
                     L.
                                                                                               OF HEARING




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          Full                   Party                                 Event
                     Atto…                          Event                          Party       Event
          Name                   Type                                  Seq.                                              Amount
                                                    Date                           Type        Description
                                                                       No.
          ALM…       BREN…       DF7
          LLC        DAVID                          09/18/2020         1                       PLD:PB NOTICE
                     L.                                                                        OF HEARING
          CASH       GOR…        PL1
          ARLE…      KEMP                           09/22/2020         1                       MOT:PB
          MER…       W.                                                                        CONTINUANCE

          CASH       GOR…        PL1                09/24/2020         1                       PLD:PB
          ARLE…      KEMP                                                                      PLEADING OR
          MER…       W.                                                                        MOTION
          ICEN…                  TP1
          ANT…                                      09/25/2020         1                       PC1:HEARING
          LEE                                                                                  HELD

          ICEN…                  TP1                10/07/2020         1                       ORD:PB
          ANT…                                                                                 CONTINUANCE
          LEE

                                                    10/19/2020         1                       MOT:PB
                                                                                               SANCTIONS

                                                    10/22/2020         1                       MOT:PB COMPEL

                                                    10/22/2020         2                       PLD:PB NOTICE
                                                                                               OF HEARING

                                                    11/03/2020         1                       PLD:PB NOTICE
                                                                                               OF HEARING

                                                    11/03/2020         2                       PLD:PB NOTICE
                                                                                               OF HEARING

                                                    11/20/2020         1                       PLD:PB
                                                                                               RESPONSE TO

                                                    11/20/2020         2                       PLD:PB
                                                                                               RESPONSE TO

                                                    11/23/2020         1                       PLD:PB
                                                                                               PLEADING OR
                                                                                               MOTION




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                                                                       Event
                                                    Event                          Party       Event
                                                                       Seq.                                              Amount
                                                    Date                           Type        Description
                                                                       No.


                                                    11/24/2020         1                       PLD:PB
                                                                                               RESPONSE TO

                                                    11/25/2020         1                       PC1:HEARING
                                                                                               HELD

                                                    11/30/2020         1                       ORD:PB LEAVE

                                                    11/30/2020         2                       PLD:PB
                                                                                               PLEADING OR
                                                                                               MOTION

                                                    11/30/2020         3                       PLD:PB
                                                                                               PLEADING OR
                                                                                               MOTION

                                                    11/30/2020         4                       PLD:PB LETTER
                                                                                               TO JUDGE

                                                    11/30/2020         5                       MSC:PB PROP
                                                                                               ORD SENT TO CT

                                                    12/01/2020         1                       PLD:PB LETTER
                                                                                               TO JUDGE

                                                    12/03/2020         1                       PLD:PB
                                                                                               PLEADING OR
                                                                                               MOTION

                                                    12/14/2020         1                       PLD:PB LETTER
                                                                                               TO CLERK

                                                    12/15/2020         1           PL1         ASM:PB COPY                    $1.00
                                                                                               FEE

                                                    12/15/2020         rcpt                    PMT:PB COPY                    $1.00
                                                                                               FEE

                                                    12/30/2020         1                       PLD:PB
                                                                                               PLEADING OR
                                                                                               MOTION


https://countyclerk.traviscountytx.gov/component/chronoconnectivity6/?cont=manager&conn=probate-data&event=all&cause_number=C-1-PB-19-002…   7/9
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                                                                       Event
                                                    Event                          Party       Event
                                                                       Seq.                                              Amount
                                                    Date                           Type        Description
                                                                       No.


                                                    12/30/2020         2                       PLD:PB
                                                                                               PLEADING OR
                                                                                               MOTION

                                                    01/28/2021         1                       PLD:PB
                                                                                               AMENDED
                                                                                               APPLICATION

                                                    01/28/2021         2                       NTC:PB OF
                                                                                               APPEARANCE

                                                    01/28/2021         3                       PLD:PB
                                                                                               PLEADING OR
                                                                                               MOTION

                                                    01/28/2021         4                       MSC:PB PROP
                                                                                               ORD SENT TO CT

                                                    02/01/2021         1                       PC1:HEARING
                                                                                               HELD

                                                    02/01/2021         2                       PLD:PB
                                                                                               PLEADING OR
                                                                                               MOTION

                                                    02/01/2021         3                       PLD:PB
                                                                                               PLEADING OR
                                                                                               MOTION

                                                    02/03/2021         1                       MSC:PB PROP
                                                                                               ORD SENT TO CT

                                                    04/29/2021         1                       ORD:PB COMPEL

                                                    04/29/2021         2                       ORD:PB COMPEL

                                                    04/30/2021         1                       MOT:PB
                                                                                               TRANSFER
                                                                                               VENUE




https://countyclerk.traviscountytx.gov/component/chronoconnectivity6/?cont=manager&conn=probate-data&event=all&cause_number=C-1-PB-19-002…   8/9
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                                                                       Event
                                                    Event                          Party       Event
                                                                       Seq.                                              Amount
                                                    Date                           Type        Description
                                                                       No.


                                                    06/11/2021         1                       PLD:PB
                                                                                               DOCUMENT
                                                                                               FILING

                                                    06/30/2021         1                       PLD:PB
                                                                                               DOCUMENT
                                                                                               FILING




                 The Travis County Clerk maintains the county's records, administers elections, and
               oversees legal documentation (such as property deeds, marriage licenses and assumed
                                                name certificates).

                 Main Phone Line: (512) 854-9188 | 24 Hour Voter Hotline: (512) 238-VOTE (8683) |
                    Election Division: (512) 854-4996 | Misdemeanor Division: (512) 854-9440




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21-01030-tmd Doc#9-3 Filed 08/18/21 Entered 08/18/21 11:56:46 Exhibit Compiled
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                                 EXHIBIT 18

           Order Dismissing 4709 Incorporated’s 2014 Bankruptcy Case
14-10340-tmd
    21-01030-tmd
              Doc#189
                 Doc#9-3
                      Filed
                          Filed
                            11/21/16
                                08/18/21
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                                                                  Main
                                                                     Exhibit
                                                                       Document
                                                                             Compiled
                                                                                  Pg 1 of
                              Exhibits 1 - 221Pg 284 of 330




  IT IS HEREBY ADJUDGED and DECREED that the
  below described is SO ORDERED.


  Dated: November 21, 2016.

                                                               __________________________________
                                                                         TONY M. DAVIS
                                                               UNITED STATES BANKRUPTCY JUDGE
  __________________________________________________________________


                                 UNITED STATES BANKRUPTCY COURT
                                    WESTERN DISTRICT OF TEXAS
                                          AUSTIN DIVISION

  In re 4709 INCORPORATED                          §            CASE NO. 14-10340-tmd
  Reorganized Debtor                               §            Chapter 11

                                        ORDER DISMISSING CASE

           Came on for consideration the United States Trustee’s Motion to Dismiss Case Pursuant

  to 11 U.S.C. § 1112(b) or, in the Alternative to Convert Case to a Case Under Chapter 7. The

  Court finds that the Motion has merit, and it is therefore

           ORDERED that the above-styled and numbered case be, and is hereby, dismissed. It is

           FURTHER ORDERED that Debtor shall pay the United States Trustee the sum of

  $5,841.84 for that amount owed pursuant to 28 U.S.C. § 1930 within 10 days of entry of this

  order. Quarterly fees shall continue to accrue until the case is closed, dismissed, or converted.

                                                  ###

  Order submitted by
  Deborah A. Bynum
  Office of the United States Trustee
  (512) 916-5346
  deborah.a.bynum@usdoj.gov
    14-10340-tmd Doc#189-1
      21-01030-tmd               11/21/16 Entered 08/18/21
                   Doc#9-3 Filed 08/18/21            11/21/16 11:56:46
                                                              08:27:56 Exhibit
                                                                       Ntc of Dismissal
                                                                               CompiledAll
                                     Parties
                               Exhibits 1 - 22Pg
                                               Pg1285
                                                   of 1of 330
                        UNITED STATES BANKRUPTCY COURT
                               Western District of Texas
                                   Austin Division
                                                              Bankruptcy Case No.: 14−10340−tmd
                                                                     Chapter No.: 11
                                                                           Judge: Tony M. Davis

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
4709 Incorporated
7602 Brookhollow Cove
Austin, TX 78752
SSN/TAX ID:
 74−2568435


                                          NOTICE OF DISMISSAL
You are hereby notified that an Order Dismissing the above case was entered:

   for Debtor on 11/21/16                                               for Joint Debtor (if any) on N/A



Dated: 11/21/16
                                                              Yvette M. Taylor
                                                              Clerk, U. S. Bankruptcy Court




                                                                                            [Notice of Dismissal (BK)] [NtcDsmBKapac]
21-01030-tmd Doc#9-3 Filed 08/18/21 Entered 08/18/21 11:56:46 Exhibit Compiled
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                                 EXHIBIT 19

                             Sheridan Declaration
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                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

                                                        )
 In re:                                                 )
                                                        )    Case No. 21-10355
 CCS ASSET MANAGEMENT, INC.                             )
                                                        )    Chapter 11
                                 Debtors.               )
                                                        )
 CCS ASSET MANAGEMENT, INC.,                            )
                                                        )
                                 Plaintiff,             )   Adv. Pro. No. 21-01030
                                                        )
 v.                                                     )
                                                        )
 JOHN HOBERMAN, SUSAN HOBERMAN,
                                                        )
 and STRATA TRUST COMPANY
                                                        )
                                 Defendants.            )
                                                        )
                          DECLARATION OF ANTHONY SHERIDAN

          I, Anthony Leo Sheridan, declare under penalty of perjury as follows:

         1.     My name is Anthony Sheridan. I am of sound mind, capable of making this
Declaration, and have personal knowledge of the facts set forth in this Declaration. If called upon
to testify, I would testify competently as set forth in this Declaration.

       2.      I am the vice president of CCS Asset Management, Inc. (“CCS”), the debtor and
debtor-in-possession in the above-captioned bankruptcy case and plaintiff in the above-captioned
adversary proceeding. I am familiar with CCS’s property, including the real property located at
7400 Cameron Road, Austin, Texas (the “Cameron Road Property”), and the acquisition and
attempted transactions related thereto.

       3.     CCS holds title to the Cameron Road Property pursuant to a deed from its previous
owner, 4709 Incorporated, to CCS (the “Cameron Road Deed”).

       4.      The consideration paid by CCS to 4709 Incorporated for the Cameron Road
Property included, among other things:

             a. Payment by CCS or its principals on behalf of CCS of obligations of 4709
                Incorporated that were secured by liens on the Cameron Road Property, the non-
                payment of which by 4709 Incorporated had placed the Cameron Road Property on
                the brink of foreclosure or other action by John Hoberman. Attached as Exhibit 1
                hereto is a true and correct copy of a check in the amount of $20,040.30 dated April

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                5, 2018, from William Sheridan (an equity holder in CCS) to Hunter Kelsey of
                Texas, the agent to a lender from which 4709 Incorporated borrowed money to
                satisfy ad valorem taxes and which was subrogated to such lien.

           b.    Satisfaction Texas Comptroller tax debt for which 4709 Incorporated’s former
                principal, Selena Cash, may have had personal liability. Attached as Exhibit 2
                hereto is a true and correct copy of the Notice of Seizure from the Texas
                Comptroller of Public Accounts, showing an obligation of 4709 Incorporated for
                sales taxes in the amount of $86,519.20, and payment of such amount from
                proceeds of a loan taken by CCS (for which CCS put up other collateral). Attached
                as Exhibit 3 hereto is a true and correct tax payment receipt dated October 4, 2018,
                from the Texas Comptroller showing a payment of $70,000 to the Texas
                Comptroller on account of taxes owed by 4709 Incorporated that was made with
                the proceeds of a loan taken by CCS (for which CCS put up other collateral).
                Attached as Exhibit 4 hereto is a true and correct copy of a cashier’s check dated
                November 8, 2019, in the amount of $81,000 from AEL Capital, LLC to the Texas
                Comptroller on account of taxes owed by 4709 Incorporated, which reflects the
                proceeds of a loan taken by CCS (for which CCS put up other collateral, which
                other collateral has been foreclosed upon).

           c. Interacting with John Hoberman who asserted rights with respect to various loan
              and security documents and/or 4709 Incorporated’s plan of reorganization (the
              “4709 Plan”). My understanding, based on my review of the Transfer of Note and
              Lien (and Other Rights) attached as Exhibit 5, is that among John Hoberman’s
              rights were those related to a personal guarantee executed by Ms. Cash of the
              obligations under the note made by 4709 Incorporated that had been assigned to
              Mr. Hoberman from Pride of Austin High Yield Fund I LLC.

           d. Non-pecuniary consideration to Selena Cash who desired that the Cameron Road
              Property and the business 4709 Incorporated operated at the Cameron Road
              Property continue to have African American ownership.

       5.     By taking title to the Cameron Road Property, CCS was able to accomplish the
above and reduce the claims against 4709 Incorporated and Selena Cash in an pecuniary amount
exceeding 4709 Incorporated’s equity in the Cameron Road Property and Selena Cash’s equity in
4709 Incorporated.

        6.     No court has ordered, adjudged, or decreed that the Cameron Road Deed be vacated
or set aside. Nor has any party, to my knowledge, asserted that the Cameron Road Deed is void.
As Vice President of CCS, I would be aware of any such order, judgment, or decree and likely be
aware of such assertion.

       7.      It is my understanding that the Official Records of Travis County indicate that John
Hoberman, Susan Hoberman, and Self Directed IRA Services Inc. (the “Hoberman IRA”), which
I understand has merged into Strata Trust Company hold liens against the Cameron Road Property
(the “Ostensible Liens”).


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        8.      John and Susan Hoberman (collectively, “Hoberman”), have asserted that the
Ostensible Liens remain valid and enforceable by Hoberman, or in the alternative, that Hoberman
has title to the Cameron Road Property under 4709 Incorporated’s plan of reorganization from
4709 Incorporated’s 2014 bankruptcy case.

         9.    The Ostensible Liens have and continue to affect CCS’s title to the Cameron Road
Property. In connection with attempts to resolve certain disputes between CCS and the estate of
Selena Cash, CCS had obtained potential financing to be secured by a lien in the Cameron Road
Property. Due to the Ostensible Liens being reflected in the Official Records of Travis County, the
potential lender required Hoberman’s consent before allowing a distribution of proceeds to other
parties.

        10.    Similarly, Hoberman’s assertion with respect to title of the Cameron Road Property
affects CCS’ title to the Cameron Road Property. I believe that the Debtor would be required to
disclose such assertion.

        11.     I am not aware of any suit for the recovery of real property under a real property
lien or the foreclosure of a real property lien brought by Hoberman or any related person with
respect to the Cameron Road Property, prior to Hoberman’s counterclaim currently pending before
the U.S. Bankruptcy Court for the Western District of Texas. As Vice President of CCS, I would
be aware of any such suit.

       12.      No sale of the Cameron Road Property since under any power of sale in a mortgage
or deed of trust has been conducted. As Vice President of CCS, I would be aware of any such suit.

        13.    To the best of my knowledge, John Hoberman and Susan Hoberman are alive. I do
not believe any of these parties died at any relevant time.

                          [Remainder of Page Intentionally Left Blank]




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       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge and belief.



 Dated: August, _____, 2021                      By:
        Austin, Texas                                  Anthony Sheridan




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                 EXHIBIT 1 TO SHERIDAN AFFIDAVIT
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                 EXHIBIT 2 TO SHERIDAN AFFIDAVIT
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                 EXHIBIT 3 TO SHERIDAN AFFIDAVIT
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                 EXHIBIT 4 TO SHERIDAN AFFIDAVIT
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                 EXHIBIT 5 TO SHERIDAN AFFIDAVIT
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                                 EXHIBIT 20

                             Shannon Declaration
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                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

                                                         )
 In re:                                                  )
                                                         )    Case No. 21-10355
 CCS ASSET MANAGEMENT, INC.                              )
                                                         )    Chapter 11
                                 Debtors.                )
                                                         )
 CCS ASSET MANAGEMENT, INC.,                             )
                                                         )
                                 Plaintiff,              )   Adv. Pro. No. 21-01030
                                                         )
 v.                                                      )
                                                         )
 JOHN HOBERMAN, SUSAN HOBERMAN,
                                                         )
 and STRATA TRUST COMPANY
                                                         )
                                 Defendants.             )
                                                         )
                           DECLARATION OF ROBERT SHANNON

          I, Robert Joseph Shannon, declare under penalty of perjury as follows:

         1.     My name is Robert Shannon. I am of sound mind, capable of making this
Declaration, and have personal knowledge of the facts set forth in this Declaration. If called upon
to testify, I would testify competently as set forth in this Declaration.

       2.     I am submitting this Declaration in connection with motion for summary judgment
to which this Declaration will be attached (the “Motion for Summary Judgment”). Capitalized
terms used but not defined in this Declaration have the meanings ascribed to such terms in the
Motion for Summary Judgment.

       3.     I am the attorney at Parkins Lee & Rubio LLP in charge of the representation of
CCS Asset Management, Inc. (the “Debtor”), the debtor and debtor-in-possession in the above-
captioned bankruptcy case and adversary proceeding. I am licensed in Maryland and Texas.

       4.      I am familiar with the real property recordation system of Texas, and in particular,
Travis County. I have conducted such searches numerous times in connection with performing lien
analyses in connection with chapter 11 bankruptcy cases.

       5.      In connection with the representation of the Debtor in the above-captioned
bankruptcy case, prior to preparing and filing the above-captioned adversary proceeding, I
searched the real property records of Travis County for all recorded documents indexed—both as
grantor and grantee—for the following entities: (a) CCS Asset Management, (b) 4709

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Incorporated, (c) John Hoberman, and (c) Susan Hoberman. With respect to the Debtor, I have
personally reviewed and analyzed every document recorded in the real property records of Travis
County in reference to the Debtor. With respect to 4709 Incorporated, I have personally reviewed
an analyzed every document recorded in the real property records of Travis County in reference to
4709 Incorporated since October 14, 2010.

        6.      My review and analysis of the Travis County real property records uncovered no
recorded renewal and extension agreement pursuant to Tex. Civ. Prac. & Rem. Code § 16.036 with
respect to the June 2012 Note.

        7.      My review and analysis of the Travis County real property records uncovered no
recorded renewal and extension agreement pursuant to Tex. Civ. Prac. & Rem. Code § 16.036 with
respect to the September 2013 Note.

        8.     My review and analysis of the Travis County real property records uncovered two
renewal and extension agreements pursuant to Tex. Civ. Prac. & Rem. Code § 16.036 with respect
to the POA Note. The first, Document #2012004604 in the Travis County real property records,
indicated that the maturity date of the POA Note had been extended to October 1, 2012. The
second, Document #2013019734 in the Travis County real property records, indicated that the
maturity date of the POA Note had been extended to January 1, 2014. I did not uncover any other
renewal and extension agreements pursuant to Tex. Civ. Prac. & Rem. Code § 16.036, with respect
to the POA Note.

       9.      After receiving the Hoberman Answer, I conducted an additional analysis of the
Travis County real property records to confirm that I had not overlooked any renewal and
extension agreements pursuant to Tex. Civ. Prac. & Rem. Code § 16.036. My additional review
and analysis uncovered no previously overlooked renewal and extension agreement.

       10.      Based on the foregoing, I believe that no renewal and extension agreements
pursuant to Tex. Civ. Prac. & Rem. Code § 16.036 other than the two referenced in paragraph 8
above exist with respect to the POA Note, June 2021 Note, or September 2013 Notes or the related
deeds of trust.

        11.    Additionally, after receiving the Hoberman Answer, I reviewed and analyzed the
Travis County real property records with respect to (a) CCS Asset Management, (b) 4709
Incorporated, and (c) John Hoberman, for any recorded document indicating the Cameron Road
Property had been conveyed to John Hoberman. My review and analysis uncovered no documents
indicating that the Cameron Road Property had been conveyed to Hoberman. Based on the
foregoing, I believe that no such recorded document exists.

        12.     Additionally, after receiving the Hoberman Answer, I reviewed and analyzed the
Travis County real property records with respect to 4709 Incorporated for any recorded document
indicating that 4709 Incorporated had been involved in a bankruptcy proceeding, and specifically,
any reference to the 4709 Plan. My review and analysis uncovered no such documents. Based on
the foregoing, I believe that no such recorded document exists.




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       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge and belief.



 Dated: August 17, 2021                          By:
        Houston, Texas                                 Robert Joseph Shannon




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                                  EXHIBIT 21

        Hoberman’s Motion for Leave to Foreclose Notwithstanding Receiver
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                                 EXHIBIT 22

               Order on Hoberman’s Motion for Leave to Foreclose
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